Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 1 of 169




                         EXHIBIT A
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 2 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 3 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 4 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 5 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 6 of 169
                         Case 3:18-cv-05330-JD                         Document 1-1                Filed 08/29/18              Page 7 of 169



                     1                                                              TABLE CONTENTS

                     2                                                                                                                                            Page(s)

                     3   I.        INTRODUCTION.................................................................................................................... 1
                     4   II. PARTIES .................................................................................................................................. 9
                     5        A.        PLAINTIFFS ......................................................................................................................... 9
                     6        B.        DEFENDANTS ................................................................................................................... 10
                     7        C.        DOE DEFENDANTS .......................................................................................................... 11
                     8        D.        AGENTS, AIDERS, ABETTORS, AND CO-CONSPIRATORS ....................................... 11
                     9   III. JURISDICTION AND VENUE ............................................................................................ 12
                    10   IV. FACTUAL ALLEGATIONS ................................................................................................ 12
                    11        A.        HPNS WAS DESIGNATED A SUPERFUND SITE IN 1989 AFTER RADIOACTIVE
                                        AND INDUSTRIAL WASTE WAS DUMPED IN THE AREA FOR DECADES ............. 12
                    12
                              B.        THE PUBLIC HAS SPENT OVER $1.1 BILLION TO DECONTAMINATE HPNS ........ 14
                    13
                              C.        TETRA TECH AND TETRA TECH EC FRAUDULENTLY REPRESENTED THAT
                    14                  CONTAMINATED AND TOXIC AREAS WERE CLEAN ............................................... 15
                    15             1.      Whistleblower Allegations Lead to U.S. Navy and EPA Analyses Showing Intentional
                                           Misconduct and Fraud by Tetra Tech .............................................................................. 20
                    16
                                   2.      Tetra Tech Supervisors Pled Guilty in 2017 for Criminal Misconduct at HPNS Site..... 22
                    17
                                   3.      HPNS, Including Parcel A Containing the Homes at SF Shipyards, Must be Retested .. 24
                    18
                                   4.      Tetra Tech Contracted to Clean the Area ........................................................................ 27
                    19
                                   5.      Lennar and FivePoint Represented the Area as Clean ..................................................... 28
                    20
                              D.        DEFENDANTS’ FRAUD HAS AND WILL COST SF SHIPYARDS RESIDENTS
                    21                  MILLIONS OF DOLLARS IN LOST HOME EQUITY ..................................................... 30
                    22        E.        DEFENDANTS ENGAGED IN OTHER UNLAWFUL AND UNFAIR MISCONDUCT 31
                    23        F.        ALTHOUGH DEFENDANTS KNEW THAT TETRA TECH WAS COVERING UP ITS
                                        MISDEEDS, THEY FRAUDULENTLY CONCEALED THEIR MISCONDUCT, AND
                    24                  THE MISCONDUCT OF OTHERS .................................................................................... 31
                    25        G.        BY ALLOWING THE PURCHASE OF RESIDENTIAL PROPERTY ON
                                        CONTAMINATED LAND THROUGH UNLAWFUL AND UNFAIR BUSINESS
                    26                  PRACTICES, EACH DEFENDANT HAS CREATED OR ASSISTED THE CREATION
                                        OF A NUISANCE ................................................................................................................ 32
                    27
                    28
       ♼                 COMPLAINT                                                                                                                                           i
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD                    Document 1-1               Filed 08/29/18             Page 8 of 169



                     1   V.     CAUSES OF ACTION .......................................................................................................... 33

                     2   FIRST CAUSE OF ACTION

                     3   PERMANENT PUBLIC NUISANCE ......................................................................................... 33

                     4   SECOND CAUSE OF ACTION

                     5   PERMANENT PRIVATE NUISANCE ....................................................................................... 36

                     6   THIRD CAUSE OF ACTION

                     7   UNFAIR AND UNLAWFUL COMPETITION .......................................................................... 37

                     8   FOURTH CAUSE OF ACTION

                     9   FRAUD AND FALSE ADVERTISING ....................................................................................... 39

                    10   FIFTH CAUSE OF ACTION

                    11   NEGLIGENCE .............................................................................................................................. 43

                    12   SIXTH CAUSE OF ACTION

                    13   NEGLIGENT MISREPRESENTATION.................................................................................... 45

                    14   VI. PRAYER FOR RELIEF AND DEMAND FOR JURY ...................................................... 46

                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24

                    25
                    26
                    27
                    28
       ♼                 COMPLAINT                                                                                                                                 ii
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 9 of 169



                     1          1.      Plaintiffs Linda Parker Pennington and Greg Pennington (“Plaintiffs”) bring

                     2   this action for damages and relief against Tetra Tech, Inc., Tetra Tech EC, Inc., Lennar

                     3   Corporation, HPS1 Block 50 LLC, FivePoint Holdings, LLC, Bill Dougherty, Nick Zaferes,

                     4   and Emile Haddad (collectively “Defendants”) for violations of California state law. Defendants

                     5   are all responsible for the loss of value in Plaintiffs’ home due to the continuing toxic nature of

                     6   the Superfund and former nuclear testing site upon and near Plaintiffs’ homes, and the ensuing

                     7   health and other issues that waste has caused, is causing, and will continue to cause until it is

                     8   remediated (to the extent such remediation is possible).

                     9   I.     INTRODUCTION

                    10          2.      This case represents one of the biggest cover-ups of serious industrial and

                    11   radioactive waste on the West Coast of the United States – and – in one of the major metropolitan

                    12   areas in the country.

                    13          3.      The Hunters Point Naval Shipyard (“HPNS”) area is located on the southeastern

                    14   corner of San Francisco. The 522-acre area housed a U.S. military nuclear-warfare research lab

                    15   (the Naval Radiological Defense Laboratory, or “NRDL”) from 1946 to 1969 and a ship-repair

                    16   company from 1976 to 1986. Each of these organizations used the site as a dumping ground of

                    17   industrial, toxic chemicals and industrial waste and in the case of the military, radioactive waste.

                    18
                    19
                    20
                    21
                    22
                    23
                    24

                    25
                    26
                    27
                    28            Map of San Francisco, with HPNS Detail (Source: San Francisco Chronicle)
       ♼                 COMPLAINT                                                                                              1
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD           Document 1-1      Filed 08/29/18       Page 10 of 169



                     1            4.      The Environmental Protection Agency (EPA) designated HPNS a Superfund site in

                     2    1989 due to extensive toxicity of the soil. A Superfund site is defined as “any land in the United

                     3    States that has been contaminated by hazardous waste and identified by the EPA as a candidate for

                     4    cleanup because it poses a risk to human health and/or the environment. These sites are placed on

                     5    the National Priorities List (NPL).” The NPL includes sites which have known releases or

                     6    threatened releases of hazardous substances, pollutants, or contaminants throughout the United

                     7    States and its territories.1

                     8            5.      In 1989, the U.S. Navy began spending what is now over $1.1 billion cleaning up

                     9    the Superfund site. That amount includes approximately $300 million paid to Defendants Tetra

                    10    Tech, Inc., and/or Tetra Tech EC, Inc. (collectively, “Tetra Tech”) to test the toxicity of and

                    11    remove toxic waste from HPNS. Tetra Tech was responsible under its contract with the U.S. Navy

                    12    for fully remediating the site and making HPNS safe and healthy for development and residence.

                    13            6.      Among its responsibilities, and as detailed below, Tetra Tech performed work on

                    14    what is known as Parcel A, the site of the SF Shipyards building development at issue. In

                    15    particular, Tetra Tech was directed to investigate and then demolish Building 322, which showed

                    16    radioactive contamination.

                    17            7.      Since 2012, whistleblowers have reported that Tetra Tech’s workers and contractors

                    18    were falsifying the cleanup since at least 2009. Those claims have since been substantiated, and

                    19    two members of Tetra Tech management have been sentenced to time in federal prison for their

                    20    actions in ordering both the falsification of data and the creation of false data to support Tetra

                    21    Tech’s claims that they were successfully remediating the HPNS area, as they were paid and had

                    22    agreed to do.

                    23            8.      One such whistleblower and former Tetra Tech employee, Anthony Smith, in a

                    24    sworn declaration before the Nuclear Regulatory Commission, alleged that he saw various

                    25    improper practices beginning in 2009, including “false soil sampling, incomplete building

                    26
                          1
                              See, e.g., U.S. Department of Health and Human Services, TOXMAP FAQ, available at
                    27    https://toxmap.nlm.nih.gov/toxmap/faq/2009/08/what-are-the-superfund-site-npl-statuses.html.
                          While a small percentage of SF Shipyards, including the plot of land known as Parcel A, is no
                    28    longer considered part of the Superfund Part, the vast majority remains under U.S. Navy purview.
       ♼                  COMPLAINT                                                                                            2
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD        Document 1-1       Filed 08/29/18     Page 11 of 169



                     1    surveys, falsification of chain-of-custody documentation, and data manipulation.” The

                     2    Declaration of Anthony Smith, attached to this Complaint as Exhibit A, sets forth the many details

                     3    of the fraud perpetrated by Tetra Tech.

                     4           9.      Among the innumerable improper practices perpetrated by Tetra Tech, at least one

                     5    Tetra Tech employee found radioactively “hot” soil within the bounds of Parcel A, but was

                     6    instructed by his supervisor not to inform anyone outside Tetra Tech, such that the area was never

                     7    further inspected or remediated.

                     8           10.     Thus, instead of remediating HPNS, Tetra Tech engaged in fraud, disregarded

                     9    human health and safety for residents of and visitors to HPNS and, to the extent contaminated soil

                    10    left HPNS fraudulently and/or negligently labeled as clean, for people living throughout

                    11    California.

                    12           11.     Tetra Tech denied falsification for years, yet in 2017 the U.S. Navy and the EPA

                    13    each completed an independent analysis of the available data and determined that somewhere

                    14    between almost half and as much as 97% of the cleanup data on certain parcels was

                    15    unreliable and potentially deliberately fraudulent and needed to be retested. To date, the site has

                    16    not been comprehensively retested.

                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24

                    25
                    26
                    27
                                        Results from Radiological Data Evaluation by U.S. Navy Contractors
                    28                            (Source: Naval Facilities Engineering Command)
       ♼                  COMPLAINT                                                                                            3
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 12 of 169



                     1           12.     During the cleanup process, Defendant Lennar Corporation, along with its affiliate

                     2    Five Point Holdings, Inc. (“FivePoint”), started building residential units in 2013 and put them on

                     3    the market in or around June 2014, two years after the first whistleblowers came forward

                     4    alleging misconduct and fraud during the cleanup. Lennar and FivePoint have since sold

                     5    approximately 300-350 newly built homes to current residents of what is referred to as Parcel A,

                     6    all the while publicly averring that these homes were safe to inhabit. Parcel A’s boundaries extend

                     7    up to Crisp Street and across Spear Avenue to the south, up to Griffith Street to the west, and up to

                     8    Fisher Avenue and across Robinson Street and Galvez Avenue to the east. The north boundary of

                     9    Parcel A is defined by a fence, which separates HPNS from the Bayview-Hunters Point district of

                    10    San Francisco. Homes in Parcel A (also known as the “SF Shipyards” development) were sold for

                    11    an amount in the vicinity of $1 million apiece, reflecting the high demand and very short supply of

                    12    housing anywhere in the San Francisco Bay Area, let alone San Francisco proper. Parcel A, as

                    13    noted below, had been cleared for development by a Tetra Tech subsidiary after a very limited,

                    14    perfunctory, unconvincing sweep of the land by a “scanner van” in or before 2004.

                    15           13.     In 2016, the City of San Francisco publicly stated it would not accept land transfers

                    16    until it was assured the land was “clean and safe.” The city still refuses to accept land transfers

                    17    from the affected area. The area remains difficult to inhabit, with unknown amounts of toxic

                    18    industrial and nuclear waste in the soil and surrounding areas, little public transit, few schools, and

                    19    a high crime rate.

                    20           14.     When it began marketing the residential properties at SF Shipyards, Lennar focused

                    21    on its history as a naval base and omitted the site’s history as a nuclear laboratory and a shipyard

                    22    that dumped industrial waste into landfills in the area and treated radioactive waste as common

                    23    garbage. Further, Lennar did not disclose the fact that the shipyard served as the endpoint for ships

                    24    irradiated during hydrogen bomb tests, the residue of which was sandblasted onto the land at SF

                    25    Shipyards; residues which include, significantly, not only radioactive materials, but also lead paint,

                    26    exposure to either of which causes long-term, potentially debilitating health issues. Lennar did not

                    27    disclose the potential health hazards of living on or near a former EPA Superfund and nuclear

                    28    warfare testing site, nor did it disclose the toxic waste still contaminating the area.
       ♼                  COMPLAINT                                                                                              4
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1         Filed 08/29/18      Page 13 of 169



                     1
                     2
                     3
                     4
                     5
                     6
                     7
                     8
                     9

                    10
                    11                      Worker Sandblasting a Radioactive Ship at HPNS, ca. 1947

                    12           15.     Consequently, when Plaintiffs originally purchased homes at SF Shipyards, they did

                    13    so in reliance of the fact that it would be safe for them and their families to live and play in and

                    14    near their homes; that a community would grow around these homes; and that their homes would

                    15    not have been then, or would they be now, affected by toxic waste and the resulting deleterious

                    16    consequences such exposure involves.

                    17           16.     Additionally, when Plaintiffs purchased their homes from Lennar and/or FivePoint,

                    18    they were informed that SF Shipyards was to become a “true destination” including a flourishing,

                    19    walkable community, with bay views, office space, supermarkets, an outdoor mall, a thriving

                    20    commercial center with restaurants, bars, shops, schools, parks, and other public services including

                    21    public transportation. This has not come to be.

                    22           17.     The toxic waste at HPNS can lead, and has led, to serious health complications,

                    23    including deadly cancer, especially as residents are potentially exposed to toxic waste in the air

                    24    and on the ground, unprotected for hours each day. Plaintiffs do not, and cannot, know if or when

                    25    the environmental harm will be remediated: Tetra Tech has been orchestrating a cleanup for well

                    26    over a decade, and up to 97% of Tetra Tech’s cleanup needs to be retested and/or redone.

                    27    Remediation will be significantly more challenging because the contaminated land is covered with

                    28
       ♼                  COMPLAINT                                                                                              5
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18       Page 14 of 169



                     1    inhabited, newly built homes. Any forced relocation for analysis and remediation would be a great

                     2    inconvenience for homeowners.

                     3           18.     As a result, the value of Plaintiffs’ homes has been damaged, as the demand for

                     4    homes sited not just next to, but potentially on top of, a toxic waste dump complete with radiation

                     5    from nuclear isotopes including but not limited to radium-226, cesium-137, plutonium and

                     6    uranium, is infinitesimally low or nonexistent. The level of demand has decreased even further, to

                     7    the extent that is possible, because further construction has been indefinitely halted and any further

                     8    improvements and expansions of the community are receding further into the distance.

                     9           19.     Defendants Tetra Tech, Inc. and Tetra Tech EC, Inc. (collectively “Tetra Tech”)

                    10    bid for and received a contract with the U.S. Navy worth approximately $300 million to test and

                    11    remediate the environmental risks at HPNS. After over a decade of testing and years of providing

                    12    falsified data to the U.S. Navy and others, the site is still toxic. Plaintiffs do not know, and cannot

                    13    know, the extent to which records were falsified, nor which areas Tetra Tech claimed were clean

                    14    are actually so, nor which areas are as dangerous to their health and well-being as they were before

                    15    the “cleanup” and “remediation” performed by Tetra Tech.

                    16           20.     Defendant Lennar, Corporation, its wholly owned subsidiary HPS1 Block 50

                    17    LLC (collectively with Lennar Corporation, “Lennar”), and its affiliate, Defendant Five Point

                    18    Holdings, Inc. (FivePoint), have sold around 350 newly built homes to current residents of SF

                    19    Shipyards. Lennar knew or should have known of the toxic waste present on the land at SF

                    20    Shipyards and should have informed potential buyers of this toxic waste. Prior to purchasing their

                    21    homes, Plaintiffs did not know of the toxic waste’s presence or its health consequences, and so

                    22    therefore did not factor that information in when determining what they were willing to pay for

                    23    their homes. The homes are now worth substantially less than they would have been in a world

                    24    where Tetra Tech had responsibly remediated HPNS, as it had agreed to and was well-

                    25    compensated to do, and considerably less than the amount Plaintiffs would have otherwise

                    26    expected the value to be, given housing market dynamics in San Francisco and the greater Bay

                    27    Area, had the property been as clean and healthy as they were promised.

                    28
       ♼                  COMPLAINT                                                                                             6
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 15 of 169



                     1           21.     Defendants have created or assisted in the creation of a public nuisance. Every act

                     2    of malfeasance committed by each Defendant since the late 1990s subjects each Defendant to

                     3    liability for public nuisance because there is no statute of limitations for a public nuisance claim.

                     4    (See Civ. Code, § 3490 [“No lapse of time can legalize a public nuisance, amounting to an actual

                     5    obstruction of public right”]; Wade v. Campbell (1962) 200 Cal.App.2d 54, 61 [“the maintenance

                     6    of a public nuisance may not be defended on the ground of laches or the statute of limitations”].)

                     7           22.     Tetra Tech’s conduct, both individually and collectively, has violated and continues

                     8    to violate the law of permanent public nuisance, under common law and Civ. Code, §§ 3479 and

                     9    3480, the law of permanent private nuisance, under common law and Civ. Code, §§ 3479 and

                    10    3481, the Unfair Competition Law, Bus. & Prof. Code, § 17200 et seq., and constitutes negligence,

                    11    fraud, and negligent misrepresentation.

                    12           23.     Lennar and FivePoint’s conduct, both individually and collectively, has violated

                    13    and continues to violate Civ. Code § 1102.13 (failure to disclose material facts affecting a property

                    14    subject to sale), the Unfair Competition Law, Bus. & Prof. Code, § 17200 et seq., and constitutes

                    15    negligence, fraud, and negligent misrepresentation.

                    16           24.     In 2017, two Tetra Tech supervisors at the HPNS site, Justin Hubbard and Stephen

                    17    Rolfe, pleaded guilty to the criminal destruction, alteration, or falsification of records in federal

                    18    investigations, in violation of 18 U.S.C. § 1519. Each was fined and sentenced to time in federal

                    19    prison. The plea agreements of Justin Hubbard and Stephen Rolfe are attached to this Complaint

                    20    as Exhibit B and Exhibit C, respectively.

                    21
                    22
                    23
                    24

                    25
                    26
                    27
                    28
       ♼                  COMPLAINT                                                                                               7
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD        Document 1-1       Filed 08/29/18      Page 16 of 169



                     1
                     2
                     3
                     4
                     5
                     6
                     7
                     8
                     9

                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24           25.     Tetra Tech’s on-site supervisors and/or managers participated in and directed Tetra

                    25    Tech’s agents and employees to engage in the acts of fraud alleged in this Complaint, in a

                    26    widespread plot to defraud the U.S. Navy, the City of San Francisco, and purchasers of real

                    27    property at SF Shipyards.

                    28
       ♼                  COMPLAINT                                                                                        8
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1         Filed 08/29/18      Page 17 of 169



                     1            26.    Each of the acts (and failures to act) described in this Complaint are ascribed to

                     2    Defendants’ agents and employees, under Defendants’ direction and control. These agents and

                     3    employees were, at all relevant times, acting within the course and scope of their agency and/or

                     4    employment, with the permission, consent and authorization of Defendants. The doctrine of

                     5    Respondent Superior makes an employer vicariously liable for the torts of its employees and

                     6    agents committed within the scope of employment, whether or not such acts were criminal torts.

                     7            27.    Defendants knew or should have known that their agents and employees would

                     8    likely carry out the orders of their supervisors and managers, even if those orders were unmoral,

                     9    unethical, unlawful, fraudulent, or criminal. Defendants endorsed and ratified the negligent,

                    10    below-industry-standard, fraudulent, illegal and criminal behavior of their employees and agents at

                    11    HPNS.

                    12     II.    PARTIES

                    13            A.     PLAINTIFFS
                    14            28.    Linda Parker Pennington and Greg Pennington (“Plaintiffs” or the “Penningtons”)
                    15    purchased their home at the SF Shipyards, located at 599 Donahue Street, for $908,000 in 2014
                    16    directly from HPS1 Block 50, a subsidiary of Lennar Corporation. When the Penningtons
                    17    purchased the property in 2014, they relied on Lennar’s and FivePoint’s fraudulent representations
                    18    concerning the community’s safety and future amenities, private businesses and public services.
                    19    They were not informed of the then-ongoing Tetra Tech scandal or the botched remediation.
                    20    Plaintiffs at all times relied on disclosures and representations made by Lennar prior to and during
                    21    the purchase of their home. Defendants’ actions have harmed the Penningtons’ home’s value.
                    22            29.    Plaintiffs bring this action to recover damages for the harm suffered from a public
                    23    and private nuisance; a failure to disclose material facts affecting a property subject to sale;
                    24    unlawful, unfair, and fraudulent business practices; and negligent misrepresentation.
                    25            30.    Plaintiffs directly and foreseeably sustained all economic damages alleged herein.
                    26    Categories of past and continuing sustained damages include, inter alia, diminution in home
                    27    values. These damages have been suffered, and continue to be suffered, directly by Plaintiffs.
                    28
       ♼                  COMPLAINT                                                                                            9
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1       Filed 08/29/18       Page 18 of 169



                     1           31.     Plaintiffs at all applicable times performed all appropriate inquiry into the previous

                     2    ownership and uses of the facility in accordance with generally accepted good commercial and

                     3    customary standards and practices.

                     4           32.     As the real parties in interest in this case, Plaintiffs have standing to bring this claim

                     5    and recover damages incurred as a result of Defendants’ actions and omissions. Cal. Code of Civ.

                     6    Proc. § 367.

                     7           B.      DEFENDANTS

                     8           33.     Defendant Tetra Tech, Inc. (“TTI”) is a Delaware corporation with its

                     9    headquarters and principal place of business located in Pasadena, California. It is a publicly traded

                    10    company on the NASDAQ index, and had revenues of approximately $2.8 billion in FY2017. TTI

                    11    does business in the State of California, including in San Francisco. TTI considers itself a “world

                    12    leader” in applying remedial technology.2

                    13           34.     Defendant Tetra Tech EC, Inc. (“TTEC” and, collectively with Tetra Tech, Inc.,

                    14    “Tetra Tech”) is a wholly owned subsidiary of Tetra Tech, Inc. with its headquarters and principal

                    15    place of business located in Morris Plains, New Jersey. TTEC does business in California,

                    16    including in San Francisco.

                    17           35.     Defendant Lennar Corporation is a Delaware corporation with its headquarters

                    18    and principal place of business located in Miami, Florida. Lennar, Corporation does business in

                    19    California, including in San Francisco.

                    20           36.     Defendant HPS1 Block 50 LLC (“HPS1 Block 50” and, collectively with Lennar

                    21    Corporation, “Lennar”) is a privately-owned subsidiary of Lennar Corporation. HPS1 Block 50

                    22    does business in California, including in San Francisco.

                    23           37.     Defendant Five Point Holdings, Inc. (“FivePoint”) is a Delaware corporation with

                    24    its headquarters and principal place of business located in Aliso Viejo, California. FivePoint was a

                    25    wholly owned subsidiary of Defendant Lennar Corporation until May 2017. Lennar Corporation

                    26    maintains a substantial ownership interest in FivePoint. FivePoint has described itself as the

                    27    “largest developer of mixed-use communities in coastal California.”

                    28    2
                              See http://www.tetratech.com/en/remediation (last accessed 7/6/2018).
       ♼                  COMPLAINT                                                                                             10
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 19 of 169



                     1           38.     Defendant Bill Dougherty (“Dougherty”) served as project manager for Tetra Tech

                     2    at HPNS and had direct control over the Tetra Tech’s fraudulent remediation at HPNS. Dougherty

                     3    started in this position in or before 2008. Dougherty is a resident of the Greater San Diego area in

                     4    California.

                     5           39.     Defendant Nick Zaferes (“Zaferes”) has served as Lennar’s Director of

                     6    Construction since 2015. Zaferes is a resident of San Francisco, California.

                     7           40.     Defendant Emile Haddad (“Haddad”) has served as FivePoint’s Chairman, CEO

                     8    and President since May 2016. He worked for Lennar from the mid-1990s until 2009 and has

                     9    worked for FivePoint and/or its affiliates in executive positions from 2009 to present. Haddad is a

                    10    resident of Laguna Hills, California.

                    11           C.      DOE DEFENDANTS

                    12           41.     Plaintiffs do not know the true names or capacities, whether individual, corporate,

                    13    or otherwise, of other potential Defendants sued herein under the fictitious names DOES 1 through

                    14    100 and are therefore sued pursuant to Code of Civil Procedure § 474. Plaintiffs will amend this

                    15    Complaint to show their true names and capacities if and when they are ascertained.

                    16           D.      AGENTS, AIDERS, ABETTORS, AND CO-CONSPIRATORS

                    17           42.     At all times herein mentioned, Defendants, and each of them, hereinabove, were the

                    18    agents, servants, employees, partners, aiders and abettors, co-conspirators, and/or joint venturers of

                    19    each of the other Defendants named herein and were at all times operating and acting within the

                    20    purpose and scope of said agency, service, employment, partnership, enterprise, conspiracy, and/or

                    21    joint venture, and each Defendant has ratified and approved the acts of each of the remaining

                    22    Defendants. Each of the Defendants aided and abetted, encouraged, and rendered substantial

                    23    assistance to the other Defendants in breaching their obligations to Plaintiffs, as alleged herein. In

                    24    taking action to aid and abet and substantially assist the commission of these wrongful acts and

                    25    other wrongdoings complained of, as alleged herein, each of the Defendants acted with an

                    26    awareness of his/her/its primary wrongdoing and realized that his/her/its conduct would

                    27    substantially assist the accomplishment of the wrongful conduct, wrongful goals, and wrongdoing.

                    28
       ♼                  COMPLAINT                                                                                           11
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 20 of 169



                     1            43.     Such agents, aiders and abettors include the two Tetra Tech employees named

                     2    above, Justin Hubbard and Stephen Rolfe, who each pleaded guilty in federal court to crimes

                     3    related to Tetra Tech’s fraud and cover-up, and their supervisors and/or anyone else who directed,

                     4    suggested, or otherwise encouraged Hubbard and Rolfe to engage in such crimes.

                     5    III.    JURISDICTION AND VENUE

                     6            44.    This Court has jurisdiction over this action. Defendants are engaging in unlawful

                     7    and deceptive business practices, and creating or assisting in the creation of both public and private

                     8    nuisances in the City and County of San Francisco. This Court has personal jurisdiction over all of

                     9    the Defendants by virtue of their business activities and that they conduct substantial business

                    10    within the State of California and the County of San Francisco.

                    11            45.    Venue is proper in this Court because all Defendants transact business in the City

                    12    and County of San Francisco. This Court has personal jurisdiction over each Defendant as each

                    13    purposefully availed itself of the privilege of exploiting forum-based business opportunities and

                    14    the exercise of personal jurisdiction is consistent with Cal. Civ. Proc. § 410.10.

                    15    IV.     FACTUAL ALLEGATIONS

                    16            A.     HPNS WAS DESIGNATED A SUPERFUND SITE IN 1989 AFTER
                                         RADIOACTIVE AND INDUSTRIAL WASTE WAS DUMPED IN THE
                    17                   AREA FOR DECADES
                    18           38.     Hunters Point Naval Shipyard has a long and storied naval pedigree. The area was

                    19    first established as a commercial shipyard in 1870 and remained so until it was acquired by the

                    20    U.S. Navy during World War II in 1939.

                    21           39.     From World War II until its decommissioning in 1974, the U.S. Navy base (and

                    22    NRDL from 1948-1969) at HPNS engaged in various activities with immense negative

                    23    environmental effects at and around the HPNS area. These activities include, most prominently,

                    24    running an active, top secret nuclear warfare research laboratory and sandblasting and

                    25    decontaminating ships involved in atomic weapons tests in the years after World War II and

                    26    through much of the Cold War. Research laboratory scientists are known to have injected lab

                    27    animals with radioactive material to study nuclear fallout’s potential effects on living tissue.

                    28
       ♼                  COMPLAINT                                                                                           12
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 21 of 169



                     1           40.       The U.S. Navy dealt with the resulting radioactive waste simply and cheaply: it

                     2    dumped radioactive waste down drains, contaminating pipes and sewer water; it dumped

                     3    radioactive waste in a landfill at the bay’s edge; and it flushed radioactive waste down storm drains

                     4    and sewer lines.

                     5           41.       This radioactive waste potentially included some or all of the contaminants cesium,

                     6    strontium, thorium, cobalt, plutonium, radium, and uranium, any or all of which can potentially

                     7    lead to serious health complications, including asthma and cancer and potentially heart disease and

                     8    miscarriages. The Department of Public Health’s data indicates that a child today in the Bayview

                     9    Hunters Point area has a shorter life expectancy than a child born on Russian Hill by 14 years.

                    10           42.       From 1976 to 1986, a private ship-repair company, Triple A Machine Shop, leased

                    11    the area as a commercial ship repair facility. During this residency, the City of San Francisco

                    12    brought suit against Triple A Machine Shop, alleging illegal dumping of paint and other toxic

                    13    waste. That lawsuit eventually settled for $1.1 million after almost a decade of litigation.

                    14           43.       In 1988, following the closure of Triple A Machine Shop, the shipyard was placed

                    15    in what is known as the BRAC Base Realignment And Closure (“BRAC”) program, a federal

                    16    program to oversee the cleanup and transfer of former military installations to public and private

                    17    entities for redevelopment.

                    18           44.       Because of the U.S. Navy’s and Triple A Machine Shop’s poor stewardship of the

                    19    environment at and around HPNS, the EPA declared the area a Superfund site in 1989, designating

                    20    it as one of the country’s most toxic areas posing a public risk. In particular, the site is believed to

                    21    include contamination from:

                    22                    Radioactive waste;

                    23                    Banned industrial solvents;

                    24                    Petroleum byproducts/hydrocarbons, including in contaminated groundwater;

                    25                    Harmful pesticides and herbicides including DDT;

                    26                    Volatile organic compounds (VOCs);

                    27                    Polychlorinated biphenyls (PCBs);

                    28                    Metals, including copper, mercury, lead and nickel; and
       ♼                  COMPLAINT                                                                                             13
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1          Filed 08/29/18   Page 22 of 169



                     1                    Other forms of industrial waste.

                     2
                     3
                     4
                     5
                     6
                     7
                     8
                     9

                    10
                    11
                    12
                    13
                    14
                    15
                    16                           HPNS Nuclear Warning Sign (Source: Indybay.org)

                    17           45.       In the years since it was decommissioned, the U.S. Navy effectively admitted it did

                    18    not know the extent of the site’s contamination: it advertised in local newspapers to implore

                    19    workers at the base to report what types of waste had been dumped where and when.

                    20           46.       As a result of the indiscriminate dumping of industrial waste, SF Shipyard residents

                    21    suffer higher-than-normal rates of asthma, cancer and other diseases caused or exacerbated by the

                    22    kinds of pollution and contaminants present at HPNS.

                    23           B.        THE PUBLIC HAS SPENT OVER $1.1 BILLION TO DECONTAMINATE
                                           HPNS
                    24

                    25           47.       After the EPA designated HPNS as a Superfund site in 1989, the U.S. Navy began
                    26    spending what now totals over $1.1 billion of taxpayer dollars cleaning up the site. For all the
                    27    reasons detailed herein, much of that money has been wasted as a result of Tetra Tech’s fraud, and
                    28    much of the site must be re-tested and likely re-decontaminated.
       ♼                  COMPLAINT                                                                                          14
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18       Page 23 of 169



                     1            C.      TETRA TECH AND TETRA TECH EC FRAUDULENTLY REPRESENTED
                                          THAT CONTAMINATED AND TOXIC AREAS WERE CLEAN
                     2
                                  48.     After it became a Superfund site, HPNS became, and is now, delineated into
                     3
                          alphanumerically named parcels (e.g., Parcel A, Parcel D, Parcel UC-2) to designate certain
                     4
                          coordinates within the site.
                     5
                     6
                     7
                     8
                     9

                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23                  HPNS Basewide Map (Source: Naval Facilities Engineering Command)
                                  49.      While the conditions of the entire area are significant to this litigation, Plaintiffs
                    24
                          purchased homes on Parcel A, one of only a few of parcels cleared by the U.S. Navy for residential
                    25
                          development. The U.S. Navy and federal environmental regulators began pushing for Parcel A’s
                    26
                          full release to the public for use as early as 1995, initially believing it to be safe and free from
                    27
                          contamination. Parcel A was removed from the Superfund NPL in 1999. Later investigations
                    28
       ♼                  COMPLAINT                                                                                                 15
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1       Filed 08/29/18      Page 24 of 169



                     1    would turn up previously unknown contamination on or adjacent to Parcel A, leading Parcel A to

                     2    be subdivided several times before it was transferred to the City of San Francisco for development.

                     3           50.       In 2001, the U.S. Navy and federal regulators again pushed for Parcel A’s release to

                     4    the public for development, despite admissions in public records that “it is likely that hazardous

                     5    substances…may have been stored in Parcel A.” One building located on Parcel A, referred to as

                     6    Building 322, later scanned positive for radiological activity and was investigated and demolished

                     7    by Tetra Tech.

                     8           51.       In 2002, the U.S. Navy entered into a contract with Tetra Tech to remediate the

                     9    industrial and radioactive waste still located at HPNS. This contract was initially a time-and-

                    10    materials contract but transitioned in or about 2011 to a fixed-price contract, providing a financial

                    11    incentive for cutting corners and fraudulent activities, as the less Tetra Tech spent on remediation,

                    12    the more profit would end up on its ledger. The value of this fixed-price contract is reportedly

                    13    worth between $250 million and $450 million.

                    14           52.       Further, also in 2002, a “scanner van” completed a scan of Parcel A with radiation-

                    15    detecting devises. This scan, first published in 2016, reportedly detected no radiological

                    16    contamination on Parcel A, but also detected no contamination on other parcels later known to be

                    17    radioactive. This latter fact has caused many to believe that the 2002 scan was a fraud.

                    18           53.       In 2004, The U.S. Navy handed Parcel A over to the city of San Francisco for

                    19    development, after Tetra Tech’s subsidiary Tetra Tech EM Inc.3 made the final determination that

                    20    Parcel A was clean and suitable for development. However, former Tetra Tech EC worker and

                    21    whistleblower Bert Bowers reported that, after the U.S. Navy had made this determination

                    22    concerning Parcel A, he had found elevated levels of radium-226 in a manhole leading to a sewer

                    23    line on Parcel A. Radium-226 can emit radon gas, a leading cause of lung cancer. The

                    24    determination that the parcel was suitable for development was a fraud.

                    25           54.       Whistleblower Anthony Smith, a radiation technician with Tetra Tech, has made

                    26    claims later substantiated by a review of Tetra Tech’s data that, by 2009, Tetra Tech’s workers and

                    27
                          3
                              Tetra Tech EM Inc., a subsidiary of Tetra Tech, Inc., is a separate entity from Tetra Tech, Inc.
                    28    and Tetra Tech EC, Inc. This Complaint brings no claims against Tetra Tech EM, Inc.
       ♼                  COMPLAINT                                                                                            16
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD              Document 1-1          Filed 08/29/18   Page 25 of 169



                     1    contractors had begun faking the cleanup that the U.S. Navy had paid them hundreds of millions of

                     2    dollars to complete. These claims include the following:

                     3                       Creation of data out of thin air;

                     4                       Falsification of records;

                     5                       Soil samples from clean areas deliberately and falsely used to represent

                     6                        contaminated, uncleaned areas;

                     7                       Elimination of samples and data analysis that indicated soil was not remediated to

                     8                        an industry-standard level;

                     9                       Deliberate circumvention of radiation detection devices, and

                    10                       Surreptitious shipments of radioactive materials off-site and as backfill on-site.

                    11              55.       Smith alleged that, during his time of employment as a radiation technician with

                    12    Tetra Tech, he had been ordered multiple times by Justin Hubbard, another employee of Tetra

                    13    Tech, to destroy soil samples showing radioactive contamination and keep quiet. Hubbard, as

                    14    detailed below, pleaded guilty in federal court in 2017 to falsifying documents, and was fined

                    15    thousands of dollars and sentenced to federal prison.

                    16              56.       These fraudulent activities resulted in multiple parcels at HPNS continuing to be

                    17    contaminated well above acceptable, healthy, safe, or industry-standard levels, even though Tetra

                    18    Tech has portrayed their remediation to be acceptable, healthy, safe, and industry-standard or

                    19    better.

                    20              57.       In his analysis of the data, Smith found a radioactive soil sample from Parcel A that

                    21    was 26 times higher than the U.S. Navy- and EPA-set “release criteria,” the limit for allowable

                    22    contamination for cesium-137. This is despite assertions by multiple parties, including Tetra Tech,

                    23    that Parcel A had never been used for radiological purposes and was free of dangerous levels of

                    24    radioactivity, thus clearing Parcel A for transfer to the City of San Francisco. As of his declaration

                    25    on June 3, 2017, Smith believed that he was the only one to take a soil sample at Parcel A, and that

                    26    after he found contamination, nobody, including Tetra Tech employees, followed up or made

                    27    further attempts at investigation or remediation.

                    28
       ♼                  COMPLAINT                                                                                                17
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1       Filed 08/29/18     Page 26 of 169



                     1
                     2
                     3
                     4
                     5
                     6
                     7
                     8
                     9

                    10
                    11
                    12                                   (Source: Ansell Protective Solutions)

                    13           58.       Smith also alleged in his declaration that in 2011 and 2012, Tetra Tech employees

                    14    switched real samples with fake clean soil “pretty much every day” for a total of “between 800 and

                    15    1000 times.” By fraudulently attempting to convince others that the soil at HPNS was not

                    16    contaminated, Tetra Tech could “finish” its remediation more quickly and with less expense,

                    17    pocketing the difference and leaving SF Shipyard and San Francisco residents with the

                    18    ramifications.

                    19           59.       From 2012 through 2014, several former Tetra Tech workers and contractors made

                    20    multiple allegations of clean-up fraud at the shipyard, but land continued to be transferred to the

                    21    City of San Francisco as it was deemed clean, and Tetra Tech kept winning contracts, including a

                    22    pair of contracts with the U.S. Navy totaling $7.5 million for more shipyard work, despite prior

                    23    and contemporaneous fraud allegations. Tetra Tech was allowed to continue working after

                    24    blaming the problems on low-level employees and submitting other workers to “ethics training.”

                    25    At the time, the U.S. Navy accepted the excuses until additional whistleblowers made allegations

                    26    (since sustained) of more widespread and systemic fraud. At the time, no fines were imposed on

                    27    Tetra Tech.

                    28
       ♼                  COMPLAINT                                                                                             18
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18      Page 27 of 169



                     1           60.        In 2014, local media exposed that Tetra Tech had mishandled soil samples and

                     2    falsified radiation data. The Nuclear Regulatory Commission (NRC) soon investigated and found

                     3    that some employees had deliberately falsified soil sample data.

                     4           61.        An April 2014 report by Tetra Tech detailed how the company was caught

                     5    submitting false soil samples to the U.S. Navy in an apparent effort to declare the soil free of

                     6    radiological contamination when it may not have been. The report concluded, “With the above

                     7    hypotheses ruled out, there is one feasible explanation for [the anomalous samples]. That

                     8    explanation is that the persons listed as the sample collectors on the chain-of -custody forms, either

                     9    by themselves or in conjunction with others, collected soil samples in areas outside the designated

                    10    survey units.”4

                    11           62.        In 2015, the City of San Francisco accepted two parcels (for a total of seven acres)

                    12    called UC-1 and UC-2 for “Utility Corridor.” As detailed below, the remediation analysis of these

                    13    parcels, formerly parts of Parcel A, are likely subjects of “falsification and data manipulation.”

                    14           63.        Also in 2015, local contractor Albion Partners was hired to perform repair work at

                    15    HPNS, including fixes to a “hard cap” of soil and asphalt used to cover contaminated soil with

                    16    potentially toxic vapors that Tetra Tech had installed in 2011.

                    17           64.        As the allegations of fraud continued and the scandal exploded, Mayor Ed Lee and

                    18    Supervisor Malia Cohen, who represented the neighborhood at the time, wrote a letter to the EPA

                    19    in 2016 decrying the state of the clean-up and stating that “San Francisco will not accept the

                    20    transfers of any land until federal and state regulators are satisfied that the land is clean and safe.”

                    21    At this time, many parcels were already in the hands of Lennar, and the first homes already housed

                    22    tenants. Meanwhile, the developers disregarded the problems: Kofi Bonner, then a regional

                    23    executive for FivePoint, said in 2016 that “We have been assured by environmental regulators that

                    24    there are no issues of concern [at HPNS].” The investigation would stop, and continues to hold up,

                    25    the transfer of several hundred acres of land to San Francisco.

                    26
                    27
                          4
                             The April 2014 Tetra Tech report, entitled Investigation Conclusion Anomalous Soul Samples
                    28    at Hunters Point Naval Shipyard, Revision 1 April 2014, is attached hereto as Exhibit D.
       ♼                  COMPLAINT                                                                                              19
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18     Page 28 of 169



                     1                    1.      Whistleblower Allegations Lead to U.S. Navy and EPA Analyses
                                                  Showing Intentional Misconduct and Fraud by Tetra Tech
                     2
                     3           65.      Tetra Tech’s fraud scandal reached a new level in 2017, as seven former Tetra Tech

                     4    workers signed sworn declarations in a petition filed with the NRC,5 detailing Tetra Tech’s

                     5    longstanding and widespread misconduct aimed at downplaying the true and horrifying extent of

                     6    contamination at HPNS.

                     7           66.      These seven workers alleged that Tetra Tech’s supervisors participated in various

                     8    forms of fraudulent activity, and that top-level on-site managers directly instructed employees to

                     9    falsify records and commit fraud, cheating the U.S. Navy, then-current and future residents and

                    10    workers at the HPNS development, including the SF Shipyards, and the U.S. taxpayer. Some of

                    11    Tetra Tech’s workers were laid off or fired, potentially because they raised these red flags.

                    12           67.      These seven Tetra Tech workers alleged the following that Tetra Tech’s fraud took

                    13    the following forms:

                    14                 a. Faking soil samples;

                    15                 b. Manipulating data;

                    16                 c. Intentional tampering with radioactivity-detection machines;

                    17                 d. Botched soil remediation efforts, either intentionally to cut corners or through

                    18                    incompetence;

                    19                 e. Pulling soil samples from known clean areas and passing them off as soil from

                    20                    known dirty areas;

                    21                 f. Running radioactivity scanners improperly and too quickly to be able to accurately

                    22                    detect contamination;

                    23                 g. Faking chain-of-custody records; and

                    24                 h. Faking results at on-site testing labs;

                    25            68.     By cutting corners on a fixed-price contract, Tetra Tech stood to reap extra profits

                    26    to the tune of millions to tens of millions of dollars if they were successful at defrauding the U.S.

                    27    Navy, the EPA, and the City and County of San Francisco. Additionally, the fraudulent activity

                    28    5
                              The petition is attached hereto as Exhibit E.
       ♼                  COMPLAINT                                                                                           20
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 29 of 169



                     1    means that HPNS’s potentially contaminated soil could have been shipped to other locations in

                     2    California while labeled as clean.

                     3             69.   The U.S. Navy hired third-party contractors to review Tetra Tech’s data and

                     4    methods in light of the allegations before and through 2017. These contractors found evidence of

                     5    possible “falsification and data manipulation” throughout HPNS. These contractors subsequently

                     6    determined that nearly half of the work performed by Tetra Tech dating back to 2005 showed signs

                     7    of fraud and/or was suspect and could not be trusted.

                     8             70.   On December 27, 2017, the manager of EPA’s local Superfund Division, John

                     9    Chesnutt, stated that he believed that the U.S. Navy was dramatically understating the severity of

                    10    the environmental scandal, wrote that as much as 97% of Tetra Tech’s cleanup data was unreliable

                    11    and had to be retested. Specifically, he wrote, “The data analyzed demonstrate a widespread

                    12    pattern of practices that appear to show deliberate falsification, failure to perform the work

                    13    in a manner required to ensure [cleanup] requirements were met, or both.”6 The “suspect”

                    14    soil included soil from the UC-1 and UC-2 parcels—formerly part of Parcel A and now

                    15    immediately adjacent to Parcel A—which were transferred to the City of San Francisco in 2015.

                    16    Parcel D-2, also adjacent to Parcel A and transferred to the City in 2015, was also determined to

                    17    contain “suspect” soil.

                    18             71.   The unreliability of Tetra Tech’s data, Tetra Tech’s now-public widespread

                    19    fraudulent acts, and the continued contamination throughout the HPNS site have resulted in lower

                    20    home values at SF Shipyards, as buyers are accordingly discouraged from buying property there

                    21    due to health and other concerns, including whether and when Lennar and/or FivePoint will finish

                    22    the project.

                    23             72.   The impact of the fraud was made manifest in a March 2015 report by San

                    24    Francisco’s Office of Community Investment and Infrastructure (the “March 2015 Report”),

                    25    detailing the costs of the cleanup.7 Specifically, the report stated that “over the last several years

                    26
                    27    6
                               John Chesnutt’s letter in its entirety is attached hereto as Exhibit F.
                          7
                              A copy of this March 2015 Report is available at http://sfocii.org/sites/default/files
                    28    /FileCenter/Documents/8787-HPS%20Executive%20Summary_March%202015.pdf.
       ♼                  COMPLAINT                                                                                           21
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 30 of 169



                     1    the U.S. Navy has spent more money on the cleanup of the Shipyard than any other closed

                     2    base in the country.”8 Not only does this show the extent of the contamination at HPNS, but also

                     3    the amount that will be spent if and when the re-tests show incomplete and/or shoddy work and the

                     4    contamination has to be remediated, as it should have been over the past 13 years when Tetra Tech

                     5    was so contracted.

                     6            73.    After the third-party contractors’ report was made public in January 2018, the U.S.

                     7    Navy began preparing a comprehensive re-examination of HPNS’s soil and buildings, saying the

                     8    re-examination was necessary after finding a pattern of fraudulent manipulation or falsification of

                     9    the data Tetra Tech had submitted.

                    10            74.    In April 2018, Tetra Tech announced at a press conference that it would pay for an

                    11    independent retesting of the shipyard to prove the cleanup was performed correctly and the area

                    12    was safe for development. The announcement raised concerns that a rushed one- or two-month

                    13    evaluation would be insufficient to uncover more than a decade of potential fraud. The same

                    14    month, Jeff Ruch, the Executive Director of Public Employees for Environmental Responsibility,

                    15    an advocacy group, publicly stated that the scandal was “unfolding into the biggest case of eco-

                    16    fraud in U.S. history.”

                    17                   2.      Tetra Tech Supervisors Pled Guilty in 2017 for Criminal Misconduct at
                                                 HPNS Site
                    18
                    19            75.    The U.S. Department of Justice announced in May 2018 that two former Tetra Tech

                    20    supervisors, Justin Hubbard and Stephen Rolfe, pleaded guilty to faking documentation, and were

                    21    each fined and sentenced to time in federal prison. According to the plea agreements, Hubbard

                    22    had on multiple occasions collected clean soil from outside designated work areas and placed them

                    23    into containers identifying the soil as originating from various areas of the toxic shipyard. Rolfe

                    24    admitted that they had ordered employees to fake dirt sampling in a similar way on approximately

                    25    20 separate occasions, and knowingly falsified other documentation to “impede…the U.S. Navy’s

                    26    radiological remediation efforts at the former naval shipyard.”

                    27
                          8
                             Office of Community Investment and Infrastructure, Executive Summary Status of the
                    28    Environmental Remediation of the Hunters Point Shipyard, March 2015 at p. ES-6.
       ♼                  COMPLAINT                                                                                             22
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD        Document 1-1        Filed 08/29/18      Page 31 of 169



                     1
                     2
                     3
                     4
                     5
                     6
                     7
                     8
                     9

                    10
                    11
                    12            76.    Concerning the guilty pleas, Assistant EPA Administrator Susan Bodine

                    13    emphasized the importance of accurate data concerning Superfund site remediation: “Accurate

                    14    data is a critical component of EPA’s efforts to protect communities and the environment at

                    15    Superfund sites. Yesterday’s sentence demonstrates that those who place communities at risk by

                    16    deliberately falsifying information will be held accountable.” The Department of Defense’s Office

                    17    of the Inspector General’s Special Agent in Charge, Chris D. Hendrickson, noted that “Rolfe and

                    18    Hubbard’s lies and shortcuts in the soil testing process potentially put the community at risk and

                    19    frustrated the contracting efforts of the U.S. Navy to test and remediate soil at HPNS. These

                    20    results demonstrate that [law enforcement is] committed to holding accountable those who cheat

                    21    the Department of Defense procurement process and U.S. taxpayers.”

                    22            77.    According to sworn testimony from Archie Jackson, another former Tetra Tech

                    23    employee, Rolfe and Hubbard formed a “clique” led by Tetra Tech’s project manager and

                    24    Defendant in this matter, Bill Dougherty. Jackson alleged that the two “did whatever Dougherty

                    25    wanted, including cutting radiological corners.”

                    26            78.    Susan Andrews, another former radiation technician working for Tetra Tech,

                    27    claimed that other Tetra Tech managers, including construction manager Dennis McWade, had

                    28    ordered her to destroy data on multiple occasions, and on at least one occasion allowing
       ♼                  COMPLAINT                                                                                            23
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18     Page 32 of 169



                     1    radiologically contaminated metal fencing to be returned to the company from which it was rented.

                     2    She also claimed that Tetra Tech’s supervisors lowered the sensitivity of some scanners in 2011,

                     3    leading to potentially contaminated and radioactively dangerous dirt to leave the HPNS as “clean”

                     4    soil, some to be trucked to conventional landfills across California.

                     5                   3.      HPNS, Including Parcel A Containing the Homes at SF Shipyards,
                                                 Must be Retested
                     6
                                  79.    In June 2018, the U.S. Navy released a proposed plan for retesting Parcel G, a site
                     7
                          just to the south of Parcel A, where the current residential housing units at SF Shipyards are
                     8
                          located. The planned test would include various parts of the property known or believed to have
                     9
                          been “radiologically impacted” by the U.S. Navy’s actions.
                    10
                                  80.    The California Department of Public Health announced just a few days later, in
                    11
                          June 2018, that the U.S. Navy would begin testing Parcel A in July 2018 to “address the
                    12
                          radiological health and safety of the environment.” Parcel A contains approximately 450 homes
                    13
                          that have been completed or are under construction and, according to Lennar’s website, houses
                    14
                          over 350 homeowners9 (as all homes built in the SF Shipyards area are in what has been
                    15
                          designated as Parcel A). Experts, however, including Dan Hirsch, retired director of the Program
                    16
                          on Environmental and Nuclear Policy at UC Santa Cruz, have expressed serious misgivings about
                    17
                          the testing process, saying that the scanners being proposed would not detect two particularly
                    18
                          harmful nuclear isotopes known to contaminate the site: strontium-90 and plutonium-239. Others
                    19
                          have expressed concern that the testing will reveal little without contemporaneous analysis of soil
                    20
                          core samples. Indeed, the March 2015 Report indicates how difficult it will be to find (and
                    21
                          remediate) contamination under the ground after the tracts are developed, pointing out that “[o]nce
                    22
                          new construction is complete, it is unlikely that any new contaminants will be found because there
                    23
                          won’t be any digging below ground except for utility repairs to streets.”10 Defendants were well
                    24
                          aware of this fact when they were developing the homes on Parcel A.
                    25
                          9
                    26        https://www.lennar.com/New-Homes/California/San-Francisco-Bay-Area/San-
                          Francisco/Promo/BAULEN_Shipyard_General_Landing_Page_Mod?utm_source=sfsy&utm_medi
                    27    um=website&utm_campaign=baulen_website_sfsy_masterplan (Last accessed July 3, 2018).
                          10
                               Office of Community Investment and Infrastructure, Executive Summary Status of the
                    28    Environmental Remediation of the Hunters Point Shipyard, March 2015 at p. ES-15.
       ♼                  COMPLAINT                                                                                          24
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18      Page 33 of 169



                     1            81.       The most recently plan to scan Parcel A for contamination, as of July 12, 2018,

                     2    does not include actually testing the housing itself. The California Department of Public Health

                     3    announced on July 6, 2018 that it plans to scan “open areas of uncovered ground, landscaped areas

                     4    and…streets and sidewalks” near the housing at the SF Shipyard for gamma radiation. While this

                     5    scan may find some contamination, it is essentially pointless because any clear bill of health will

                     6    be meaningless, for two reasons:

                     7                      One of the most commonly found radioactive isotopes at SF Shipyard, radium-

                     8                       226, mostly emits alpha particles as it decay; these alpha particles will not be

                     9                       picked up during the planned test.

                    10                      The planned test will not be able to determine the radioactive exposures people

                    11                       may experience while in their own homes.

                    12            82.       Portions of Parcel A were “tested” for radioactivity by the California Department of

                    13    Public Health during the week of July 16 through July 20, 2018. However, the test involved only a

                    14    single maintenance utility vehicle driving up and down the residential streets of the SF Shipyards

                    15    and did not include any testing on residents’ property or in residents’ houses and did not include

                    16    any digging or attempt to procure soil samples and was thus insufficient to allay residents’ founded

                    17    fears or confidently determine the area to be clean from contamination.

                    18
                    19
                    20
                    21
                    22
                    23
                    24

                    25
                    26
                    27
                             California Department of Public Health Completes a Rudimentary Scan of Parcel A for
                    28                   Radiation, July 19, 2018 (Source: Cotchett, Pitre & McCarthy)
       ♼                  COMPLAINT                                                                                             25
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD        Document 1-1        Filed 08/29/18     Page 34 of 169



                     1            83.    While the U.S. Navy and EPA have long insisted that Parcel A was clean, and was

                     2    used mostly for military housing barracks, government reports and field technicians have

                     3    challenged this position, bringing it into question. According to government reports, one adjacent

                     4    laboratory building housed caged dogs given lethal doses of radiation, and at least one former

                     5    Tetra Tech worker detected high levels of radioactivity on the parcel’s edge.

                     6
                     7
                     8
                     9

                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21                                         (Source: The Chronicle)

                    22            84.    The current homeowners at SF Shipyards justifiably relied to their detriment on the

                    23    reassurances of the U.S. Navy, EPA, Tetra Tech and Lennar Corp. that the SF Shipyards site,

                    24    including Parcel A was not contaminated. Plaintiffs now own properties on and/or adjacent to land

                    25    still containing toxic and nuclear contamination at levels high enough to have deleterious health

                    26    consequences over the short and long terms. Given that few people would willingly live in such

                    27    conditions, the demand for such homes is small or nonexistent, and the values of these homes have

                    28    been and will continue to diminish relative to the rest of the San Francisco housing market.
       ♼                  COMPLAINT                                                                                           26
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD        Document 1-1        Filed 08/29/18      Page 35 of 169



                     1                   4.     Tetra Tech Contracted to Clean the Area

                     2           85.     Tetra Tech received a contract worth between $250 million and $450 million from

                     3    the U.S. Navy in or around 2002 to remediate the contamination from radioactive and industrial

                     4    waste resulting from military nuclear testing and the subsequent operation of a shipyard at the

                     5    HPNS site.

                     6
                     7
                     8
                     9

                    10
                    11
                    12
                    13
                    14
                    15                   Tetra Tech’s Hunters Point Field Office (Source: NBC Bay Area)

                    16           86.     Very early on in their tenure, Tetra Tech found ways to cut corners such that they

                    17    could obtain maximum profit from the fixed-price contract they had received from the U.S. Navy

                    18    to clean the area. This cover up resulted in two federal criminal convictions, but more importantly,

                    19    Tetra Tech’s work must be completely retested and redone, in a process that could take years.

                    20           87.     Tetra Tech, through its managers at the HPNS site, deliberately engaged in

                    21    fraudulent activity to cover up all the methods they used to cut corners and save money cleaning

                    22    up HPNS. Subsequent independent analyses from the U.S. Navy, independent contractors, and the

                    23    EPA have indicated that between almost half and 97% of Tetra Tech’s work was suspect and

                    24    potentially fraudulent, and much of the area has to be retested and, very possibly, re-remediated.

                    25           88.     These federal regulators, former Tetra Tech employees, and environmental activists

                    26    have claimed that the HPNS site is still contaminated with radioactive and industrial waste, despite

                    27    Tetra Tech’s “remediation attempts” over the past 13 years. Tetra Tech’s procedures are below, or

                    28    well below, industry standard, especially given the copious amount of suspect and/or falsified data
       ♼                  COMPLAINT                                                                                            27
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1      Filed 08/29/18      Page 36 of 169



                     1    Tetra Tech provided to interested parties, and Tetra Tech is known to have fired employees who

                     2    raised red flags concerning Tetra Tech’s practices at HPNS.

                     3           89.     This fraudulent activity has resulted in approximately 350 SF Shipyard

                     4    homeowners being exposed on a daily basis to potentially dangerous amounts of radioactivity and

                     5    industrial waste in the ground beneath and around them.

                     6                   5.      Lennar and FivePoint Represented the Area as Clean

                     7           90.     Developers Lennar and FivePoint started building condominiums in Parcel A of

                     8    HPNS in 2013, after whistleblowers came forward in 2012, and started selling them in or around

                     9    June 2014. Approximately 300 to 350 SF Shipyards units have been sold to homeowners.

                    10           91.     Lennar marketed SF Shipyards as a robust live-work community with 12,000 new

                    11    homes and romantic ties to a shipyard past, with no mention of the area’s radioactive,

                    12    contaminated state. A 2015 version of Lennar’s marketing site to the area, promised 42-story

                    13    highrises, stormwater ecogardens, solar and wind energy infrastructure, an international African

                    14    marketplace, a regional retail center, library reading rooms, community events, and 300-plus acres

                    15    of parks and open space for residents. 11

                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24

                    25
                    26
                                       Artist Rendering of Lennar’s SF Shipyard (Source: d10benefits.org)
                    27
                          11
                               https://web.archive.org/web/20150206044532/http://thesfshipyard.com:80/event-
                    28    category/big-plans/ (Last Visited July 10, 2018).
       ♼                  COMPLAINT                                                                                          28
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1       Filed 08/29/18     Page 37 of 169



                     1            92.     On information and belief, on multiple occasions Lennar promised SF Shipyard

                     2    residents that residential units would be accompanied by street-level retail storefronts. Instead,

                     3    many of those promised storefronts have become, or are in the process of becoming, parking

                     4    garages for residents.

                     5            93.     As of 2015, when the first residential units were sold, Lennar and FivePoint,

                     6    responsible for building and selling the area’s first 926 homes, had planned to deliver 800,000

                     7    square feet of office space and 1,400 housing units by 2018. As of May 2018, there is no office

                     8    space in operation. The SF Shipyards area remains unwalkable, with almost no public transit, and

                     9    little infrastructure, such as schools.

                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20         Artist’s rendering of a completed San Francisco Shipyard by Lennar and FivePoint
                                                           (Source: Business Insider)
                    21
                    22            94.     On information and belief, Lennar and/or FivePoint did not disclose the continuing

                    23    contamination at the SF Shipyards site prior to selling real property to homeowners between 2013

                    24    and today. Indeed, their advertising and marketing did not mention the radioactive nature of the

                    25    U.S. Navy’s activities at HPNS, including the nuclear warfare research laboratory, nor the fact that

                    26    the shipyard served as an endpoint for ships irradiated during Hydrogen bomb tests, nor the fact

                    27    that the area contained a general waste dump potentially containing radium and other radioactive

                    28
       ♼                  COMPLAINT                                                                                            29
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 38 of 169



                     1    waste that, at the time, was treated like common garbage, nor the contamination therein, nor the

                     2    U.S. Navy’s investigation into Tetra Tech that started at least as early as 2014.

                     3           95.     On information and belief, Lennar and/or FivePoint had knowledge of the failed

                     4    cleanup at HPNS and Tetra Tech’s fraudulent activities, or should have known, but still failed to

                     5    disclose these facts, seeking to profit off the lack of information known by home purchasers at SF

                     6    Shipyards.

                     7
                     8
                     9

                    10
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                                                Recent Image of SF Shipyard (Source: SF Examiner)
                    20
                                 D.      DEFENDANTS’ FRAUD HAS AND WILL COST SF SHIPYARDS
                    21                   RESIDENTS MILLIONS OF DOLLARS IN LOST HOME EQUITY
                    22         96.       When the SF Shipyard Residents purchased their homes from Lennar and/or
                    23    FivePoint, they had no reason to believe they were purchasing residential property on a site
                    24    contaminated with radioactive and/or industrial waste at levels potentially deleterious to their
                    25    health. At no point before the purchase did Lennar and/or FivePoint disclose this essential
                    26    information. Once the information became public, these homes lost tens or hundreds of thousands
                    27    of dollars in value, as nobody would willingly expose their own health, or that of their families, to
                    28    such physical harm and stress.
       ♼                  COMPLAINT                                                                                           30
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 39 of 169



                     1           97.      On knowledge and belief, home values have been harmed since Lennar first sold

                     2    the homes at SF Shipyards, despite the San Francisco market’s high demand and low supply

                     3    pushing up housing prices throughout the San Francisco Bay Area, and new units are being sold at

                     4    much lower prices than comparable units were selling for prior to the extent of Tetra Tech’s fraud

                     5    becoming public.

                     6           E.       DEFENDANTS ENGAGED IN OTHER UNLAWFUL AND UNFAIR
                     7                    MISCONDUCT
                                 98.      For example, Defendants violated Cal. Civ. Code §1102.13 by failing to properly
                     8
                          disclose the continuing toxic contamination of the HPNS site, including SF Shipyards.
                     9
                                 99.      Defendants also failed to provide good faith disclosures upon the transfer of SF
                    10
                          Shipyards properties to purchasers, in violation of Cal. Civ. Code §1102.7.
                    11
                                 100.     Defendants made or disseminated, directly or indirectly, untrue, false, or
                    12
                          misleading statements about HPNS, or caused untrue, false, or misleading statements about
                    13
                          HPNS to be made or disseminated to the general public, including those individuals that
                    14
                          purchased property at SF Shipyards, in violation of Cal. Bus. & Prof. Code Section 17500.
                    15
                                 101.     The effects of this misconduct by Defendants are ongoing. The HPNS site is
                    16
                          still contaminated with radioactive and/or industrial waste and given the fact that practically
                    17
                          the entire area must be retested, it is unknown how much longer it will take to remediate the
                    18
                          contamination in the area, or if it even can be remediated with new structures already built at
                    19
                          SF Shipyards.
                    20
                                 F.       ALTHOUGH DEFENDANTS KNEW THAT TETRA TECH WAS
                    21                    COVERING UP ITS MISDEEDS, THEY FRAUDULENTLY CONCEALED
                    22                    THEIR MISCONDUCT, AND THE MISCONDUCT OF OTHERS
                                 102.     Defendants, both individually and collectively, made and profited from
                    23
                          misrepresentations about the health risks of living at SF Shipyards due to the underlying and
                    24
                          surrounding land’s toxic contamination, even though they knew that the misrepresentations were
                    25
                          false and misleading. Defendants had access to scientific studies, detailed data, and reports of
                    26
                          adverse events—all of which should have made clear that the SF Shipyards site was potentially
                    27
                    28
       ♼                  COMPLAINT                                                                                          31
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 40 of 169



                     1    still contaminated even after over a decade of attempted remediation and Parcel A being

                     2    available for public development.

                     3              103.   Moreover, at all times relevant to this Complaint, Defendants took steps to

                     4    avoid detection of their misdeeds and to fraudulently conceal the true facts through deceptive

                     5    marketing and unlawful, unfair, and fraudulent conduct. Defendants Lennar and/or FivePoint

                     6    purposefully hid behind the assumed credibility of the U.S. Navy and Tetra Tech and relied on

                     7    them to vouch for the accuracy and integrity of false and misleading statements about the risks

                     8    and benefits of purchasing property at SF Shipyards.

                     9              104.   Thus, Defendants successfully concealed from potential and actual purchasers

                    10    of residential property at SF Shipyards facts sufficient to arouse suspicion of the claims that

                    11    Plaintiffs now assert. Plaintiffs did not know of the existence or scope of Defendants’ and

                    12    their co-conspirators’ area-wide fraud and could not have acquired such knowledge earlier

                    13    through the exercise of reasonable diligence.

                    14              G.     BY ALLOWING THE PURCHASE OF RESIDENTIAL PROPERTY ON
                                           CONTAMINATED LAND THROUGH UNLAWFUL AND UNFAIR
                    15                     BUSINESS PRACTICES, EACH DEFENDANT HAS CREATED OR
                                           ASSISTED THE CREATION OF A NUISANCE
                    16
                                    105.   Defendants’ misrepresentations deceived potential and actual purchasers of
                    17
                          property at SF Shipyards about the health risks of living in the area. Residents confirm that
                    18
                          they were never told the homes they were purchasing were on or surrounded by land
                    19
                          contaminated with industrial and/or radioactive waste at levels potentially harmful to their
                    20
                          health.
                    21
                                    106.   Defendants knew and should have known that their misrepresentations about the
                    22
                          health risks of living at SF Shipyards due to the underlying and surrounding land’s toxic
                    23
                          contamination were false and misleading when they made them.
                    24
                                    107.   Defendants’ and their co-conspirators’ unlawful and unfair business practices
                    25
                          caused and continue to cause the Plaintiffs’ home values to decline to levels below where they
                    26
                          would otherwise be. Absent Defendants’ deceptive marketing scheme and unlawful and
                    27
                          unfair business practices, these residents would not have purchased property at SF Shipyards,
                    28
       ♼                  COMPLAINT                                                                                         32
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1         Filed 08/29/18      Page 41 of 169



                     1    and their homes would not have lost value relative to the greater San Francisco housing

                     2    market at the rate that they did due to the public exposure of the health risks.

                     3           108.    Defendants’ unlawful and unfair business practices also caused SF Shipyard

                     4    residents to purchase property at SF Shipyard, believing it was safe. Absent Defendants’

                     5    unlawful practices, residents would not have purchased property at SF Shipyards. Ultimately

                     6    Defendant Tetra Tech was tasked with remediating the contamination at HPNS and Lennar

                     7    and FivePoint were tasked with providing proper disclosures to their potential residents; all

                     8    Defendants flagrantly violated the law.

                     9     V.    CAUSES OF ACTION

                    10                                       FIRST CAUSE OF ACTION

                    11                                   PERMANENT PUBLIC NUISANCE

                    12            Common Law and Violations of California Civil Code Sections 3479 and 3780

                    13               (Against Tetra Tech, Tetra Tech EC, Dan L. Batrack, Steven M. Burdick,

                    14                                              and Bill Dougherty)

                    15           109.    Plaintiffs re-allege and incorporate by reference each of the allegations contained in

                    16    the preceding paragraphs of this Complaint as though fully alleged in this Cause of Action.

                    17           110.    A permanent nuisance has been defined as “of such a character as it will be

                    18    reasonably certain, or will be presumed, to continue indefinitely, or affect the value of the property

                    19    permanently.” Spar v. Pacific Bell (1991) 235 Cal. App. 3d 1482, 1484-85.

                    20           111.    Civil Code Section 3490 states that “[n]o lapse of time can legalize a public

                    21    nuisance, amounting to an actual obstruction of public right.”

                    22           112.    Civil Code Section 3479 provides that “[a]nything that is injurious to health ... or is

                    23    indecent or offensive to the senses, or an obstruction to the free use of property, so as to interfere

                    24    with the comfortable enjoyment of life or property ... is a nuisance.”

                    25           113.    Civil Code Section 3480 defines a “public nuisance” as “one which affects at the

                    26    same time an entire community or neighborhood, or any considerable number of persons, although

                    27    the extent of the annoyance or damage inflicted upon individuals may be unequal.”

                    28
       ♼                  COMPLAINT                                                                                               33
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 42 of 169



                     1           114.    Defendants, and/or each of them, by acting or failing to act, created a condition or

                     2    permitted a condition to exist that was and is harmful to health, indecent or offensive to the sense,

                     3    was and is an obstruction to the free use of property, so as to interfere with the comfortable

                     4    enjoyment of life and/or property. This condition affected a substantial number of people at the

                     5    same time, as several people live, travel, and work around and/or in the HPNS. An ordinary person

                     6    would reasonably be annoyed or disturbed by Defendants’ conduct.

                     7           115.    Defendant Tetra Tech and/or its officers, employees, and/or agents intentionally,

                     8    fraudulently, and/or negligently misrepresented to the government agencies the level of

                     9    contamination and the results of tests on Parcel A and other parcels surrounding Parcel A.

                    10    Defendants Tetra Tech also withheld materially relevant and important results from the

                    11    government agencies which indicated that Parcel A was environmentally contaminated. This is

                    12    despite being hired by government agencies to remediate and clean-up the property to be suitable

                    13    for safe residential and commercial use. Defendant Tetra Tech’s misrepresentations and/or

                    14    omissions permitted a harmful and/or contaminated condition to exist on the property when all

                    15    government agencies, the public, and Plaintiffs were led to believe it no longer existed.

                    16           116.    Defendants Lennar and/or FivePoint and/or their officers, employees, and/or agents

                    17    established and maintained significant presence on the property after acquiring said property in or

                    18    around 2004. Defendants could not have maintained such presence without being aware of

                    19    Defendant Tetra Tech’s insufficient, negligent, and/or fraudulent environmental remediation on

                    20    Parcel A and other surrounding properties at HPNS. Upon information and belief, Defendants

                    21    Lennar and/or Five Point had actual and/or constructive notice that Defendant Tetra Tech was not

                    22    performing cleanup, remediation, and/or testing responsibilities properly and was thereby covering

                    23    up environmental contamination on and around Parcel A. Despite being the owner of said parcel

                    24    and marketing the property for residential and commercial sale under the guise of the property

                    25    being safe and not contaminated, Defendant Lennar and/or FivePoint did not pursue further

                    26    investigation or alert government regulators, the public or potential homeowners of the risk of the

                    27    property being contaminated. By failing to do so, Defendants, and/or each of them, permitted a

                    28
       ♼                  COMPLAINT                                                                                           34
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18       Page 43 of 169



                     1    harmful and/or contaminated condition to exist on the property when all government agencies, the

                     2    public, and Plaintiffs were led to believe it no longer existed.

                     3             117.   Plaintiffs did not consent to the aforementioned conduct of the Defendants, and

                     4    Plaintiffs suffered harm that was different from the type of harm suffered by the general public,

                     5    including but not limited to: (a) the diminution of their property value; (b) inability to sell their

                     6    property; and/or (c) inability to sell their property for the value it would be worth if not

                     7    contaminated.

                     8             118.   The conduct of Defendants, and/or each of them, was a substantial factor in causing

                     9    Plaintiffs’ harm, and the seriousness of the harm outweighs the public benefit of Defendants’

                    10    conduct.

                    11             119.   The public nuisance is substantial, unreasonable, and permanent. Defendants’

                    12    actions caused and/or continue to cause the diminution in the value of property at SF Shipyards

                    13    described above in the City and County of San Francisco, and that harm outweighs any offsetting

                    14    benefit.

                    15             120.   The public nuisance — i.e., the nuclear toxicity and other environmental toxicity—

                    16    created, perpetuated, and maintained by Defendants is permanent and cannot be abated.

                    17    Abatement is impractical because up to 97% of the property is estimated to need retesting. Tetra

                    18    Tech alone was paid $300 million to test and remediate the property. A review of Tetra Tech’s

                    19    work will cost in excess of $300 million. Further, such remediation does not resolve the harm

                    20    incurred as a byproduct of Defendant’s actions.

                    21             121.   As a direct and proximate result of the nuisance created and maintained by

                    22    Defendants, Plaintiffs have been and will be further damaged, in a sum to be established by proof

                    23    at trial, by the diminution in the value of, and future harm to, its property, as more fully described

                    24    above.

                    25    ///

                    26    ///

                    27    ///

                    28    ///
       ♼                  COMPLAINT                                                                                               35
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1          Filed 08/29/18      Page 44 of 169



                     1                                       SECOND CAUSE OF ACTION

                     2                                   PERMANENT PRIVATE NUISANCE

                     3            Common Law and Violations of California Civil Code Sections 3479 and 3481

                     4               (Against Tetra Tech, Tetra Tech EC, Dan L. Batrack, Steven M. Burdick,

                     5                                              and Bill Dougherty)

                     6            122.    Plaintiffs re-allege and incorporate by reference each of the allegations contained in

                     7    the preceding paragraphs of this Complaint as though fully alleged in this Cause of Action.

                     8            123.    Civil Code Section 3479 provides that “[a]nything that is injurious to health ... or is

                     9    indecent or offensive to the senses, or an obstruction to the free use of property, so as to interfere with

                    10    the comfortable enjoyment of life or property ... is a nuisance.”

                    11            124.    Civil Code Section 3481 defines a “private nuisance” as “every nuisance not

                    12    included in the definition of [public nuisance].”

                    13            125.    A permanent nuisance has been defined as “of such a character as it will be

                    14    reasonably certain, or will be presumed, to continue indefinitely, or affect the value of the property

                    15    permanently.” Spar v. Pacific Bell (1991) 235 Cal. App. 3d 1482, 1484-85.

                    16            126.    Defendants, and/or each of them, by acting or failing to act, created a condition or

                    17    permitted a condition to exist that was and is harmful to health, indecent or offensive to the sense,

                    18    was and is an obstruction to the free use of property, so as to interfere with the comfortable

                    19    enjoyment of life and/or property. This condition has substantially interfered with and continues to

                    20    substantially interfere with Plaintiffs’ use or enjoyment of their land, and an ordinary person would

                    21    reasonably be annoyed or disturbed by Defendants’ conduct.

                    22            127.    Defendant Tetra Tech and/or its officers, employees, and/or agents intentionally,

                    23    fraudulently, and/or negligently misrepresented to the government agencies the level of

                    24    contamination and the results of tests on Parcel A and other parcels surrounding Parcel A.

                    25    Defendant Tetra Tech also withheld materially relevant and important results from the government

                    26    agencies which indicated that Parcel A was environmentally contaminated. This is despite being

                    27    hired by government agencies to remediate and clean-up the property to be suitable for safe

                    28    residential and commercial use. Defendant Tetra Tech’s misrepresentations and/or omissions
       ♼                  COMPLAINT                                                                                                 36
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18      Page 45 of 169



                     1    permitted a harmful and/or contaminated condition to exist on the property when all government

                     2    agencies, the public, and Plaintiffs were led to believe it no longer existed.

                     3           128.      Defendants Lennar and/or FivePoint and/or their officers, employees, and/or agents

                     4    established and maintained significant presence on the property after acquiring said property in or

                     5    around 2004. Defendants could not have maintained such presence without being aware of

                     6    Defendant Tetra Tech’s insufficient, negligent, and/or fraudulent environmental remediation on

                     7    Parcel A and other surrounding properties at HPNS. Upon information and belief, Defendants

                     8    Lennar and/or Five Point had actual and/or constructive notice that Defendant Tetra Tech was not

                     9    performing cleanup, remediation, and/or testing responsibilities properly and was thereby covering

                    10    up environmental contamination on and around Parcel A. Despite being the owner of said parcel

                    11    and marketing the property for residential and commercial sale under the guise of the property

                    12    being safe and not contaminated, Defendant Lennar and/or FivePoint did not pursue further

                    13    investigation or alert government regulators, the public or potential homeowners of the risk of the

                    14    property being contaminated. By failing to do so, Defendants, and/or each of them, permitted a

                    15    harmful and/or contaminated condition to exist on the property when all government agencies, the

                    16    public, and Plaintiffs were led to believe it no longer existed.

                    17           129.      Plaintiffs did not consent to the aforementioned conduct of the Defendants.

                    18           130.      The conduct of Defendants, and/or each of them, was a substantial factor in causing

                    19    Plaintiffs’ harm, and the seriousness of the harm outweighs the public benefit of Defendants’

                    20    conduct.

                    21                                        THIRD CAUSE OF ACTION

                    22                               UNFAIR AND UNLAWFUL COMPETITION

                    23                     Violations of Business and Professions Code Section 17200, et seq.

                    24                                           (Against Each Defendant)

                    25           131.      Plaintiffs re-allege and incorporate by reference each of the allegations contained

                    26    in the preceding paragraphs of this Complaint as though fully alleged in this Cause of Action.

                    27           132.      Defendants, and each of them, are “persons” as defined under Bus. & Prof. Code

                    28    Section 17021.
       ♼                  COMPLAINT                                                                                              37
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1          Filed 08/29/18     Page 46 of 169



                     1            133.    At a minimum, each Defendant is named in this Cause of Action for its activities

                     2    that occurred within four years of the filing of this action. Plaintiffs reserve the right to prove at

                     3    trial that the full extent of the Defendants’ acts of Unfair Competition was not known to Plaintiffs

                     4    until recently, and Plaintiffs also reserve the right to demonstrate that tolling extends the statute of

                     5    limitations applicable to Plaintiffs’ claims against Defendants.

                     6            134.    Business and Professions Code Section 17200 (§ 17200) prohibits any “unlawful,

                     7    unfair or fraudulent business act or practice[].”

                     8            135.    Defendants have engaged in unlawful, unfair, and fraudulent business practices in

                     9    violation of Section 17200 as set forth above.

                    10            136.    Defendants’ business practices, as described in this Complaint, are deceptive and

                    11    violate Section 17200 because the practices are likely to deceive consumers in California.

                    12            137.    Defendants made or disseminated false and misleading statements regarding the

                    13    contamination of the SF Shipyards Property or caused false and misleading statements to be made or

                    14    disseminated, that were likely to deceive the public. Defendants’ omissions, which are deceptive and

                    15    misleading in their own right, render even Defendants’ seemingly truthful statements about the

                    16    contamination of HPNS false and misleading. All of this conduct, separately and collectively, was

                    17    likely to deceive California home purchasers who purchased the homes as residences or investment

                    18    properties and are now confronted with the aftermath of the sites’ contamination.

                    19            138.    Defendants’ business practices as describe in this Complaint are unlawful and

                    20    violate Section 17200. These unlawful practices include, but are not limited to:

                    21                   Defendants violated the California Civil Code by failing to properly disclose the
                                          continued toxic contamination of HPNS. Cal. Civ. Code § 1102.13;
                    22
                                         Defendants failed to provide good faith disclosures upon the transfer of SF
                    23                    Shipyards properties to purchasers, in violation of Cal. Civ. Code § 1102.7;
                    24
                                         Defendants made or disseminated, directly or indirectly, untrue, false, or misleading
                    25                    statements about HPNS, or caused untrue, false, or misleading statements about
                                          HPNS to be made or disseminated to the general public, including those individuals
                    26                    that purchased property at SF Shipyards, in violation of Bus. & Prof. Code § 17500.
                    27
                    28
       ♼                  COMPLAINT                                                                                                38
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 47 of 169



                     1           139.    A violation of Section 17200 may be predicated on the violation of any state or

                     2    federal law. All of the acts described herein, as violations of Cal. Civ. Code §1102.13, Cal. Civ.

                     3    Code §1102.7, and Bus. & Prof. Code § 17500, are unlawful and in violation of public policy, and

                     4    are immoral, unethical, oppressive, fraudulent and unscrupulous and thereby constitute unfair,

                     5    unlawful, and/or fraudulent business practices in violation of § 17200.

                     6           140.    By and through their unfair, unlawful, and/or fraudulent business practices

                     7    described herein, Defendants have obtained valuable recompense, and have deprived Plaintiffs of

                     8    valuable rights and benefits guaranteed by law, all to Plaintiffs’ detriment.

                     9           141.    Plaintiffs suffered economic injury as a direct result of Defendants’ wrongful

                    10    conduct.

                    11           142.    Defendants’ business practices as described in this Complaint are unfair and violate

                    12    Section 17200 because they offend established public policy, and because the harm they cause to

                    13    consumers in California greatly outweighs any benefits associated with those practices.

                    14           143.    As a direct and proximate result of the foregoing acts and practices, Defendants have

                    15    received, or will receive, income, profits, and other benefits associated with those practices, which

                    16    they would not have received if they had not engaged in violations of the UCL described in this

                    17    Complaint.

                    18           144.    As a direct and proximate result of the foregoing acts and practices, Defendants have

                    19    obtained an unfair advantage over similar businesses that have not engaged in such practices.

                    20                                      FOURTH CAUSE OF ACTION

                    21                                  FRAUD AND FALSE ADVERTISING

                    22       Common Law, Violations of Business and Professions Code Section 17500, et seq. and of

                    23                                         Civil Code Section 1102.13

                    24                                         (Against Each Defendant)

                    25           145.    Plaintiffs re-allege and incorporate by reference each of the allegations contained in

                    26    the preceding paragraphs of this Complaint as though fully alleged in this Cause of Action.

                    27           146.    Before, during, and after the construction of the homes at SF Shipyards,

                    28    Defendants, and/or each of them, knew about the former industrial and nuclear activities conducted
       ♼                  COMPLAINT                                                                                               39
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 48 of 169



                     1    at HPNS, specifically that HPNS had been and presently was considered an active Superfund site

                     2    and hazardous due to nuclear and toxic waste.

                     3           147.    In addition, Defendant Tetra Tech and/or its officers, employees, and/or agents

                     4    intentionally and fraudulently misrepresented to the government agencies the level of contamination

                     5    and the results of tests on Parcel A and other parcels surrounding Parcel A. Defendant Tetra Tech

                     6    and/or its officers, employees, and/or agents also intentionally withheld materially relevant and

                     7    important results from the government agencies which indicated that Parcel A was

                     8    environmentally contaminated. And Defendants did so knowing that these intentional

                     9    misrepresentations and/or omissions would lead to the desired government approval required for

                    10    development and sale of the parcels for residential and commercial use and that persons such as

                    11    Plaintiffs would purchase environmentally contaminated property unknowingly. These

                    12    misrepresentations and/or omissions resulted in a fraudulently obtained government approval for

                    13    development of the property, which in turn led to the development and sale of the parcels under the

                    14    guise of non-contamination and it being a safe place to live. But for this, Plaintiffs would not have

                    15    purchased their property.

                    16           148.    Defendants Lennar and/or FivePoint and/or their officers, employees, and/or agents
                    17    established and maintained Signiant presence at Parcel A after acquiring said property in or around
                    18    2004. Defendants could not have maintained such presence without being aware of Defendant Tetra
                    19    Tech’s insufficient, negligent, and/or fraudulent environmental remediation on Parcel A and other
                    20    surrounding properties at HPNS. Upon information and belief, Defendants Lennar and/or FivePoint
                    21    had actual and/or constructive notice that Defendant Tetra Tech was not performing cleanup,
                    22    remediation, and/or testing responsibilities properly and was thereby covering up environmental
                    23    contamination on and around Parcel A. Despite being the owner of said property and marketing and
                    24    selling the property for residential and commercial sale under the guise of the property being safe and
                    25    not contaminated, Defendant Lennar knew that it could not verify such statements and that in fact,
                    26    such statements were based on fraud and misrepresentations. But instead of pursuing further
                    27    investigation or alerting government regulators, the public or potential homeowners of the risk of the
                    28
       ♼                  COMPLAINT                                                                                               40
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18       Page 49 of 169



                     1    property being contaminated, Defendants Lennar and/or FivePoint acted in conscious disregard of the

                     2    safety of the Plaintiffs and the public, by ignoring the known, probable and foreseeable significant and

                     3    horrific safety and health risks to the Plaintiffs and the public and instead advertising the direct

                     4    opposite and knowingly convincing the Plaintiffs that HPNS was a safe and healthy place to live so as

                     5    to induce their purchase of the property. Defendants failed to disclose the existence of continued

                     6    toxic contamination of the residential parcels at SF Shipyards. Moreover, Plaintiffs are informed,

                     7    believe, and thereon allege that Defendants failed to disclose of these hazardous activities to all

                     8    purchasers of the homes of SF Shipyards.

                     9            149.    The intentional failure to disclose the presence of toxic contamination on the site by

                    10    Defendants was fraud by omission.

                    11            150.    Plaintiffs were induced to purchase their residence based on Defendants’ fraud by

                    12    omission.

                    13            151.    When Defendants made these representations, Defendants knew them to be false, and

                    14    these representations were made by Defendants with the intent to defraud and deceive Plaintiff, and

                    15    with the intent to induce Plaintiffs to act in the manner herein alleged.

                    16            152.    Plaintiffs, at the time these representations were made and at the time Plaintiffs took

                    17    the actions herein alleged, were ignorant of the continued existence of the toxic contaminants, and

                    18    Plaintiffs could not, in the exercise of reasonable diligence, have discovered that Defendants had

                    19    acted unlawfully, and that the area was still contaminated.

                    20            153.    Business and Professions Code Section 17500 (“Section 17500”) makes it unlawful

                    21    for a business to make, disseminate, or cause to be made or disseminated to the public “any statement,

                    22    concerning . . . real or personal property . . . which is untrue or misleading, and which is known, or

                    23    which by the exercise of reasonable care should be known, to be untrue or misleading.”

                    24            154.    As alleged above, each Defendant, at all times relevant to this Complaint, violated

                    25    Section 17500 by making and disseminating false or misleading statements about the safety and value

                    26    of SF Shipyards Property or by causing false or misleading statements about SF Shipyards Property

                    27    to be made or disseminated to the public.

                    28
       ♼                  COMPLAINT                                                                                                41
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 50 of 169



                     1           155.    As alleged above, each Defendant, at all times relevant to this Complaint, violated

                     2    Section 17500 by making statements to promote the sale or transfer of SF Shipyards parcels that

                     3    omitted or concealed material facts, and by failing to correct prior misrepresentations and

                     4    omissions, about toxin levels of the underlying property. Each Defendant’s omissions, which are

                     5    false and misleading in their own right, render even their seemingly truthful statements about

                     6    HPNS false and misleading.

                     7           156.    As alleged above, Defendants’ statements about the toxic contamination of HPNS,

                     8    including SF Shipyards, were not supported by or were contrary to the scientific evidence, as

                     9    confirmed by the EPA and U.S. Navy.

                    10           157.    As alleged above, each Defendant’s conduct, separately and collectively, was likely

                    11    to deceive California home owners who purchased property for residential or investment purposes.

                    12           158.    At the time it made or disseminated its false and misleading statements or caused

                    13    these statements to be made or disseminated, each Defendant knew and should have known that

                    14    the statements were false or misleading and therefore likely to deceive the public. In addition,

                    15    Defendants knew and should have known that their false and misleading advertising created a false

                    16    or misleading impression of the investment prospects, community development, and toxic

                    17    contamination levels of the SF Shipyards parcels.

                    18           159.    California Civil Code § 1102.13 imposes civil liability against any person who sells

                    19    real property, and either willfully or negligently fails to provide required disclosures of the subject

                    20    property in accordance with California law, including but not limited to Civ. Code § 1102.6.

                    21           160.    Plaintiffs purchased real property from Defendants.

                    22           161.    Defendants knew that the land they were selling at SF Shipyards to residential

                    23    purchasers, and/or the land immediately adjacent to the land they were selling, was contaminated

                    24    with radioactive and/or industrial waste above levels acceptable for development.

                    25           162.    Defendants sold new homes to Plaintiffs after failing to disclose the presence of un-

                    26    remediated local radioactive and/or industrial waste that, individually and collectively, can have

                    27    deleterious health effects on residents, in violation of Civ. Code § 1102.13.

                    28
       ♼                  COMPLAINT                                                                                             42
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 51 of 169



                     1           163.    Defendants’ failure to make the requisite disclosures induced Plaintiffs to purchase

                     2    a property they never would have purchased, and that property is now declining in value and

                     3    desirability due to the contamination on the property, which was unknown and undisclosed at the

                     4    time of sale. Therefore, Plaintiffs have suffered, and will continue to suffer, damages which will be

                     5    ascertained according to proof at trial.

                     6           164.    Plaintiffs did not know, and could not reasonably have discovered, this information.

                     7    It was not until 2017 that credible action was taken by the government related to Defendant Tetra

                     8    Tech’s fraud. Prior to the criminal arrests, the whistleblowers and activist claims were unverified,

                     9    and the government agencies were directly contradicting those claims with frequent statements to

                    10    the public that the property was safe and all contamination had been remediated and cleaned up.

                    11           165.    Defendants knew that Plaintiffs did not know, and could not reasonably have

                    12    discovered, this information.

                    13           166.    This information significantly affected the value and desirability of the property.

                    14           167.    Defendants' failure to disclose this information was a substantial factor in causing

                    15    Plaintiffs’ harm.

                    16           168.    As a proximate result of Defendants’ fraud and the facts herein alleged, Plaintiffs

                    17    have been damaged in an amount to be determined at the time of trial.

                    18           169.    In doing the acts herein alleged, Defendants acted with oppression, fraud, and

                    19    malice, and Plaintiffs are entitled to punitive damages.

                    20                                       FIFTH CAUSE OF ACTION

                    21                                               NEGLIGENCE

                    22                                         (Against Each Defendant)

                    23           170.    Plaintiffs incorporate herein by reference all of the allegations in this complaint.

                    24           171.    Defendants, and/or each of them, owed Plaintiffs duties under statutory and

                    25    common law, including, but not limited to: (1) the duty to warn the residents of potential, probable,

                    26    and/or significant risks to human health; (2) the duty to provide complete disclosures under Cal.

                    27    Civ. Code §1102.13; (3) the duty to not withhold material information regarding contamination

                    28
       ♼                  COMPLAINT                                                                                             43
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD           Document 1-1       Filed 08/29/18     Page 52 of 169



                     1    from the government and Plaintiffs; and (4) the duty to properly remediate the San Francisco

                     2    Shipyard.

                     3           172.      Defendants, and/or each of them, breached these duties by the aforementioned

                     4    conduct in this Complaint and including but not limited to:

                     5                    Falsifying data and reports;

                     6                    Failing to investigate;

                     7                    Failing to implement effective controls and procedures to address data falsification;

                     8                    Misrepresenting the contamination of HPNS;

                     9                    Permitting the transfer and sale of real property contaminated by nuclear and toxic

                    10                     waste; and

                    11                    Failing to complete proper disclosures that would have revealed the toxic

                    12                     contamination of the property.

                    13           173.      Plaintiffs were within the protected class of persons that the UCL, Cal. Bus. & Prof.

                    14    Code § 17200 et seq., and Cal. Civ. Code §1102.13 were designed to protect.

                    15           174.      Plaintiffs have suffered damages directly, proximately and foreseeably caused by

                    16    defendants’ breaches of their statutory and common law duties.

                    17           175.      It was reasonably foreseeable that Defendants’ breaches of the duties set forth in

                    18    this Cause of Action would cause harm to Plaintiffs in the form of diminution in value of SF

                    19    Shipyards property but for Defendants’ wrongful conduct. And that it would induce Plaintiffs to

                    20    purchase a property they would otherwise not have purchased. Thus, Plaintiffs have suffered

                    21    monetary losses proximately caused by Defendants’ breaches of their duties set forth in this Cause

                    22    of Action.

                    23           176.      Each Defendant’s breaches of the common-law duties that they owed to Plaintiffs

                    24    are the proximate cause of Plaintiffs’ injuries, and Plaintiffs are entitled to all damages allowable

                    25    by law, costs and attorneys’ fees, and any other relief the Court deems necessary and appropriate.

                    26           177.      Defendants’ negligent acts as set forth herein were made with oppression, fraud or

                    27    malice, entitling Plaintiffs to exemplary damages.

                    28
       ♼                  COMPLAINT                                                                                             44
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18       Page 53 of 169



                     1                                         SIXTH CAUSE OF ACTION

                     2                                  NEGLIGENT MISREPRESENTATION

                     3                                           (Against Each Defendant)

                     4              178.   Plaintiffs incorporate all paragraphs above as though fully set forth herein.

                     5              179.   Before, during, and after the construction of the homes at SF Shipyards, Defendants

                     6    knew or should have known about the former industrial and nuclear activities conducted at the

                     7    former San Francisco Naval Shipyard site, specifically that the San Francisco Naval Shipyard had

                     8    been and presently was considered an active Superfund site and hazardous due to nuclear and toxic

                     9    waste. Plaintiffs are informed, believe and thereon allege that the industrial and nuclear toxic

                    10    contamination has affected the homes located therein.

                    11              180.   Defendants owed a duty to residential purchasers to inform them of potential

                    12    radioactive and/or industrial waste on or near the real property for sale. To the extent Defendants

                    13    represented that the land had been properly remediated or else not in need of remediation, that was

                    14    untrue.

                    15              181.   The failure to disclose the present toxic contamination of the site by defendants was

                    16    misrepresentation by omission.

                    17              182.   Plaintiffs were induced to purchase their residence based on Defendants’

                    18    misrepresentation by omission.

                    19              183.   When Defendants made these representations, Defendants knew or should have

                    20    known them to be false, and these representations were made by Defendants with the intent Plaintiffs

                    21    rely on their representations, and with the intent to induce Plaintiffs to act in the manner herein

                    22    alleged.

                    23              184.   Plaintiffs, at the time these representations were made and at the time Plaintiffs took

                    24    the actions herein alleged, were ignorant of the continued existence of the toxic contaminants, and

                    25    Plaintiffs could not, in the exercise of reasonable diligence, have discovered that Defendants had

                    26    acted unlawfully, and that the area was still contaminated.

                    27              185.   As a proximate result of Defendants’ fraud and the facts herein alleged, Plaintiffs

                    28    have been damaged in an amount to be determined at the time of trial.
       ♼                  COMPLAINT                                                                                              45
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 54 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 55 of 169




                  EXHIBIT A
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 56 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 57 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 58 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 59 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 60 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 61 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 62 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 63 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 64 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 65 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 66 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 67 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 68 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 69 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 70 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 71 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 72 of 169




                  EXHIBIT B
\t'            Case 3:18-cv-05330-JD            Document 1-1        Filed 08/29/18       Page 73 of 169




       I   BRIAN J. STRETCH (CABN 163973)
                                                                                    FILED
           United States Attorney                                                   tlAy 1 B Zltl
       2
           BARBARA J. VALLIERE (DCBN 4393s3)
       3   Chiel Criminal Division                                            ,,.',rdH;I;i?ilk
       4   PHILIP J. KEARNEY (CABN 114978)                                                             ^
           N/LA.TTHEW L. N'{CCARTHY (CABN 217871)
       5   Assistant United States Attorneys

       6          450 Golden Gate Avenue, Box 36055
                  San Francisco, Californi a 9 4 I 02-3 49 5
       7          Telephone: (415) 436-7 023
                  FAX: (4ts) 436-7234
       8          Philip.kearney@usdoj. gov

       9   Attorneys for United States of America

      l0                                     LINITED STATES DISTRICT COURT

      ll                                  NORTHERN DISTRICT OF CALIFORNIA

      t2                                          SAN FRANCISCO DryISION

      13

      l4
           TINITED STATES OF AMERICA,                          ) NO. CR t7-0278ID
      l5                                                       )
                  Plaintifl                                    ) PLEA AGREEMENT
      t6                                                       )
              Y                                                )
      t7                                                       )
           JUSTIN E. HUBBARD.
      l8
                  Defendant.
      t9

      20
                  I, Justin E. Hubbard, and the United States Attorney's Office for the Northern District of
      2l
           California (hereafter "the government") enter into this written Plea Agreement (the "Agreement")
      22
           pursuant ro Rule I I (cX I Xe) and I I (c)( I XB) of the Federal Rules of Criminal Procedure:
      23
           The Defendant's Promises
      24
                   l.     I agree to plead guilty to Count One of the captioned Information charging me with me
      25
           with destruction. alteration, or falsification of records in federal investigations and bankruptcy, in
      26
           violation of lg U.S.C. $ 1519. I agree that the elements of the offense are as follorvs:
                                                                                                      (l) I knowingly
      27
                                                                                                   to impede, obstruct,
           altered, falsified, or made a false enhy in a record or document; (2) with the intent
      28
           PLEA AGREEMENT
           cR 17-0278 JD                                       I                                      16f  i-:i   :.
         Case 3:18-cv-05330-JD           Document 1-1         Filed 08/29/18         Page 74 of 169




 I   or influence the investigation or proper administration of any matter or in contemplation of or in relatiotl

 2   to any such mafier; (3) rvithin the jurisdiction of an agency of the United States.

 3           I agree that the maximum penalties are as follows:

 4                  a.      Maximum prison term                            20 Years

 5                  b.      Maximum fine                                   $250,000, or twice gain/loss

 6                  c.      Maximum supervised release terrn               3 ycars

 7                  d.      Restitution                                    To be deterrnined
                                                                                      rr
 8                  e.      Mandatory special assessment                   Sl00       (




 9                  f.      Forfeiture

10          2.      I agree that I am guilty of the offense to which I am pleading guilty, and I agree that the

ll   following facts are true:

l2          I have been working in the nuclear industry since approximately 1989, after completing my

13   formal education. During my trventy-five years in the industry, I have conducted decontamination work

t4   at nuclear power plants, medical laboratories handling radioactive material, and a 'Superfund Site,'

l5   among other activities. During that same period, I have received training in radiation contamination

t6 control, the proper handling of radiological waste, and the assessment of radionuclides in the
17   environment. I have also supervised others in these activities.

18          In approximately 1994 or 1995, I began performing nuclear remediation work at the former

19   Hunter's Point Naval Shipyard ("HPNS"), located in the Bayview District of San Francisco, California.

20   My first employer at HPNS rvas New World Environmental, Inc. ("Nerv World"). After approximately

71   four years with New World, I rvas hired by Tetra Tech EC, Inc. ("Tetra Tech"), as a Radiological Task

22   Superv'isor at HPNS. As a supen isor at Tetra Tech, I was in charge of a team of radiation control

23   technicians ("RCTs") engaged in the radiological remediation of soil at HPNS. I rvas aware that Tetra

24   Tech had been hired by the United States Navy ("U.S. Navy'') to perform the radiological remediation at

25   HPNS. My employment with Tetra Tech terminated in December 2013.

26           While working for Tetra Tech, I reported to a Tetra Tech HPNS Project Manager, and a Tetra

27   Tech HPNS Lead Field Superintendent, among others. The RCTs I supervised rvorked for Tetra Tech

28   subcontractor Radiological Survey & Remedial Services. LLC ("RSRS").

     PLEA AGREEMENT
     cR 17-0278 JD                                  2
         Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18       Page 75 of 169




 I          I understood that the radiological remediation of HPNS was being conducted by Tetra Tech for

 2   the U.S. Navy under established sampling guidelines and protocols. My job at HPNS required me to

 3   comply with a Task Specific Plan ("TSP") rvhich identified, for a Building Series or Area, the number

 4   and type of survey units that were to be sampled at specific locations. In general, I would receive

 5   directions on a daily basis, including a survey unit map, identiffing the sampling locations for a

 6   particular survey unit. Once the Tetra Tech engineers marked these locations, I would supervise the

 7   sampling of thenr by my RCTs.

 8          The RCTs were expected to take soil from each marked sampling location, bag and label the

 9   sample, and then send it to a laboratory for an analysis of, among other data, any radionuclides of

l0 concern. Chain of custody ("COC") forms and tags showing the precise location of each soil extraction
l1   as identified on the survey map were required for each sample. I was aware that information from the

t2   chain of custody forrns, including the sample locations, was incorporated into the sampling analysis

13   reports prepared by Teha Tech and emailed to the U.S. Navy.

14          During my work at HPNS, I u,as arvare of U.S. Navy testing protocols which mandated that if a

l5   laboratory analysis determined a sample of collected soil to be "hot"-that is, containing a higher-than-

l6 allowable level of radionuclides of concern-then additional remediation, including more sampling, of
l7   that survey unit was to be undertaken until all nerv collected samples passed laboratory analysis.

l8          During 2Ol2,indirect contravention of the relevant U.S. Navy testing protocols, I obtained

19   "clean" dirt from an area north of Buildings 253 and 2ll at HPNS and substituted it for dirt taken from

?0   suney units in the North Pier area of HPNS. To effect this illegal srvitching, I drove my company truck

2l   to the area north of Buildings 253 and 211 and filled a five-gallon bucket rvith "clean" serpentinite soil

22   from an area I knerv to be outside the relevant marked sun/ey unit. I thert drove the clean dirt back to a

23   "conex box"-style trailer. Once I was inside the conex, I emptied the "legitimate" soil samples

24   previously collected by RCTs from their sampling bags into an empty bucket, and substituted the clean

25   serpentinite soil into each sampling bag.

26          I did not alter the markings made earlier on the sampling bags by the RCTs, which included the

27   sample nurnber, time, and date. I then placed a bar code sticker on an outer bag for each sample. A

28   copy of this bar code sticker was also affixed to a chain of custody ("COC") form for each sample. The

     PI-EA AGREEMENT
     cR 17-0278 JD                                 3
         Case 3:18-cv-05330-JD           Document 1-1         Filed 08/29/18       Page 76 of 169




 1   sticker u,as meant to identify the sun'ey unit location the soil was taken from. By switching the soil

 2   inside the sampling bag, I knerv that the data on the COCs, many of which l signed, was false. I also

 3   knew that the false data on these COCs rvas incorporated into maps and reports made by Tetra Tech and

 4   submitted to the U.S. Navy for the purpose of demonstrating that the area had been successfully

 5   remediated.

 6          On or about May 31,2012, I fraudulently switched soil for four survey units on the North Pier of

 7   HPNS: Survey Units l, 8, 10, and I 1. For Sun ey Unit 1. I specifically recall replacing the soil samples

 8   28-47 with soil I had collected frorn a clean area.

 9          3.      I agree to give up all rights that I would have if I chose to proceed to trial, including the

l0   rights to a jury trial with the assistance of an attorney; to confront and cross-examine govemment

ll   witnesses; to remain silent or testiff; to move to suppress evidence or raise any other Fourth or Fifth

t2   Amendment claims; to any further discovery from the government; and to pursue any affirmative

t3   defenses and present evidence.

l4          4.      i agree to give up my right to appeal my conviction, the judgment, and orders of the

l5   Court, as rvell as any aspect of my sentence, including any orders relating to forfeiture and/or restitution,

16   except that I reserve my right to claim that my counsel was ineffective'

t7          5.      I agree not to file any collateral attack on my conviction or sentence, including a petition

t8   under 28 U.S.C. $ 2255 or 28 U.S.C. 5 2241, except that I reserve my right to claim that my counsel was

19   ineffective. I also agree not to seek relief under 18 U.S.C. $ 3582.

20          6.      I agree not to ask the Court to rvithdraw my guilty plea at any time after it is entered. I

2l   understand that by entering into this Agreement: (a) t agree that the facts set fonh in Paragraph 2 of this

22   Agreement shall be admissible a-eainst me under Fed. R. Evid. 801(dX2XA) in any subsequent

23   proceeding, including at trial, in the event I violate any of the terms of this Agreement, and (b) I

24   expressly waive any and all rights under Fed. R. Crim. P. I l(0 and Fed. R. Evid. 410 with regard to the

25   facts set forth in Paragraph 2 of this Agreement in such subsequent proceeding. I understand that the

26   government will not presen'e any physical evidence obtained in this case.

27           7.     I understand that the Court must consult the United States Sentencing Guidelines and

28   take them into account when sentencing, together with the factors set forth in l8 U.S.C. $ 3553(a). I

     PLEA AGREEMENT
     cR 17-0278 JD                                  4
         Case 3:18-cv-05330-JD             Document 1-1         Filed 08/29/18        Page 77 of 169




 I   also understand that the Court is not bound by the Guidelines calculations belorv; the Court may

 2   conclude that a higher Guidelines range applies to me, and, if it does, I will not be entitled, nor will I ask

 J   to withdraw my guilty plea. I further agrce that regardless of the sentence that the Court imposes on me,

4    I rvill not be entitled, nor rvill I ask, to u,ithdra'*'my guilty plea. I rvill not request a doumu'ard departure

 5   under the Sentencing Guidelines from the total offense level computed by the Court, although I resen'e

 6   the right to seek a downward variance based on the factors set forth in l8 U.S.C' $ 3553(a). I

 7   understand that the goverrrment is free to oppose any such request.

 8           The following describes the parties' agreements regarding the applicable Sentencing Guidelines

 9   calculations. As described fuither belorv, the parties have reached no agreement regarding whether the

t0   tu,o-level upward adjustment for abuse of a position of trust or use of a special skill under U.S.S.G. $

ll   38 I .3 applies, and the parties will submit arguments to the Court regarding the application of this

t2   adjustment. Accordingly, this possible Guidelines adjustment is bracketed belou'' I agree that my

13   adjusted offense level may be as lou' as I 3 and as high as 15.

l4           The parties have reached no agreement regardin-e my Crirninal History Category.

l5           a.      Base Offense Level, U.S.S.G' $       2J1.2(a):                                             14


l6           b.      Fabrication of substantial number of records, U.S.S.G. $ 2J1.2(bX3)                         2

17
             c.      Adjustments under U.S.S.G. Ch. 3 (e.g. role in the offense)
l8
                             -381.3: Abuse of Position of Trust or [Jse of Special Skill                        12)
l9
             d.      Acceptance of   Responsibility:                                                           -3
20                   If I meet the requirbments
                                      -for
                                                  of U.S.S.G. $ 3El.1, I may be entitled to a three
                     level reduction       acceptance of responsibility, provided that I forthrightly
2l                   admit my guilt, cooperate rvith the Court and the Probation Office in lny
                     presentenci investigation ordered by the Court, and continue to manifest an
22                   acceptance of responsibility through and including the time of sentencing.

23           e.      Adjusted Offense Level:                                                               [13 i 15]
24           8.      I agree that regardless of any other provision of this Agreement, the government may and
25   will provide the Court and the Probation Office r.vith all information relevant to the charged offense and
26   the sentencing decision, including any victim impact statements and letters from the victims, and/or their
27
     Lfriends and family.
28

     PLEA AGREEMENT
     cR 17-0278 JD                                    5
         Case 3:18-cv-05330-JD             Document 1-1         Filed 08/29/18        Page 78 of 169




 I           9.       I agree that I will make a good-faith effort to pay arly fine, forfeiture, or restitution I am

 2   ordered to pay. I agree to pay the special assessment at the time of sentencing.

 J           10. I agree not to commit or attempt to commit any crimes before sentence is imposed or
 4   before I surrender to serve my sentence. I also aglee not to violate the terms of my pretrial release; not

 5   to intentionally provide false information to the Court, the Probation Office, Pretrial Services, or the

 6   government; and not to fail to comply with any of the other promises I have made in this Agreement. I

 7   agree that if I fail to comply with any promises I have made in this Agreement, then the government will

 8   be released from all of its promises in this Agreement, including those set forth in the Government's

 9   Promises Section below, but I u'ill not be released from mv guilty plea.

l0           I   1.   I agree that this Agreement contains all of the promises and agreements between the

ll   govemment and me, and I will not claim otherwise in the future. No modification of this Agreement

t2 shall be effective unless it is in writing arrd signed by all parties.
l3           12. I agree that the Agreement binds the U.S. Attorney's Office for the Northern District of
t4 California only, and does not bind any other federal, state, or local agency.
l5   The Government's Promises

L6           13. The govemment agrees not to file any additional charges against the defendant that could
17   be filed as a result of the investigation that led to the captioned Information.

l8           14. The govemment agrees to recommend a sentence u'ithin the range associated rvith the
l9 Guideline calculations set out in paragraph 7 above, unless the defendant violates the terms of the
20   Agreement above or fails to accept responsibility.

2l   The Defendant' s A ffirmations

22           15. I agree that my participation in the District Court's Conviction Alternative Program is not
23   appropriate and that I rvill not request to be considered for and rvill not participate in that program as a

24   result of my convictions for these offenses.

25           16. I confirm that I have had adequate time to discuss this case, the evidence, and the
26   Agreement with my attorney and that my attorney has provided me rvith all the legal advice that I

27   requested.

28           17. I confirm that while I considered signing this Agreement, and at the time I signed it, I
     PLEA AGREEMEN'T
     cR r7-0278 JD                                    6
              Case 3:18-cv-05330-JD            Document 1-1        Filed 08/29/18      Page 79 of 169
-t




      I   was not under the influence of any alcohol, drug, or rnedicine that would impair my ability to understand

      2   the Agreement.

      J            18.     I confirm that my decision to enter a guilty plea is made knowing the charges that have

      4   been brought against me, any possible defense, and the benefits and possible detriments of proceeding to

      5   trial. I also confimr that my decision to plead guilty is made voluntarily, and no one coerced or
      6   threatened me to enter into this Agreement.

      7

      8   Dated: +l           /ot?  J,




      9

     t0

     l1                                                                  BRIAN J. S

     12

     l3   Dated:         5 18 I IT                                                 . KEARNEY
     l4                                                                  MATTHEW L. MCCARTHY
                                                                         Assistant United States Attomeys
     l5
                   19. I have fully explained to my client all the rights that a criminal defendant has and all the
     l6
          terms of this Agreement. Lr my opinion, my client understands all the terms of this Agreement and all
     l7
          the rights my client is giving up by pleading guilty. and. based on the information now known to me, my
     l8
          client's decision to plead guilty is knorving and voluntary.
     t9

     20
          Dated:   5- lV-z?ta                                       D
     2t                                                           b / Attorney
                                                                      KENNETH LONG
                                                                               for Defendant
     22

     23

     24

     25

     26

     27

     28

          PLEA AGREEMENT
          cR 17-0278 JD                                 7
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 80 of 169




                  EXHIBIT C
             Case 3:18-cv-05330-JD           Document 1-1       Filed 08/29/18      Page 81 of 169




 1   BRrAN J. STRETCH (CABN 163973)
     United States Attorney
 2
     BAIBATL{ J. VALLTERE (DCBN 4393s3)
                                                                                   FTLED
 J   Chief, Criminal Division
                                                                                    HAR t
                                                                                            5 ZArt
 4   PHTLIP J. KEARNEY (CABN 114978)

 5
     Assistant United States Attomey                                          --h##[id?:iiFil,^
             450 Golden Gate Avenue, Box 36055
 6           San Francisco, Californi a 9 4 I 02-3 49 5
             Telephone: (41 5) 436-7 023
 7           Fax: (415) 436-7234
             philip.kearney@usdoj. gov
 8
     Attorneys for the United States
 9

10                                      UNITED STATES DISTRICT COURT

11                                   NORTHERN DISTRICT OF CALIFORNIA

t2                                           SAN FRANCISCO DIVISION

13

14

15
     LINITED STATES OF AMEzuCA,                           ) NO. CR t7-0t23 eRF
                                                          )
                                                                                    -r\
             Plaintiff,                                   ) PLEA AGREEMENT
t6                                                        )
         v                                                )
t7                                                        )
     STEPHEN C. ROLFE,                                    )
l8                                                        )
             Defendant.
19

20           I, Stephen C. Rolfe, and the United States Affomey's Office for the Northern District of
21   California ("the government") enter into this written plea agreement (the "Agreement") pursuant to
22   Rules l1(c)(1)(A) and 11(c)(l)(B) of the Federal Rules of Criminal Procedure:

23   The Defendant' s Promises

24           l.      I agree to plead guilty to Count One of the captioned Information charging me with
25   destruction, alteration, or falsification of records in federal investigations and bankruptcy, in violation of

26   18 U.S.C. $ 1519. I agree that the elements of the offense are as follows: (1) I knowingly altered,

27   falsified, or made a false entry in a record or document; (2) with the intent to impede, obstruct, or
28   influence the investigation or proper administration of any matter or in contemplation of or in relation to
                                                                                            Dc                         0,
     PLEA AGREEMENT
     CR                                                                                                 i,t n (,riil
                                                                                            Ciintinal Caie ir
              Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18        Page 82 of 169




  1    any such matter; (3) within the jurisdiction of an agency of the United States.

 2             I agree that the maximum penalties are as follows:
 J                    a.      Maximum prison term                           20 years

 4                    b.      Maximum fine                                  $250,000, or twice gain/loss

  5                   c.      Maximum supervised release term               3 years

  6                   d.      Restitution                                   To be determined

  7                   e.      Mandatory special assessment                  $100

  8                   f.      Forfeiture

  9           2.      I agree that I am guilty of the offense to which I am pleading guilty, and I agree that the

10     following facts are true:

11            In or about September or October 2007,I was hired by Radiological Survey and Remedial

t2     Services, LLC., commonly known as RSRS. Thereafter, in approximately 2008, I became a supervisor

13     at Tetra Tech EC, Inc. ("Tetra Tech"), in charge of a team of radiation control technicians ("RCTs")

t4     engaged in the radiological remediation of soil at the former Hunters Point Naval Shipyard (*HPNS")

15     located in the Bayview District of San Francisco, California. I served in that role until approximately

16     August 2014. I was aware that Tetra Tech had been hired by the United States Navy ("U.S.Navy") to

t7     perform the radiological remediation at HPNS.

18             While working for Tetra Tech, I reported to a Tetra Tech HPNS Project Manager, and a Tetra

t9 Tech HPNS Lead Field Superintendent, among others. During this time period, RSRS was a sub-
20     contractor of Tetra Tech and I supervised several RSRS RCTs.

2T             I understood that the radiological remediation of HPNS was being conducted by Tetra Tech for

22     the U.S. Navy under established sampling guidelines and protocols. My job at HPNS required me to

./.)   comply with a Task Specific P'lan ("TSP") which identified, for a Building Series or Area, the number

24     and type of survey units that were to be sampled at specific locations. [n general, I would receive

25     directions on a daily basis, including a survey unit map, identiffing the sampling locations for a

26     particular survey unit. Once the Tetra Tech engineers marked these locations, I would
                                                                                                supervise the
27     sampling of them by my RCTs.

28            once the engineers had marked the survey unit sampling locations, the
                                                                                         RCTs were expected to

       PLEA AGREEMENT
       CR                                                   2
            Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18       Page 83 of 169




 1   take soil from each marked sampling location, bag and label the sample, then send it to a laboratory for

 2   an analysis of, among other data, any radionuclides of concem. Chain of custody forms and tags

 J   showing the precise location of each soil extraction as identified on the survey map were required for

 4   each sample. In addition to these chain of custody forms and tags, I was also required to fill out a daily

 5   "Building/Site Area Report and Survey Unit Tracking Sheet ('survey unit tracking sheet')," which

 6   indicated the number of samples taken each day from a specific survey unit to document my team's

 7   daily activities. I was aware that information from the chain of custody forms, including the sample

 8   locations, was incorporated into the sampling analysis reports made by Tetra Tech and emailed to the

 9   U.S. Navy.

10          During my work at HPNS, I was aware of U.S. Navy testing protocols which mandated that if a

     laboratory analysis determined a sample of collected soil to fg
                                                                        (6[61"-ftat is, containing a higher than
11

T2   allowable level of radionuclides of concem-then additional remediation, including more sampling, of

13   that survey unit was to be undertaken until all new collected samples passed laboratory analysis.

t4           During 2012,I told the RCTs on my team to get "clean dirt" from areas known to be clean and

15   taken from outside the marked survey unit areas to use as substitute samples for the dirt from the marked

t6   survey unit. I did this so that the survey unit would pass the laboratory analysis and not require further

17   remediation.

18           I am aware of at least two different sources of dirt for clean samples, "green dirt" from certain

19   locations known to be clean and "brown dirt" from a pile formerly located on H Street, southeast of

20   Building 606 atHPNS. During this time period, I estimate that I told my RCTs to get clean dirt outside
21   the designated survey units on approximately twenty occasions. On multiple occasions the switching of

22   this dirt was done inside a "conex" trailer on site in my presence. I knew on these occasions that the soil

23   locations reported in the chain of custody forms and the survey unit tracking sheets for these samples

24   were false, that is, that the locations reported on the forms regarding where the soil came from
                                                                                                         were
25   untrue. I would estimate that there were between ten to twenty occasions when I saw a
                                                                                                 chain of custody
26   form being filled out when I knew the data on the form was inaccurate. I directed
                                                                                            the RCTs to switch
27   soil for samples 81-100 for Survey lJnit22,taken on August 23,2012.
                                                                                 on that occasion, I falsified data
28   on the survey unit tracking sheet in that I stated on the form
                                                                      the soil came from within that Survey Unit

     PLEA AGREEMENT
     CR
                                                           J
            Case 3:18-cv-05330-JD          Document 1-1         Filed 08/29/18        Page 84 of 169




 1   when I know it did not. I also know that the sampling data from Survey Unit22 incorporated into the

2    map and analyses sent by Tetra Tech to the U.S. Navy on August 29,2012 was false.

J           I did not receive extra compensation for substituting "clean" soil for potentially contaminated

4    soil in a survey unit. My motivation came from pressure applied by the Tetra Tech supervisors. One

5    told me on multiple occasions to "get the hell out of that area," in reference to a particular survey unit

6    that was not testing clean. Another told me on more than one occasion that we were "not remediating

 7   the whole goddam site." An Assistant HPNS Project Manager told me on numerous occasions to "get

 8   clean dirt." I understood these statements as a direction to go outside the appropriate survey unit and get

 9   dirt from other areas that was known to be clean, that is not containing excessive levels of radiation.

10          I knew that my conduct would impede the proper investigation and administration of the

1l   radiological remediation being undertaken by the U.S. Navy at HPNS.

t2           3.     I agree to give up all rights that I would have if I chose to proceed to trial, including the
13   rights to a jury trial with the assistance of an attorney; to confront and cross-examine government

t4   witnesses; to remain silent or testify; to move to suppress evidence or raise any other Fourth or Fifth

15   Amendment claims; to any further discovery from the government; and to pursue any affirmative

16   defenses and present evidence.

t7           4.      I agree to give up my right to appeal my conviction, the judgment, and orders of the

l8   Court, as well as any aspect of my sentence, including any orders relating to forfeiture and/or restitution,

19   except that I reserve my right to claim that my counsel was ineffective.

20           5.      I agree not to file any collateral attack on my conviction or sentence, including apetition
2t   under 28 U.S.C. 5 2255 or 28 U.S.C . S 2241, except that I reserve my right to claim that my counsel was

22   ineffective. I also agree not to seek relief under 18 U.S.C. $3582.

23           6.      I agree not to ask the Court to withdraw my guilty plea at any time after it is entered. I
24   understand that by entering into this Agreement: (a) I agree that the facts set forth in Paragraph 2
                                                                                                              of this
25   Agreement shall be admissible against me under Fed. R. Evid. 801(d)(2XA) in any subsequent

26   proceeding, including at trial, in the event I violate any of the terms of
                                                                                  this Agreement, and (b) I
27   expressly waive any and all rights under Fed. R. Crim. 11(f) and Fed.
                                                                              R. Evid. 410 with regard to the
28   facts set forth in Paragraph 2 of this Agreement in any such
                                                                    subsequent proceeding. I understand that

     PLEA AGREEMENT
     CR
                                                            4
           Case 3:18-cv-05330-JD           Document 1-1         Filed 08/29/18      Page 85 of 169




 1   the govemment will not preserve any physical evidence obtained in this case.

2           7.      I understand that the Court must consult the United States Sentencing Guidelines and

J    take them into account when sentencing, together with the factors set forth in 18 U.S.C. $ 3553(a). I

4    also understand that the Court is not bound by the Guidelines calculations below; the Court may

5    conclude that a higher Guidelines range applies to me, and, if it does, I will not be entitled, nor will I ask

6    to withdraw my guilty plea. I further agree that regardless of the sentence that the Court imposes on me,

 7   I will not be entitled, nor will I ask, to withdraw my guilty plea. I agree that the Sentencing Guidelines

 8   offlense level should be calculated as set forth below, and that other than joining in a possible

 9   govemment downward departure pursuant to U.S.S.G. $ 5K1.1 and/or l8 U.S.C. $ 3553(e), I will not

10   ask for any other adjustment to or reduction in the offense level or for a downward departure or variance

11   from the Guidelines range as determined by the Court. The parties have reached no agreement

t2   regarding my Criminal History Category.

l3                   a.     Base Offense Level, U.S.S.G. $      2J1.2(a):                                   14

I4                   b.      Fabrication of substantial number of records, U.S.S.G. $ 2J1.2(b)(3) 2

15
                     b       Acceptance of Responsibility: If I meet the requirements of U.S.S.G. $         -J

16                           381.1, through sentencing I may be entitled to a three level
                             reduction.
l7
                     e.      Adjusted Offense Level:                                                        13
l8
t9           I understand that regardless of the sentence that the Court imposes on me, I will not be entitled,
20   nor will I ask, to withdraw my guilty plea.
2l           8.      I agree that regardless of any other provision of this Agreement, the government may and
22   will provide the Court and the Probation Office with all information relevant to the charged offense and
23   the sentencing decision, including any victim impact statements and letters from the victims, and/or their
24   friends and family.
25           9.      I agree that I will make a good-faith effort to pay any fine, forfeiture, or restitution I am
26   ordered to pay. I agree to pay the special assessment at the time of sentencing.
27           10.     I agree to cooperate with the U.S. Attorney's Office before and after I am sentenced. My
28


     PLEA AGREEMENT
     CR                                                     5
            Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 86 of 169




 1   cooperation will include, but will not be limited to, the following:

)
            a.      I will meet with the government when requested;
J

4
            b.      I will respond truthfully and completely to any and all questions put to me, whether in
                    interviews, before a grand jury, or at any trial or other proceeding;
5
            c.      I will provide all documents and other material asked for by the govemment;
6
            d.      I will testiff truthfully at any grand jury, court, or other proceeding as requested by the
7                   government;

 8
            e.      I surrender any and all assets acquired or obtained directly or indirectly as a result of my
 9                  illegal conduct;

l0          f.      I will request continuances of my sentencing date, as necessary, until my cooperation is
                    completed.
1l

t2
             11.    I agree that the govemment's decision whether to file a motion pursuant to U.S.S.G. $
     5K1.1, as described in the government promises section below, is based on its sole and exclusive
t3
                              provided substantial assistance and that decision will be binding on me. I
t4 decision of whether I have
   understand that the government's decision whether to file such a motion, or the extent of the departure
15

     recommended by any motion, will not depend on whether convictions are obtained in any case. I also
16

     understand that the Court will not be bound by any recommendation made by the government.
t7
18
             12.    I agree not to commit or attempt to commit any crimes before sentence is imposed or

I9 before I surrender to serve my sentence. I also agree not to violate the terms of my pretrial release; not
     to intentionally provide false information to the Court, the Probation Office, Pretrial Services, or the
20
     government; and not to fail to comply with any of the other promises I have made in this Agreement. I
21

     agree that if I fail to comply with any promises I have made in this Agreement, then the government will
22
     be released from all of its promises in this Agreement, including those set forth in the Government's
23
     Promises Section below, but I will not be released from my guilty plea. I agree to abide by all of the
24
     terms of my pre-trial release pending sentencing. However, I agree to be remanded to the custody of the
25
     United States Marshal at any time prior to my sentencing if requested by Pre-Trial Services, probation
26
     or the govemment as ordered by the Court.
27

28
             13.    If I am prosecuted after failing to comply with any promises I made in this Agreement,

     PLEA AGREEMENT
     CR                                                    6
                Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18       Page 87 of 169
t




     1   then (a) I agree that any statements I made to any law enforcement or other government agency or in

    2    Court, whether or not made pursuant to the cooperation provisions of this Agreement, ffi&y be used in

    J    any way; (b) I waive any and all claims under the United States Constitution, Rule 11(f) of the Federal

    4    Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal statute or

     5   rule, to suppress or restrict the use of my statements, or any leads derived from those statements; and (c)

     6   I waive any defense to any prosecution that it is barred by a statute of limitations, if the limitations

     7   period has run between the date of this Agreement and the date I am indicted.

     8           14. I agree that this Agreement contains all of the promises and agreements between the
     9   government and me, that this Agreement supersedes all previous agreements that I had with the

    l0   government (including any "proffer" agreement), and I will not claim otherwise in the future. No

    1l   modification of this Agreement shall be effective unless it is in writing and signed by all parties.

    T2           15.     I agree that the Agreement binds the U.S. Attorney's Office for the Northern District of

    l3   California only, and does not bind any other federal, state, or local agency.

    t4           The Govemment's Promises

    15           16.     The govemment agrees not to frle any additional charges against the defendant that could

    t6   be filed as a result of the investigation that led to the captioned Information, so long as the defendant has

    t7   fully disclosed such conduct to the government and otherwise complied fully with this Agreement.

    18           17.     The government agrees to recommend a sentence no higher than the range associated

    19   with the Guideline calculations set out in paragraph 7 above, unless the defendant fails to comply with

    20   any promises in this Agreement or fails to accept responsibility. As noted in paragraph 8, the

    2t   government will provide the Court with any victim impact statements as well as letters from the

    22   victim(s) and/or their friends and family and any sentencing requests that they make to the court are not

    23   subject to any restrictions.

    24           18.     The govemment agrees not to use any statements made by the defendant pursuant to this

    25   Agreement against him, unless the defendant fails to comply with any promises in this Agreement.

    26           19.     If, in its sole and exclusive judgment, the government decides that the defendant has
    27   cooperated fully and truthfully, provided substantial assistance to law enforcement
                                                                                                 authorities within the
    28   meaning of U.S.S.G. $ 5K1.1, and otherwise complied fully with this Agreement,
                                                                                                it will file with the

         PLEA AGREEMENT
         CR                                                     7
                 Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 88 of 169
I




     1   Court a motion under $ 5K1.1 and/or 18 U.S.C. $ 3553 that explains the nature and extent of the

    2    defendant's cooperation and recommends a downward departure.

     J   The Defendant's Affirmations

    4            20.    I agree that my participation in the District Court's Conviction Alternative Program is not

     5   appropriate and that I will not request to be considered for and will not participate in that program as a

     6   result of my convictions for this offense.

     7           21. I confirm that I have had adequate time to discuss this case, the evidence, and the
     8   Agreement with my attorney and that my attorney has provided me with all the legal advice that I

     9   requested.

    10           22.    I confirm that while I considered signing this Agreement, and at the time I signed it, I
    11   was not under the influence of any alcohol, drug, or medicine that would impair my ability to understand

    l2   the Agreement.

    l3           23.    I confirm that my decision to enter a guilty plea is made knowing the charges that have
    t4   been brought against me, any possible defenses, and the benefits and possible detriments of proceeding

    15   to trial. I also confirm that my decision to plead guilty is made voluntarily, and no one coerced or

    t6   threatened me to enter into this Agreement.

    t7
    18   Dated: J'tq "/ )                                               J,&/^allii*
                                                                                   C
    19                                                                 Defendant
    20

    2t                                                                 BRIAN J. STRETCH

    22

    23   Dated
                          3
                              l,ol,*
    24                                                                 PHILIP J. KEARNEY
                                                                       Assistant United States Attomey
    25

    26           24. I have fully explained to my client all the rights that a criminal defendant has and all the
    27   terms of this Agreement. In my opinion, my client understands all the terms of this Agreement and all

    28   the rights my client is giving up by pleading guilty, and, based on the information now known to me, my


         PLEA AGREEMENT
         CR                                                    8
                   Case 3:18-cv-05330-JD        Document 1-1        Filed 08/29/18   Page 89 of 169
t,




      1   client's decision to plead guilty is knowing and voluntary.

     2

     5    Dated:     i__l v - l-r
                                                                                         MORALES
     4                                                                  Attorney for Defendant

      5

      6

      7

      8

      9

     10

     11

     t2
     13

     t4
     l5
     t6
     t7
     18

     19

     20

     2t
     22

     23

     24

     25

     26

     27

     28


          PLEA AGREEMENT
          CR                                                    9
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 90 of 169




                  EXHIBIT D
Case 3:18-cv-05330-JD     Document 1-1     Filed 08/29/18   Page 91 of 169




          INVESTIGATION CONCLUSION
           ANOMALOUS SOIL SAMPLES
       AT HUNTERS POINT NA VAL SHIPYARD
                   Revision 1

                                 April 2014

               HUNTERS POINT NAVAL SHIPYARD
                SAN FRANCISCO, CALIFORNIA




                           TETRA TECH EC, INC
                         1230 Columbia Street, Suite 750
                        San Diego, California 92101-8536




                    Greg JoyceaN Q CQM uaJity Control
                              Program Manager
      Case 3:18-cv-05330-JD                            Document 1-1     Filed 08/29/18   Page 92 of 169



                                                   EXECUTIVE SUMMARY
This report summarizes the investigation results and corrective actions taken by Tetra Tech EC,
Inc. (TtEC) in response to a Navy inquiry into discrepancies between the first two sets of
systematic sample results and the third set at the Former Building 517 site located at Hunters
Point Naval Shipyard (HPNS).

The discrepancy was first identified during a routine telephone call on October 4,2012. On that
call, a Navy official with the Radiological Affairs Support Office (RASa) suggested that the
third set of systematic samples for Survey Unit 2 within the Former Building 517 footprint
(B517 SU-002) had been collected from locations different than the ones specified in the Final
Status Survey Report. The conclusion was based on final systematic (post-remediation) soil
sample results reported by the the on-site Department of Defense accredited laboratory. These
results reported low potassium-40 (K-40) sample activity (i.e. , < 5 picocuries per gram) coupled
with low activity for radium-226 (Ra-226), bismuth-214 (Bi-214), and lead-214 (Pb-214) in 36
out of 36 samples. The set of systematic samples were purportedly collected post-remediation at
a depth no more than 6 inches below ground surface (bgs). Since the on-site laboratory results
were replicated by the off-site gamma spectroscopy laboratory, TestAmerica-St. Louis, the
possibility of instrument error as the cause of the anomalous results was ruled out.

TtEC immediately responded to the Navy inquiry by conducting an investigation to determine
the source of the discrepancy. The first step of the investigation consisted of potholing adjacent
to the four locations reporting anomalous results in order to determine whether a contiguous fill
layer was present near the surface and to compare soils observed in the potholes with those of the
original final systematic samples, which had been archived. The final (or third) set of systematic
samples was uniformly gray in color and similar to Franciscan-derived fill material.

Multiple lithologies were encountered in each pothole, and contiguous layers were not observed
from location to location. Only one pothole contained light grayish soil similar to the archived
material. Additional locations were potholed and sampled at multiple depths to determine
whether the samples had been potentially collected at depths other than those indicated on the
chain-of-custody (COC). Only 2 of 24 samples reported similar low K-40 concentrations and
both were collected at depths greater than 6 inches bgs.

The second step of the investigation was to conduct a database review to identify other survey
units with large proportions of low K-40 soil sample results. Over 70,000 results reported since
2008 were queried and approximately 2,500 samples were identified as meeting the criteria of
low K-40 « 5 picocuries per gram). The 2,500 results were then evaluated to determine whether
the concentrations correlated with previous sample sets from the same area. Based on this
evaluation, an additional 12 survey units at 3 additional sites in Parcels C and E were identified
as survey units for which a high probability existed that the soil samples were not representative
of the respective survey units. Seven other locations reported anomalously low K-40
concentrations for some samples within systematic sample sets and were identified for potential
further evaluation as well.

Since laboratory error and subsurface conditions were ruled out as the cause of the discrepancies
in K-40 results, the next step consisted of conducting interviews with sampling personnel to
determine if human error was the cause. The TtEC Radiation Safety Officer (RSO) and the
Investigation of Anomalous Soil Samples at HPNS.docx             ES-l                                       Investigation Conclusion
                                                                                                           Anomalous Soil Samples
                                                                                         at Hunters Point Naval Shipyard, Revision I
                                                                                                                          April 2014
          Case 3:18-cv-05330-JD                        Document 1-1   Filed 08/29/18     Page 93 of 169


Program Quality Control Manager (PQCM) conducted interviews with the individuals listed on
the COCs, direct supervisors, members of the sampling crews, and laboratory workers. The
results of the interviews were inconclusive.

Since the interviews did not provide any information on how the discrepancies in K-40 could
have occurred, the investigation looked into the physical features of the suspect samples,
including color and grain size. This investigation began at B517 SU-002. The samples with low
K-40 from B517 SU-002 were uniformly gray in color and had similar grain size. The RSO,
PQCM, site RSO Representative, and the Construction Manager conducted a site inspection at
B517 SU-002, the North Pier, the former Building 707 Triangle Area, and various import fill
piles to attempt to discern if the source of the low K-40 samples may have come from a stockpile
or other convenient material source located on the site. Soil samples were collected from the
North Pier, the former Building 707 Triangle Area, and the various import fill piles located at
HPNS and were analyzed to determine if they had a similar radionuclide signature. Low K-40
values similar to those reported in the anomalous sample sets were found in samples of road base
from the former Building 707 Triangle Area. The material's color was also similar to the suspect
soil from B517 SU-002.

Subsequent investigation of other potential source materials and analyses revealed that grayish
green drill cuttings found stockpiled on the ground floor of Building 253/211 have both
lithologic and radioanalytical characteristics consistent with the suspect soil. The significance of
this discovery was that if individuals decided to substitute samples from one source, it would be
easier to do so within the confines of a building where the actions are less likely to be observed
by others. Either the former Building 707 Triangle Area or the Building 253/211 drill cuttings,
or a combination of both, may have been used as substitute soil samples; however, the
investigators were unable to conclusively determine a source.

TtEC also resampled the 12 survey units with samples that were likely to not be representative of
the survey unit, and four of the seven potential further evaluation sites, as identified in the
database search. While duplicate soil samples are rarely correlative, the resampling was
performed to provide representative soil sample data sets to compare against the anomalous
results. Results from the resampling indicated significant differences in the K-40 values, which
suggest that the initial data collected from those survey units may not have been representative of
these survey units.

The remaining three potential further evaluation survey units that were not resampled were
trench survey units. Uniform soil sample results are possible due to the complex fill history of
HPNS, such as in samples collected from subsurface trench survey units where large lenses of
homogeneous material are located. In addition, it is not unusual to have soil samples with low
concentrations of K-40 in areas within HPNS, especially in samples collected from materials that
have been derived from the Franciscan Formation or samples collected directly from the
Franciscan bedrock. Soils and bedrock associated with the Franciscan are a distinctive dark gray
to grayish green color. These materials are observed in the areas within Parcel C where the three
former trench survey units identified for potential further evaluation are located.




Investigation of Anomalous Soil Samples at HPNS.docx          ES-2                                    Investigation Conclusion
                                                                                                      Anomalous Soil Samples
                                                                                   at Hunters Point Naval Shipyard, Revision I
                                                                                                                    April 2014
      Case 3:18-cv-05330-JD                            Document 1-1     Filed 08/29/18   Page 94 of 169


 Based on the investigation activities above, TtEC initiated a series of corrective actions as
 follows:
       •    Sampling personnel on the COC forms for anomalous samples were removed from TtEC
            projects. The two TtEC health physics supervisors responsible for the soil sample
            collection work were disciplined. All other project management personnel involved in
            the sampling process, including the project management team, quality control team, and
            radiation safety team, were issued letters of caution.
      •     All individuals directly involved in soil sample collection at HPNS attended refresher
            training on proper soil sample collection per the Sampling and Analysis Plan and
            Standard Operating Procedure (SOP) HPO-Tt-009, as well as proper filling out ofCOC
            forms.
      •     All individuals involved in soil sample collection, as well as every TtEC employee and
            subcontractor on the HPNS site, attended training on ethical behavior.
      •     TtEC resampled all 12 survey units recommended for resampling. Any survey units
            exhibiting activity concentrations exceeding the release criterion for a respective
            radionuclide of concern were remediated and resampled until all release criteria were
            met. All suspect data, including anomalous soil sample data and gamma static survey
            results, were rejected.
      •     TtEC resampled four of the seven locations identified for potential further investigation.
            These seven locations reported anomalously low K-40 concentrations for some samples
            within systematic sample sets. Further evaluation of photographs and samples from the
            remaining three trenches indicated that the low K-40 was likely due to the distinct
            Franciscan Formation visible in these trenches. The color and gradation of the samples
            from these trenches also support that they are from the Franciscan Formation.
      •     A protocol has been implemented that ensures a member of the HPNS quality control
            team conducts a surveillance of a minimum of 10 percent of final systematic sample
            collection. Issues identified during the surveillances are documented and corrected.
      •     A protocol has been implemented for the corporate RSO to be notified if sampling result
            trends are inconsistent with previous sampling results. This protocol includes K-40 and
            other radionuclides that are not radionuclides of concern.

Completion of these corrective actions has resulted in consistent, high-quality Final Status
Survey results. These corrective actions ensured that additional samples have been collected and
handled in full compliance with the Sampling and Analysis Plan. TtEC has not had a recurrence
of the type of soil sample results that led to this investigation, indicating that the corrective
actions have addressed the problem.

A chronology of events is presented on the following pages, beginning with identification of the
data discrepancy in early October 2012 and ending with the responses to Navy comments
incorporated into this April 2014 revised report.




Investigation of Anomalous Soil Samples at HPNS.docx             ES-3                                       Investigation Conclusion
                                                                                                           Anomalous Soil Samples
                                                                                         at Hunters Point Naval Shipyard. Revision I
                                                                                                                          April 2014
           Case 3:18-cv-05330-JD                          Document 1-1         Filed 08/29/18            Page 95 of 169




                                                                                                                                                  .,
                                                  INVES-l"tGATION-eHReNOL0GY
October 4, 2012              DATA DISCREPANCY IDENTIFIED
                             - During a phone call with the Navy, the Radiologica! Affairs Support Office points out a possible
                                discrepancy in sampling results from the Survey Unit 2 within the Building 517 footprint (B517 SU-002).
                             - Anomalous samples have atypically low concentrations of K-40, Ra-226, Pb-214, and Cs-137.
                             - The possibility of laboratory instrument error is ruled out.
                             - TtEC pulls together a team to investigate.

October 5                    POTHOLING
through 8, 2012              - Potholes are excavated at four of the sample locations with anomalous results to determine if the
                                samples were from the prescribed sampling depth.
                             - Multiple lithologies are encountered in each pothole.
                             - The hypothesis that individuals sampling soil may have sampled bedrock soil with low concentrations of
                                K-40, Ra-226, and its progeny is not supported by potholing observations.

October 16,                  SUBSURFACE SAMPLING
2012                         - Additional locations are potholed and sampled.
                             - Results do not support the hypotheSiS that the individuals may have sampled bedrock soil with low
                                concentrations of K-40, Ra-226, and its progeny.
                             - The Corporate RSO and others review soil sample data from other HPNS sites around the former
                                Building 517 Site.

October 15                   DATABASE REVIEW
through 19, 2012             - Investigative team members review soil sample results from the on-site database looking for similar
                                anomalous data.
                             - The data review shows a pattern of consecutive samples with uncharacteristically low K-40, Ra-226,
                                and progeny concentrations in 12 survey units at 3 additional sites in the Parcel C and E areas.
                             - The scope of the investigation is expanded to cover other survey units.

October 24                   SYSTEMATIC SAMPLING
through                      - The QCPM oversees the resampling of the systematic samples at B517 SU-002.
November 28,                 - The investigative team takes action to collect systematic samples in these areas to determine if the
2012                            radionuclide signature of low K-40, Ra-226, and progeny could be replicated.
                             - The systematic sample results are substantially more elevated than the anomalous set of systematics,
                                suggesting that the anomalous set of systematic samples is not representative of its respective survey
                                unit.

Week of                      INTERVIEWS
November 5,                  - To investigate the possibility of human error, the RSO and QCPM conduct interviews with individuals on
2012                             the COCs for the anomalous soil sample results.
                             - Also interviewed are TtEC Health Physics Supervisors, subcontracted Radiation Control Technicians
                                 (RCTs). laboratory employees, quality control personnel, and the basewide supervisor.
                             - All individuals interviewed claim that all appropriate soil sampling techniques were used and all work
                                 was completed in an ethical manner.

November 7,                  INSPECTION OF SITES WITH ANOMALOUS DATA
2012                         - Investigative team members conduct a visual inspection of soil surfaces at B517 SU-002, examine
                                import fill soil, examine the North Pier, and examine the former Building 707 Site.
                             - The exposed layer of "road base" at the former Building 707 Site is found to be similar in color and
                                composition to the anomalous soil samples from B517 SU-002.




Investigation of Ano malous Soil Samples at HPNS .doCl<           ES-4                                                In vestigation Conclusion
                                                                                                                      Ano malous Soil Samples
                                                                                                   at Hunters Point Naval Shipyard, Rev ision I
                                                                                                                                     April 2014
   Case 3:18-cv-05330-JD                           Document 1-1            Filed 08/29/18             Page 96 of 169



November 7 and               VISUAL COMPARISON OF ARCHIVED SOIL SAMPLES
8, 2012                      - The Corporate RSO and QCPM compare visual characteristics of different soil samples from the four
                                 different systematic sets collected within B517 SU-002.
                             - Because of color uniformity and the homogeneity of the low K-40, Ra-226, and progeny concentrations
                                in an area with many visually distinct soil types, the investigators conclude that the soil samples were
                                not collected from B517 SU-002.

November 2012                -    The investigative team rules out various possible hypotheses for the anomalous soil samples leaving
                                  one possible explanation: The persons listed as the sample collectors on the COC forms, either by
                                  themselves or with others, collected soil samples in areas outside the designated survey units.
                             -    Possible sources may be the "road base" in the SU 22/23 areas of the former Building 707 Site or the
                                  cuttings stored in Buildings 253/211.

November 29,                -     TtEC issues to the Navy an investigation report titled Investigation of Low Potassium Activity
2012                              Concentrations in Soil Samples at Hunters Point Naval Shipyard.

December 3,                 -     TtEC provides a copy of the investigation report to the Nuclear Regulatory Commission (NRC).
2012
December 2012               CORRECTIVE ACTIONS
through early               The following corrective actions are taken:
2013                        - The three remaining RCTs on the COC forms for anomalous samples are removed from TtEC projects.
                                The two TtEC health physics supervisors responsible for the soil sample collection work are disciplined.
                                All other project management personnel involved in the sampling process, including the project
                                management team, quality control team, and radiation safety team, are issued letters of caution.
                            - All individuals directly involved in soil sample collection at HPNS attend refresher training on proper soil
                                sample collection per the Sampling and Analysis Plan and SOP HPO-Tt-009, as well as proper filling out
                                of COC forms.
                            - All individuals involved in soil sample collection, as well as every TtEC employee and subcontractor on
                                the HPNS site, attend training on ethical behavior.
                            - TtEC resamples all survey units recommended for resampling. Any survey units exhibiting activity
                                concentrations exceeding the release criterion for a respective radionuclide of concern are remediated
                                and resampled until all release criteria have been met. All suspect data, including anomalous soil
                                sample data and gamma static survey results, are rejected.
                            - TtEC resamples four of seven locations that reported anomalously low K-40 concentrations for some
                                samples within systematic sample sets.
                            - A member of the HPNS quality control team conducts a surveillance of a minimum of 10 percent of final
                               systematic sample collection. Issues identified during the surveillances are documented and corrected.
                            - A protocol is implemented for the corporate Radiation Safety Officer to be notified if sampling result
                               trends are inconsistent with previous sampling results. This protocol includes K-40 and other
                                radionuclides that are not radionuclides of concern.

September 2013              -    The Navy provides comments to the November 29, 2012 investigation report.

October 2013                -    Navy management holds a meeting with TtEC management to provide comments on the 2012
                                 investigation report and to include a status of the corrective actions.

October 21,                 -    TtEC issues a report titled Investigation of Anomalous Soil Samples at Hunters Point Naval Shipyard.
2013                             The report, provided to the Navy and NRC, contains additional information, including the status of the
                                 corrective actions.

December 9,                      The Navy requests additional clarification of the Investigation Report issued October 2013.
2013

January 9, 2014             -    TtEC responds to Navy comments.




Investigation of Anomalous Soil Samples at HPNS,docx               ES-5                                                 Investigation Conclusion
                                                                                                                        Anomalous Soil Samples
                                                                                                     at Hunters Point Naval Shipyard, Revision I
                                                                                                                                      April 2014
        Case 3:18-cv-05330-JD                          Document 1-1            Filed 08/29/18             Page 97 of 169



February 2014               -    The Navy asks a question related to Survey Units 707-15 and -20 and whether they will be included in
                                 the InvE?$Jigl;!Qon ep-ort, The Navy al~~s TtEC's_c.Qocurren c~ to share the Investigation Report.
                                 with the Base Closure Team (BCT).
                           -     TtEC responds to the additional Navy comment, stating it will not include a discussion of Survey Units
                                 707-15 and -20 because those survey units were not flagged as potentially anomalous, so were not
                                 included as part of the investigation . However, these survey units were addressed through TtEC's
                                 technical peer review and quality control review process during development of the Final Status Survey
                                 report. TtEC also provided the Navy concurrence with sharing the investigation report with the BCT.
                                 Because the report is being shared with the BCT, TtEC added an executive summary and updated the
                                 report with supplemental information.

March 3, 2014                    TtEC issues a report titled Investigation Conclusion, Anomalous Soil Samples at Hunters Point Naval
                                 Shipyard. The report is provided to the Navy and NRC.

April 23, 2014                   TtEC updates the Executive Summary and issues a report titled Investigation Conclusion, Anomalous
                                 Soil Samples at Hunters Point Naval Shipyard, Revision 1.




Investigation of Anomalous Soil Samples at HPNS docx             ES-6                                                Investigation Conclusion
                                                                                                                     Anomalous Soil Samples
                                                                                                  at Hunters Point Naval Shipyard, Revision I
                                                                                                                                   April 2014
      Case 3:18-cv-05330-JD                             Document 1-1                     Filed 08/29/18                   Page 98 of 169


                                                        TABLE OF CONTENTS
     rnTRODUCTION ..... .. ............. .. .. ............................................................................................ ... 1
     EVENT DESCRIPTION ................. ... .. .. ... ....... ... ........... ............... .. ....... ..... .......... ... ... ................ 1
     BACKGROUND ...... ... ... .. .... ........................................... .... .. ...... ... ..... .. ... .. ......... ... ...... ..... ......... .3
        Geologic Setting ................ ... ... .... .... ............. .. ..... ....... ................................. ...... .................... ... 3
        Former Building 517 Site Final Status Survey Summary .................... .......... ......................... 3
    rnVESTIGATIVE TEAM AND METHODS ... .. .... .. ........ ..... .. ........ ... ... .... ..... ........ .... ........... ... .. 4
    CHRONOLOGY OF EVENTSITIMELINE ........... ...... .... ..... ................... ... ........... .. .... ........... ... 4
        B517 SU-002 Subsurface Investigation ........ .......................... ...... .................................... ...... .4
        Locations #141, #148, #149, and #155 Potholes ............................... ............................ ... ...... .4
        B517 SU-002 Subsurface Sampling ......................................... .. .. ..................... ......... .. ........... 5
        B517 SU-002 Subsurface Investigation Conc1usions .......... .......... ................ .... .............. ...... .. 7
        Investigation to Identify Other Sites with Low K-40 Data ................ .. ................ ...... ........... .. 7
        Database Review ... ............ ............................ .... ........................................... .. ...........................7
        Additional Systematic Sampling ....... ............................ ... ..... .... ......... .... ......... ... .. .... ....... ......... 8
       Additional Systematic Sampling Results ...................... .. ..... .. ........ ........... .... .. ......................... 8
       On-Site Interviews and Examination of Samples ......... .. .. .............................. ........ ............... .. 9
       Interviews with Personnel ...................................................... ................ .................... ............ l 0
       Inspection of Sites with Anomalous Data ..................... ....... .... ........................... ............ .. ..... 12
       Visual Comparison of B517 SU-002 Archived Soil Samples and Associated Tuna Cans .. 15
       Initial Investigation Report ..... .... ......... .... ... ... ....... .... ................ ....... ..... .. ........... ..... ....... ......... 15
       Update and Response to Navy Letter.. ................................................................................... 15
    FINDrnGS .................... .. .... ..................... ....... .. .... ...... ....... ........... ..... .... ... ... .............. ... ............. 17
    CONCLUSIONS ........... ... .. .......... .. ............... .... ....................................... .......... ...... ... .............. 18
    ROOT CAUSE ........... .. ... ... ....... ..... ....................... .......................... .. ...... ....................... .. ......... 20
    PROCESSES THAT MAY HAVE CONTRIBUTED TO THE CONDITION ........................ 20
    CORRECTIVE ACTIONS ........................................... ............... .. ....... ........... .... .... ... ..... ... ....... 20
    FINAL CONCLUSION ... ............... ..... .... ........ .... .... ... ....... .. ..... ........ .... .. ..... .. ............................ 23

                                                                         TABLES
TABLE 1.             FORMER BUILDING 517 SITE SU-002 INVESTIGATIVE POTHOLE
                     RESULTS ...... .. ....... ........ ....... ... ......... .......... ...... .. ...... ... ... .... ... .... ....... ..... .. .......... ... ..... 5
TABLE 2.             SURVEY UNITS RECOMMENDED FOR RESAMPLrnG ......... ........................... 8
TABLE 3.             SURVEY UNITS WITH LOW K-40 CONCENTRATIONS FOR POSSIBLE
                     RESAMPLING ....................... .......... ....... ....... .... ..... .............. ..... ... ... ... ..... .... ......... .... . 9
TABLE 4.             NORTH PIER TEST PIT SAMPLES COLLECTED TO A DEPTH OF 3 FEET .. 12
TABLE 5.             SITE 707 ROAD BASE SAMPLE RESULTS ... ..... ... ...... .. .. .. .. .... .............. ..... ........ 14
TABLE 6.             BUILDrnG 253/211 DRILL CUTTING SOIL SAMPLE RESULTS ..................... 16

Investigation of Anomalous Soil Samples at HPNS.docx                                                                                         Investigation Conclusion
                                                                                                                                             Anomalous Soil Samples
                                                                                                                          at Hunters Point Naval Shipyard, Revision I
                                                                                                                                                           April 2014
          Case 3:18-cv-05330-JD                        Document 1-1          Filed 08/29/18              Page 99 of 169
                                                   TABLE OF CONTENTS
                                                       (Continued)

                                                          .FIGURES
FIGURE 1. BUILDING 517 SURVEY UNITS ....... ..... ........... ... ... .. ........ .. ................. .... ...... ...... ... 2
FIGURE 2. POTHOLE SAMPLE MAP .......... .. ....... .. ....... .. ...................... .... ... .. ...... ... .... ..... ... ... ... 6
FIGURE 3. NORTH PIER SAMPLE LOCATIONS .. .. ...... ..... .. ....... .......... .. ..... .. .. .. ..... ... ... .. .... .. .13
FIGURE 4. SITE 707 TRIANGLE MAP .. ........................ ........... .. .. ..... ... ... .... ... .. ............. ..... ...... 14


                                                       ATTACHMENTS
ATTACHMENT 1.                      SITE CONCEPTUAL MODEL FOR LOW K-40 SOIL
ATTACHMENT 2.                      LOW K-40 SOIL SAMPLE RESULTS FROM JANUARY 1,2008
                                   UNTIL PRESENT
ATTACHMENT 3.                      DATA ANALYSIS
ATTACHMENT 4.                      STANDARD OPERATING PROCEDURE
ATT ACHMENT 5.                     INITIAL INVESTIGATION
ATT ACHMENT 6.                     SURVEILLANCE REPORT
ATTACHMENT 7.                      PHOTOGRAPHSOFPOTHOLES
ATTACHMENT 8.                      QUALITY CONTROL SURVEILLANCE OF FORMER BUILDING
                                   SITE 517, SURVEY UNIT 2 ON OCTOBER 24,2012
ATTACHMENT 9.                      PERSONNEL INTERVIEWS
ATTACHMENT 10. NORTH PIER TEST PIT PHOTOGRAPHS
ATT ACHMENT 11. 707 TRIANGLE PHOTOGRAPHS
ATTACHMENT 12. SYSTEMATIC SAMP.LE SET PHOTOGRAPHS
ATTACHMENT 13. NAVY LETTER DATED OCTOBER 3,2013
ATTACHMENT 14. BUILDING 253 DRILL CUTTING SOIL SAMPLE RESULTS
ATTACHMENT 15. CHAIN-OF-CUSTODY SHEETS , GAMMA SURVEY RECORDS , AND
               ANCILLARY INFORMATION (on CD only)
ATTACHMENT 16. RCA SUMMARY
ATT ACHMENT 17. SOP HPO-TT -009 SOIL SAMPLING TRAINING ATTENDANCE
                SHEETS
ATTACHMENT 18. SOIL SAMPLE ETHICS TRAINING POWERPOINT PRESENTATION
               AND ATTENDANCE SHEETS
ATTACHMENT 19. FOLLOW-UP INVESTIGATION AND CONCLUSIONS, PARCEL C
               TRENCH UNITS 234, 238, 242, AND 302
ATTACHMENT 20. QUALITY CONTROL SURVEILLANCE REPORTS FOR SOIL
               SAMPLING OF FINAL SYSTEMATIC SAMPLES



Investigation of Anomalous Soil Samples at HPNS.docx              ii                                                  Investigation Conclusion
                                                                                                                      Anomalous Soil Samples
                                                                                                   at Hunters Point Naval Shipyard, Revision I
                                                                                                                                    April 2014
     Case 3:18-cv-05330-JD                          Document 1-1       Filed 08/29/18   Page 100 of 169



                INVESTIGATION CONCLUSION, ANOMALOUS SOIL SAMPLES AT
                           HUNTERS POINT NA VAL SHIPYARD

 INTRODUCTION
This Root Cause Analysis (RCA) was undertaken to determine whether the final systematic soil
samples from Survey Unit 2 of the Former Building 517 Site had been collected at the locations
specified in the Final Status Survey (FSS) report. The analysis of evidence from both the past
sampling and from the investigation will help illuminate the causes that contributed to any
discrepancies. During the investigation, Tetra Tech EC, Inc. (TtEC) identified additional survey
units at Hunters Point Naval Shipyard (HPNS) that exhibited anomalous soil sample results.
TtEC investigated each set of anomalous results ; resampled and completed additional
remediation, where necessary; and revised and resubmitted reports for these areas. TtEC also
developed corrective actions to address the possible root causes for these anomalous samples to
prevent recurrence of similar problems.

EVENT DESCRIPTION
On October 4,2012, during a routine call with the Navy's Radiological Affairs Support Office
(RASa), a RASa official suggested that the final systematic samples for Survey Unit 2 (within the
Building 517 footprint) had been collected from locations different than the ones specified in the
FSS report. Figure 1 is a map showing the sample locations and remediated areas.

This suggested discrepancy was based on low potassium-40 (K-40) sample activity
« 5 picocuries per gram [pCi/g]) coupled with low radium-226 (Ra-226), bismuth-214 (Bi-214),
and lead-214 (Pb-214) reported by the on-site Department of Defense accredited laboratory in
the set of systematic samples collected post-remediation at a depth of no more than 6 inches
below ground surface (bgs) for Building 517 Survey Unit 2 (B517 SU-002). These samples are
described as "anomalous" soil samples because the sample results are not consistent with the
expected sample results from the survey unit in question. These samples, and other samples
meeting these conditions, are referred to as "anomalous samples" throughout this report

The determination of consistency was based on the professional judgment of the Radiation
Safety Officer, and on comparison of the results with results from other soil samples collected
concurrently or previously in the associated survey unit. Due to the complex fill history of
HPNS, the soil sample results in some cases can be expected to be somewhat uniform, as in
some surface survey units where the fill material appears homogeneous. In other cases, such as
trench survey units that cut through several layers of different fill materials, the soil samples
would be expected to exhibit a more varied distribution.

A subset of "anomalous samples" is often referred to as "low K-40" samples, because of an
atypical concentration of low K-40, Ra-226, Bi-214, Pb-214, and cesium-137 (Cs-137) activity
concentrations across a large number of soil samples within a survey unit. Such soil samples
have been, and continue to be, collected periodically in various locations at HPNS, most notably
along the 1935 shoreline (Figure 2 of Attachment 1). This was likely due to the expansion of the
HPNS through use of fill materials derived from native Franciscan bedrock from the inland hill
area. A description of the site conceptual model for the "low K-40" soil present throughout the
site, especially along the boundary of the HPNS 1935 shoreline located in Parcel C, is included
in Attachment 1. A listing of "low K-40" soil samples with a statistical analysis of "low K-40"
soil samples and all soil samples collected since January 2008 is contained in Attachment 2.
Investigation of Anomalous Soil Samples at HPNS .docx              1                                       Investigation Conclusion
                                                                                                           Anomalous Soil Samples
                                                                                        at Hunters Point Naval Shipyard, Revision I
                                                                                                                         April 2014
              Case 3:18-cv-05330-JD                                                            Document 1-1                           Filed 08/29/18                       Page 101 of 169


                                                                                                              FIGURE 1
                                                                            BlIILDLNG_511.SURVEY IlNITS

                                 49 I '                 :... -            101                       27 ;05                                 107

                           r                                                                                                   33
                                   ,        •            I            '



                              48', 16 70"~                                              100                                                                         106
                                                             I                      •
                                       I                                            i1                                        ~04                 38
                                       I           .69
                                                94 '1                                                          26                             103
                                           t '                                                       99· .                                                            43
                                           I   •                 •
                                  47 ' 16 '~1                                                                                    32
                                                                           93                20                          98                                         102
                                                                                                                                                   37
                                                                                                    92             25                        97
                                   67 '                                   52                                                                                              42
                                       46 ~. 14 ·, 67                                                                                                    96
                                                                                                                                                              110
                                                                                                                                                                  111
                                                                                    .86 .19                                   91 ' 31             12          ...     I, 117
                                                                                                                                                   108' : "
                                                                                                              5                               36 ' 109 . '116 In
                                                                                                                    24
                                                                                                                                             90      115      41
                                                                           53                                 85                      30                                        95
                                                                                                                                                   55. 5666
                                                                                        79        18                          84                   1     "          89 -       60 .
                                                                                                                                                          . ' 6 ° 64 l)
                                                                                                                                                   35'     . ; 67  2 I
                              '9                                                                                        23                               " 3 59 ( .
                                                75                                                        78                                 83         54 68                63 .
                                                                      , 12     I                                                                                          40'82 8
                                                                                                                                        29
                                                                                        74          17                        , 77                           82
                                   8                                                                                                                                        7 71 ,
                                                                               j                                         22                              ' 34         ltO      \1i~      114
                                                72                                                        73                                 76                             39\ ••
                                                                      11
                                                                                                                                                                     6     113' ,       '. 81
                                                                                                                                           • ?R                           4 . ~.,,, ~   \ 1.1




                  LEGEND:
      •       1     RI/I;Er; 1 '                         7

      •       8     :' Y'-, n. \1,A n- : 1 x- ,1 '
      • 44          CHM;> ,A , TE ,, 1/ AT I,: " , ' -1·1 - ; ',"


       • 71         HIA ' .[1:     /            ,.. \
       • 72         ':, ~/ ':) Tf\l;qh'                 !,' 1 ' - . ; ; ,..

       • 108        U'l,\f.'f\ ~ , TEf\ !LATI: :',                                 .'       . ; ~\1 . I ..,
       • 116        Ct·t,\::C.\ ,- TE RIZArt(;',                                   3 1 1~r- 1 ' F;
       "      .     1'(Y.,T-·<E\I(Jl,.\n :':; ~j                                        ~    " ', )._';':":




          [
    <::-:ALf I ~n                                                                                                                                                         RECORD COPY
                                                                     500 SERIES SURVEY UNITS ~ TITRA TICH IC. INC
                                                                                             .... 12,' 0 COlv~BtA STREET. sum 7~O
                                                                       CLASS 1 SURVEY UNIT    ~ SAN D!£CO. CA 92101
                                                                             617 SU-02            l[L: (6 1 9) 234 .. 8690 FAX: (619) 2~4 .. 8591




Investigation of Anomalous Soil Samples at HPNS,docx                                                                     2                                                              Investigation Conclusion
                                                                                                                                                                                        Anomalous Soil Samples
                                                                                                                                                                     at Hunters Point Naval Shipyard, Re vision I
                                                                                                                                                                                                      April 2014
     Case 3:18-cv-05330-JD                          Document 1-1   Filed 08/29/18   Page 102 of 169



Since January 1, 2008, approximately 2,500 samples meeting the definition of "low K-40"
samples have been collected at HPNS.

The activity levels from various isotopes from the B517 SU-002 anomalous samples were not
representative of previous systematic samples collected from the same trench unit, and were
conspicuous in that the sample activities were consistent and unvarying across 36 of 36 samples.
As shown in Attachment 3, the set of final systematic samples from B517 SU-002 had mean,
median, and standard deviations for K-40 of approximately 1.78 pCi/g, 1.75 pCi/g, and
0.6 pCi/g, respectively. In contrast, the previous set of systematic samples collected on
February 2, 2012, produced mean, median, and standard deviations for K-40 of 16.93 pCi/g,
15.83 pCi/g, and 7.62 pCi/g, respectively.

Since the on-site laboratory results were replicated by the off-site gamma spectroscopy
laboratory, TestAmerica-St. Louis, the possibility of instrument error as the cause of the
discrepancy was ruled out.

BACKGROUND
Geologic Setting
In the late 1930s and early 1940s, fill was used to create the land surface beyond the historic
shoreline at HPNS. This fill ranged from silty and sandy clays with gravel to poorly graded
sands, boulders, and debris deposits. A majority of the coarse fill material was locally derived
from the Franciscan Formation bedrock consisting of serpentinite, greenstone, shale, greywacke,
and chert. Competency of the bedrock material encountered near the surface at Parcel E ranges
from low to very hard, and fractures are common. The weathered material is decomposed and is
friable. The unweathered Franciscan bedrock is hard and fractured. In general, samples
collected from Franciscan-derived materials report low radiological readings. The bedrock
material is often referred to as "serpentinite" by the HPNS field workers.

Former Building 517 Site Final Status Survey Summary
The Former Building 517 Site is located in Parcel E at HPNS, San Francisco, California. The
original building measured approximately 50 feet by 50 feet. The Former Building 517 Site was
previously used as a brig Gail) and the Naval Radiological Defense Laboratory Cobalt Animal
Irradiation Facility.

The radionuclides of concern at the Former Building 517 Site are Cs-137, cobalt-60, and
strontium-90. Due to its potential presence, Ra-226 is included as an additional radionuclide of
concern. These radionuclides cover alpha, beta, and gamma emitters, all three possible kinds of
radioactivity that could be emitted by these radionuclides.

An FSS for the Former Building 517 Site was designed in accordance with the Multi-Agency
Radiation Survey and Site Investigation Manual (NUREG-1575; DoD et al. 2000). To perform
the survey, the Former Building 517 Site was divided into two Class 1 survey units. Class 1
survey unit 1 consisted of a concrete slab. After the survey operations for the Class 1 concrete
survey unit were completed, the concrete surface was removed to allow surveying of the Class 1
soil survey unit beneath the concrete. Although no Class 2 survey surrounding the Class 1 soil
survey was performed, the designated Class 1 soil survey area extended beyond the foundation
footprint of the Former Building 517 Site.

Investigation of Anomalous Soil Samples at HPNS .docx          3                                       Investigation Conclusion
                                                                                                      Anomalous Soil Samples
                                                                                    at Hunters Point Naval Shipyard. Revision I
                                                                                                                     April 2014
          Case 3:18-cv-05330-JD                        Document 1-1   Filed 08/29/18        Page 103 of 169


INVESTIGATIVE TEAM AND METHODS
TtEC initiated the investigation to evaluate potential causes for the discrepancy. The
inve tigation team consi ted of:

     •     Erik Abkemeier, PE, CHP, CSP, CHMM, Nuclear Regulatory Commission (NRC)
           license Radiation Safety Officer (RSO)
     •     Greg Joyce, CQM, Program Quality Control Manager
     •     Adam Berry, Radiation Safety Officer Representative
     •     Rich Kanaya, Project Quality Control Manager
     •     Rick Weingarz, Assistant Project Manager

For this RCA, the investigative team used potholing, additional subsurface analysis, database
review, on-site interviews, and visual comparison of soil samples.

CHRONOLOGY OF EVENTSITIMELINE
October 5, 2012
B517 SU-002 Subsurface Investigation
Because the composition of the backfill within Parcel E may consist of bedrock debris and the
depth of the actual bedrock can be extremely variable, the first step in the investigation was to
determine if the set of systematic samples with the anomalous readings was collected from a
specific layer in the subsurface that mayor may not have been at the depth prescribed for
sampling. The sampling depth for the systematic samples, as described in Standard Operating
Procedure (SOP) HPO-Tt-009, is 15 centimeters (6 inches) bgs. The SOP is included as
Attachment 4.

BS17 SU-002 was located and marked out by TtEC on-site engineers. Final systematic sample
locations and associated building footprints (B-S09/B-SI7) were also located and marked. Once
all markings were completed, stakes and rope were erected to establish a perimeter around
SU-002. Signs reading "Do Not Enter" were hung around the perimeter to negate foot and
equipment traffic.

October 5 to 8, 2012
Locations #141, #148, #149, and #155 Potholes
On October 8,2012, potholes were excavated with a backhoe to a depth of 3 feet bgs at four of
the sample locations with anomalous results (#141, #148, #149, and #155) to identify lithology
(Figure 1). Excavation at each location was performed in 6-inch lifts, with photographs and
measurements collected between lifts. A geologist was present to aid in the identification of
lithology. Multiple lithologies were encountered in each pothole. This created distinct layers of
differing material types which varied with depth. A summary of the initial investigation and
photographs of the sample locations potholed are included in Attachment 5.

In tandem with securing the B517 SU-002 area on October 5, all archived samples taken from
the survey unit were pulled aside and secured for comparison with the lithology observed in the
potholes. In general, the archived samples are light gray in color. Photographs of samples
pulled from the archive for locations #141, #148, #149, and #155 are included in Attachment 5.

Investigation of Anomalous Soil Samples at HPNS.docx           4                                          Investigation Conclusion
                                                                                                          Anomalous Soi I Samples
                                                                                       at Hunters Point Naval Shipyard, Revision I
                                                                                                                        April 2014
     Case 3:18-cv-05330-JD                          Document 1-1          Filed 08/29/18          Page 104 of 169



 The samples matched the lithology at only one location (#155) where a lens of light grayish
 bedrock material was observed. The hypothesis that individuals sampling soil may have either
 consciously or accidentally sampled bedrock soil that had low concentrations of K-40, Ra-226,
 and its progeny was not supported by observations from the potholing at locations #141, #148,
 and #149.

October 16,2012
B517 SU-002 Subsurface Sampling
Since the potholing was not conclusive at locations #141, #148, #149, and given the potential for
variability in fill materials that may be present across B517 SU-002, additional locations in
different quadrants of B517 SU -002 were potholed using a backhoe and sampled on October 16,
2012. The potholes were advanced in 6-inch intervals to a depth of 3 feet bgs. Samples were
collected at 6-inch intervals to acquire information about the radionuclide concentrations at
mUltiple depths to verify if sampling technique may have been a factor in the anomalous soil
sample results. All sampling was verified and documented by an independent party, Rich
Kanaya, Project Quality Control Manager, in surveillance reports included as Attachment 6.
Photographs of the potholes are included as Attachment 7.

A summary of the Bi-214, Pb-214, Ra-226, and K-40 concentrations is provided in Table 1. A
pothole sample map is shown as Figure 2.

                                                              TABLE 1
       FORMER BUILDING 517 SITE SU-002 INVESTIGATIVE POTHOLE RESULTS
                                               Sample 10       Bi-214       Pb-214     Ra-226          K-40
                                              07AB517-039       0.334       0 .4707     0.7022        11.09
                                              07AB517-045      0.4849       0 .6182     0.9035        11.89
                            6inches
                                              07AB517-051      0.4115       0.5577       0 .819       13.81
                                              07AB517-057      0.3598       0 .2577     0.5537        11.45
                                              07AB517-040      0.4547       0.4334      0.7448        12.73
                                              07AB517-046      0 .9698      0 .9118      1.245        12.45
                           12 inches
                                              07AB517-052      0.2658       0.3691      0.3634        10.76
                                              07AB517-058      0.3278       0 .2753     0 .5787       12.08
                                              07AB517-041      0.3203       0 .4782      0.752       11.77
                                              07AB517-047     0.07622       0.1602      0.4654        9.22
                           18 inches
                                              07AB517-053      0.3269       0 .3247     0 .6957      7.926
                                              07AB517-059       0.101       0.1701      0.6186       8 .725
                                              07AB517-042     0.01964      0 .02277    0.06388       0.476
                                              07AB517-048     0.04757       0.1221     -0.1024        10.2
                           24inches
                                              07AB517- 054     0.3334       0.2329      0.5851       6 .622
                                              07AB517-060      0 .4268      0.3673      0 .5442      12.14
                                              07AB517-043      0.1168       0.1369     0.1389        5 .773
                                              07AB517-049      0.1962       0 .2484    0 .4376        8 .74
                           30inches
                                              07AB517-055      0 . 1217     0 . 1549   0.4367        8.374
                                              07AB517-061     0.08145       0 .1993    0.1689        6.603
                                              07AB517-044     0 .08985      0 .1425    0 .6409       10.85
                                              07AB517-050      0.6213        0 .591     1.016        9 .783
                           36inches
                                              07AB517-056      0 .2989      0 .3047    0.3685        10.39
                                              07AB517-062     -0.02878     0 .06787    0.1407        4.778

                                             K-40 < 5 pCijg
Investi gation of Anomalous Soil Samples at HPNS.docx              5                                                 Investigation Conclusion
                                                                                                                     Anomalous Soil Samples
                                                                                                  at Hunters Point Naval Shipyard, Revision I
                                                                                                                                   April 201 4
               Case 3:18-cv-05330-JD                                         Document 1-1                        Filed 08/29/18                                Page 105 of 169


                                                                                        FIGURE 2
                                                                            PQTHOLESAMPLE MAP




                                                                                                                               58      59
                                                                                                                                r-LY 60
                                                                                                                          57   d'- 1
                                                                                                                               -["t>
                                                                                                                                    • 1




                                                            \
                                                            \
                                                                I                                                                           \
                                              \                                                                                                 ,/
                                                                                                                                                     /

                                               I
                                                                I
                                                                    I
                                               I                    I
                                                   ,        I
                                                       "J

                                   J    l
                                                                                                                                                                         (
                                                                                                                                                                                 /
                                                                                                                                                                                         \

                                    _j 4~J 46      Q,       \
                                                                                                                                                                             '~ I

                                                   .,                                                                                                    43
                                            46 ...... •
                                                        47              I                                                                                           /
                                                                                                                                                                                 /


                                                                                                                                                                \
                                                                                                                                                                 \
                                                                                                                                                                     \
                                                                                                                                                                             \
                                                                                                                                                                                     I




                                                                                          187~.86           11'\2
                            LEGEND:
                            Af\i CILLA.RY S.l).N·')LE:::: AT 6" P.ELOW                             GROI.;~n            SLjR FACE 39. 45 . 51. AN] 57
                 a    40    A\C ILLARY SA.lIl'LE5 AT                          :'""1"
                                                                              iL       I:-JELO'N    GHOJ\lU SU,-\ FACE 40, 40.                                  ~2 .                         AN) :) 8
                 .    41    A.NCILLARY S.ll,~PLE~·i AT 1,1" F~ELC)W      SURFACE 4 I. 47, S:S, N~J  (;F~ () ,) \I 1)                                                                              ~9

                 .    42    AM;ILLARY SA).'PLES AT <'4" BELOW CRO J"I L) :;U i-IFACE 4 ). 48 . ')4. AN ;)
                                                                                                                                                                                                  ,~


                                                                                                                                                                                                  OlJ
                                                                                                                                                                                                       ~   \



                 0    4.    ANC ILLA.f< Y SAtVPLES AT 30" BELOW                                     GROJNO SL" <FA.CE 43. 49.                                   55 , AN ') 61
                            ANCILLAF~Y        SAtv'PLES AT                    _~6"     13ELOW C fW,J\lC) SU 'IFACE 44.                                   jO,    S6, AN)                           62
  ."
  I~                                                                                                                                                     POTHOLE PiT
                            PREVIOUSLY REMEDIATED
  ..; u. .                                                                                                                                      /
     o

     ~
     o'"
                  0
                     o
                             CONCRETE'

                             FORM ER 8LJ ILDI :l.IG :),7 SITE
                                                                                                                                    cC\                       POTH OLE SIDEWALL
     c"
     'C)
     '-.
     §        SC ALE 1:30                                                                                                                                     RECORD COpy
     ~~--------------------------------------------------------------------------~
             HUNTERS POINT NAVAl SHIPYARD               500 SERIES SURVEY UNITS ~ TETRA TECH EC. INC
             SAN FRANCISCO, CA
             P.O BOX 884836
             SfIN FRANCISCO, CA 94188
                                                          CLASS 1 SURVEY UNIT     ~~~o OfE~~Mg~A s;~lE5r           750  1t:                                                                        SUfTE
                                                                517 SU-02         TEL: (619) 234-8690 FAX: (619) 234 - 8591




Investigation of Anomalous Soil Samples al HPNS.docx                                               6                                                                        Invesligation Conclusion
                                                                                                                                                                            Anomalous Soil Samples
                                                                                                                                                         at Hunters Point Naval Shipyard, Revision I
                                                                                                                                                                                          April 2014
     Case 3:18-cv-05330-JD                         Document 1-1   Filed 08/29/18   Page 106 of 169



 The complete set of soil sample results is available upon request.

 Given that all 36 final systematic samples collected on April 10, 2012, in B517 SU-002 showed
 K-40 at concentrations less than 5 pCi/g, it would be expected that sample results from the four
 quadrant locations at 6-inch intervals to depths of 3 feet bgs would have similar results.
 However, only two locations had results similar to the final systematic results, and both of these
 locations were significantly deeper than the targeted 6 inches bgs.

 B517 SU-002 Subsurface Investigation Conclusions
The hypothesis that individuals sampling soil may have either consciously or accidentally
sampled bedrock soil that had low concentrations of K-40, Ra-226, and progeny was not
supported by observations from the potholing or the subsurface sampling. No lithological
evidence suggests that a bedrock soil layer exists, light gray in color, that is contiguous across
B517 SU-002 at depths less than 2 feet bgs, which would account for anomalous readings in all
36 final systematic sample locations. In addition, even though two results from subsurface
sampling were similar to the anomalous K-40 results, neither sample was located at a depth that
could be credibly attributed to misjudging a 6-inch sampling depth.

October 16, 2012
Investigation to Identify Other Sites with Low K-40 Data
While waiting for the results from the subsurface sampling, the NRC licensed RSO, Erik
Abkemeier, and others reviewed soil sample data collected from other HPNS sites surrounding
the Former Building 517 Site. The review looked specifically for soil samples with K-40
concentrations less than 5 pCi/g.

Previous to this investigation, patterns of radionuclide concentrations were not specifically analyzed
by anyone on the HPNS team. Concentrations of Ra-226 and its progeny were carefully monitored
on gamma spectroscopy results to ensure that the Ra-226 release criterion was not exceeded. As
K-40 is not a radionuclide of concern, K-40 concentrations were not monitored other than in
conjunction with evaluating gamma scan and static readings that appear more elevated than usual
but do not exhibit elevated concentrations of any of the radionuclides of concern.

October 15 through 19, 2012
Database Review
From October 15 through October 19, Erik Abkemeier, George Chiu, and Thorpe Miller
reviewed soil sample results from the on-site database, as well as survey unit sampling maps.
The review was to:

      •    Identify areas with similar anomalous K-40, Ra-226, and progeny concentrations that do
           not correlate with previous samples in the area in the event that multiple soil sample sets
           were collected.
      •    Evaluate soil sample sets exhibiting similar radio nuclide concentrations that appear
           divergent from other soil samples in the area.

The key radionuclides, sampling date, and individual listed as the sample collector on the sample
chain of custody are provided in the spreadsheets in Attachment 3. Note that not all survey units

Investigation of Anomalous Soil Samples at HPNS,docx          7                                       Investigation Conclusion
                                                                                                     ADorna lous Soi1 Samples
                                                                                   at Hunters Point Naval Shipyard, Revision I
                                                                                                                    April 2014
       Case 3:18-cv-05330-JD            Document 1-1         Filed 08/29/18         Page 107 of 169



listed in the spreadsheet show anomalous soil sample results. Some survey units are listed for
comparison of soil sample results for other survey units in the same general area.

The review of the data showed a pattern of consecutive samples with uncharacteristically low
K-40, Ra-226, and progeny concentrations in 12 survey units at 3 additional sites in the Parcel C
and E areas . In many of these areas, previous systematic samples collected in the same vicinity
did not show the same low K-40 concentration. As these anomalies are consistent with the K-40
sample concentrations as evidenced in B517 SU -002, the scope of the investigation was
expanded to cover other survey units.

October 24 through November 28, 2012
Additional Systematic Sampling
From October 24 through November 28, the HPNS team took action to collect systematic
samples in these areas to determine if the radionuclide signature of low K-40, Ra-226, and
progeny could be replicated. An additional surveillance was conducted by Greg Joyce on
October 24,2012, for B517 SU-002. The surveillance report is contained in Attachment 8. A
listing of survey units that warranted further investigation is provided as Table 2. Soil sample
survey maps for the former Building 517 Site, Building 707 Triangle Area (707 Area), Shack
79/80, and North Pier are included in Attachment 3.

                                               TABLE 2
                  SURVEY UNITS RECOMMENDED FOR RESAMPLING

                   Area
                              Survey       Sample           Date        cac Radiological
                               Unit       Numbers         Collected         Technician
                   51 7           2         123-158       10-Apr-12         Jeff Rolfe
                   707            9          59-78        08-Jun-11         Jeff Rolfe
                   707           16          67-86        07-Jun-11         Jeff Ro lfe
                   707           17          64-83        08-Jun -11        Jeff Rolfe
                   707           22          81-100       12-Aug-12       Anthony Smith
                   707           23           5-24         31-Jul-12        Jeff Rolfe
                North Pier        1          28-47        31-May-12       Ray Roberson
                North Pier        7          30-49        04-Jun-12       Justin Hubbard
                North Pier        8          32-51        31 -May-12      Ray Roberson
                North Pier       10          27-46        31-May-12       Ray Roberson
                North Pier       11          27-46        31-May-12       Ray Roberson
                  79/80           2       3, 5-6,8-22     04-Apr-12         Jeff Rolfe


Additional Systematic Sampling Results
Results, including calculation of the mean, median, and standard deviation values for the
complete systematic sample data sets, are contained in the spreadsheets of Attachment 3. The
systematic sample results collected as a result of this investigation are substantially more
elevated than the anomalous set of systematics, suggesting that the anomalous set of systematic
samples is not representative of its respective survey unit.

For example, in the set of final systematic samples from B517 SU-002 that led to this
investigation, the mean, median, and standard deviation for K-40 concentrations were
approximately 1.78 pCi/g, 1.75 pCi/g, and 0.6 pCi/g, respectively. The set of systematic samples
collected as part of this investigation on October 24, 2012, produced results for K-40
Investigation of Anomalous Soil Samples at HPNS.docx 8                              Investigation Conclusion
                                                                                                  Anomalous Soil Samples
                                                                               at Hunters Point Naval Shipyard, Revision I
                                                                                                                April 2014
     Case 3:18-cv-05330-JD                              Document 1-1      Filed 08/29/18     Page 108 of 169



 concentration mean, median, and standard deviations of 15.16 pCi/g, 14.77 pCi/g, and
 5.13 pCi/g, respectively.

 Note that in some cases, such as in the Shack 79/80 Survey Unit 2, soil samples collected as a
 result of the anomalous set of systematic samples identified radionuclides of concern at a level
 exceeding a radionuclide-specific release criterion. In these cases, additional characterization
 samples were collected to bound the extent of contamination and remediate the affected area.
 These soil sample results are included in Attachment 3 as well.

 Table 3 is a listing of survey units showing some low K-40 concentrations but not exhibiting the
 need for collection of an entire systematic sample set, due either to a mix of more elevated K-40
 concentrations and/or no other sets of samples that conflict the low K-40 results. These survey
 units warrant further review and may require resampling.

                                                                TABLE 3
             SURVEY UNITS WITH LOW K-40 CONCENTRATIONS FOR POSSIBLE
                                  RESAMPLING

                     Area
                                          Survey           Sample           Date           cac Radiological
                                           Unit           Numbers         Collected            Technician
                  500                       3               45-56      4/4/12, 4/13/12   Jeff Rolfe/Anthony Smith
                  707                        3              37-56        24-Feb-11               Jeff Rolfe
                  707                       13              31-50         4-Mar-11               Jeff Rolfe
            Parcel C Trench                234               1-18        18-Nov-11           Joe CunninQham
            Parcel C Trench                238              18-35         12-Apr-12          Joe Cunningham
            Parcel C Trench                242              25-42        17-Apr-12           Joe CunninQham
            Parcel C Trench                302               5-22        22-May-12           Joe Cunningham


Note that the Building Area 500, Survey Unit 3 samples are the result of post-remediation
samples collected at a deeper point than surface samples. The final set of systematics in that
survey unit showed a typical radionuclide concentration distribution for K-40, Ra-226, and
progeny. These samples lend credence to the possibility that soil samples from B517 SU-002
were dug below a depth of 6 inches. As that theory has been effectively disproven, these soil
samples are questionable as well.

Additionally, the Parcel C trenches listed in Table 3 have been backfilled and are not easily
accessible. Because trenches to remove pipe are at a depth that frequently intersects with the
native bedrock soils, there is a possibility that the soil type at which the trench samples were
collected is of a uniform naturally occurring radionuclide concentration, such that the samples
are all valid; however, these trenches do have sets of final systematic samples that are anomalous
when compared to other survey units. Recommendations regarding these trenches are included in
Attachment 19.

Week of November 5, 2012
On-Site Interviews and Examination of Samples
Because laboratory error and the presence of a near-surface contiguous bedrock soil were ruled
out as a possible cause for the B517 SU-002 discrepancy and results from vertical sampling and
another set of systematic samples, collected within feet of the anomalous locations, did not report

Investigation of Anomalous Soil Samples at HPNS .docx               9                                           Investigation Conclusion
                                                                                                                Anomalous Soil Samples
                                                                                             at Hunters Point Naval Shipyard. Revision I
                                                                                                                              April 2014
         Case 3:18-cv-05330-JD                         Document 1-1   Filed 08/29/18        Page 109 of 169


similar low K-40 results, the next step was to investigate the potential of human error as the
cause for the discrepancies.

During the week of November 5, 2012, Erik Abkemeier and Greg Joyce conducted
investigations at HPNS consisting of:

     •     Interviews with individuals listed on the chains of custody for the anomalous soil samples
           listed in Table 2, as well as direct supervisors, members of the sampling crews, and
           individuals listed on the receiving end of the soil samples at the Curtis and Tompkins on-
           site laboratory
     •     Inspection of the sites with anomalous systematic sample sets to determine the
           homogeneity of surface soil type as well as examine the soil strata in the potholes dug in
           B517 SU-002
     •     Visual comparison of all sets of systematic soil samples collected at B517 SU-002

Interviews with Personnel
Interviews were conducted with a predetermined set of questions, including prompts for any
knowledge of improprieties or unethical behavior, as well as a lead-in by Erik Abkemeier and
Greg Joyce describing the situation, the seriousness of the situation, and the likelihood of follow-
up questions from other entities. Individuals were often asked follow-up questions to further
understand the sample collection, sample receipt, or sample preparation process, as well as to
probe for any direct or indirect pressures. A synopsis of the interview with each individual is
included in Attachment 9.

Field Employees
The individuals interviewed as a part of the teams collecting soil samples in the field consisted of
TtEe Health Physics Supervisors, Steve Rolfe and Justin Hubbard; Radiological Survey &
Remedial Services, LLC (RSRS) subcontracted Radiation Control Technicians (RCTs), Jeff
Rolfe and Ray Roberson; and TtEC laborers Jorge Colonel, Reggie Young, and Jeff Langston.
Although listed on the chains of custody for some anomalous systematic soil sample survey
units, Anthony Smith and Joe Cunningham were not interviewed as they were no longer working
at the HPNS project site at the time of the investigation. Shortly after this investigation, Ray
Roberson passed away.

From these interviews, the following points were corroborated consistently:

     •     Only HPNS Health Physics Supervisors or RCTs fill out chain-of-custody paperwork.
     •     HPNS Health Physics Supervisors give direction on what tools to use, consisting of
           picks, shovels, chipper hammers, and sometimes backhoes for hard surfaces, as well as
           what depth to collect the samples.
     •     Sample locations are selected using Visual Sample Plan software as described in the
           approved work plans. Engineers provide a map and orange markings with numbers on                                          '.
           the ground in each survey unit to mark areas where samples are to be collected and field
           crews sampled only where the sample location was marked.
     •     Only one to two sets of survey unit samples could be collected in one day. Collecting
           greater numbers of samples would be difficult.
Investigation of Anomalous Soil Samples at HPNS docx           10                                         Investigation Conclusion
                                                                                                          Anomalous Soil Samples
                                                                                       at Hunters Point Naval Shipyard, Revision I
                                                                                                                        April 2014
    Case 3:18-cv-05330-JD                          Document 1-1    Filed 08/29/18   Page 110 of 169



       •     No one knew of any sample collection outside the points that samples were marked to be
             collected or of sampling outside the survey unit sites.
       •    The teams were under no pressure or schedule deadlines for completing survey units.
            The only indication of any sense of urgency came from Steve Rolfe, who had been told
            that there had been no completed work that could be invoiced for Parcel E in some time.

During these interviews, both Justin Hubbard and Ray Roberson stated that collection of more
than two sets of systematic samples in one day would be difficult. However, the investigation
revealed that Ray Roberson was listed on chains of custody for four sets of systematic samples
from the North Pier, which is extremely rocky and difficult to sample, as well as an additional
trench segment survey unit, all on May 31,2012. These chains of custody are in conflict with
the statements made by these two individuals.

Laboratory Employees
The individuals interviewed as a result of being listed on the chains of custody for sample receipt
of anomalous systematic soil samples at the Curtis and Tompkins on-site laboratory were Phil
Smith and Robin Fluty, laboratory supervisors, and Jeff Fluty, Andy Alexander, and Jon
Alexander, laboratory technicians. All are Curtis and Tompkins employees.

For these interviews, the following points were consistently corroborated:

      •     Verifying the sample bag numbers against the chain-of-custody forms is an established
            process.
      •     Sample preparation is an established process.
      •     Sample bags are stored in the receipt or processing Conex to which only the laboratory
            technicians and laboratory manager have lock access.
      •     The Conex is never left unattended or unlocked.
      •     Laboratory employees have minimal knowledge of where soil samples are collected in
            the field.
      •     Laboratory employees have minimal knowledge of whether specific soil samples are
            above or below a release criterion for a radionuc1ide of concern.
      •     All laboratory technicians can perform all functions, all sample receipt, sample analysis,
            and gamma spectroscopy.

Other HPNS Employees
Additionally, Bryan White, Basewide HPNS Supervisor at the time of investigation and former
Radiological Quality Control personnel, and Jarvis Jensen, Health Physicist, were interviewed.
Bryan White provided background and insight into the manner in which soil samples are
typically collected, as he had performed quality control surveillances of the evolution in the past.
He knew of no intentional soil tampering, and did not believe anyone on-site would engage in
such an activity. Jarvis Jensen was not aware of any known or rumored soil sample tampering.
He had originally suspected the anomalous soil sample results found in the B517 SU-002 had
been the result of digging too deep because he believed it was fairly common knowledge among
the RCTs that the "blue-green" serpentinite rock provided favorably low Ra-226 results.


Investigation of Anomalous Soil Samples at HPNS.docx          11                                       Investigation Conclusion
                                                                                                       Anomalous Soil Samples
                                                                                    at Hunters Point Naval Shipyard, Revision I
                                                                                                                     April 2014
         Case 3:18-cv-05330-JD                          Document 1-1       Filed 08/29/18        Page 111 of 169


November 7, 2012
Inspection of Sites with Anomalous Data
On November 7,2012, Erik Abkemeier and Greg Joyce accompanied Construction Manager
Dennis Mc Wade and Radiation Safety Officer Representative Adam Berry to inspect B517
SU-002, various import fill piles, the North Pier, and the 707 Site.

Examination of Soil Surfaces at Fonner Building 517 Site. Survey Unit 2
A visual inspection of the surface soils at B517 SU-002 showed that there appears to be a
number of different soil types throughout the surface area, of which little appears to match the
gray soil from the anomalous set of systematic samples. Additionally, the four potholes
contained materials in a variety of colors, but the depths were not consistent. Therefore,
collecting an entire set of 36 systematic samples in a contiguous soil stratum at depth, by
accident, seemed unlikely.

Examination of Import Fill Piles
The same individuals visited the site of several import fill piles to look for soil that appeared
similar to the soil of the anomalous B5l7 SU-002 samples. Soil samples collected for gamma
spectroscopy analysis from the import fill piles did not have any results similar to the anomalous
sample results.

Examination of North Pier
The North Pier had been covered by crushed asphalt at the conclusion of remediation several
months earlier; however, it was evident where samples had been collected as part of the
investigative process. A test pit was dug to a depth of 3 feet bgs. The soil beneath the asphalt was
a mixture of rocks, gravel, and clays, and was not consistent throughout the area. Results from the
test pit on the North Pier are shown in the following Table 4, and sampling locations are shown on
Figure 3. Photographs are provided in Attachment 10. No results at any depth were comparable to
the anomalous soil samples with low concentrations of K-40, Ra-226, and progeny.

                                                              TABLE 4
         NORTH PIER TEST PIT SAMPLES COLLECTED TO A DEPTH OF 3 FEET
   Sample 10               K-40 (pel/g)            Ra-226 (pCI/g)    C5-137 (pCI/g)   81-214 (pCI/g)         Pb-214 (pCl/g)
 07 A-SB04-002                13.73                   0.5723                0            0.5101                 0.4946
 02ANPR-ll00                  6.796                   0.3756            -0.01209         0.0923                 0.2235
 02ANPR-ll01                  9.391                   0.3323           -0.008652          0.2755                0.4686
 02ANPR-ll02                  9.294                   0.4989           -0.006876         0.4131                 0.3777
 02ANPR-ll03                  6.227                   0 .3655         -0.0004954         0 .09775               0 .1739
 02ANPR-l104                  8.076                   0.3324                0             0.3696                0.2369
 02ANPR-ll05                  8.011                   0.1466                0             0.3387                0.3623
 02ANPR-ll06                  10.64                   0.5653           -0.006999          0.3513                0.4925
 02ANPR-ll07                  10.51                   0.4341            0.007666          0.3817                0.5214
 02ANPR-ll08                  17.77                    1.359             0.01339          0 .4399               0.5899
 02ANPR-ll09                  6.758                   -0.1163          -0.004885          0.1066                0 .2448
 02ANPR-ll10                  7.906                   0.4756            0.004713           0.143                0.2897
 02ANPR-ll11                  7.847                   0 .5883           0.001557          0 .3008               0 .3195
Investigation of Anomalous Soil Samples at HPNS doc x               12                                         Investigation Conclusion
                                                                                                               Anomalous Soil Samp les
                                                                                            at Hunters Point Naval Shipyard, Revision 1
                                                                                                                             April 2014
     Case 3:18-cv-05330-JD                            Document 1-1         Filed 08/29/18          Page 112 of 169



                                                                  FIGURE 3
                                             NORTH PIER SAMPLE LOCATIONS




             I

                                                             1109                      104
                                                       1108 .L 1110          11
                                                                                     1""'! 100 I
                                            l   _
                                                         1111'· :'
                                                    _ _ _ _...:.1~1~"-J
                                                                 1107
                                                                                   101 (;1102




                                                      SU-11                                        SU-10
                                                 CLASS 1                                         CLASS 1
                                         556 .60 rn 2 (5991.20 ft2)                       793.91 rn 2 (8545.63 ft 2)




            LEGEND:
                                                                              SAMPLE NUMBER INCHES BELOW SURFACE
      .1100 ANCILLA.RY SAMPLES 1 100-1 11 1
                                                                                     1100                      15
                                                                                     1101                      24
      f\-      AREAS PREVI OU SLY REMEOI.t..TED
     L.~                                                                             1102                      33
      _        RO CK                                                                 1103                      12
                                                                                     1104                      33
      _        CO NCRETE
                                                                                     1105                      24
                                                                                     1106                      15
                                                                                     1107                      24
                                                                                     1108                      15
                               SAMPLE POINT NUMBER/LOCATION                          1109                      24
                 18
                   .                                                                 1110                      39
                                                                                     1111                      30

                          SURVEY UNIT
                                                                            RECORD COpy                             SCALE 1:40




                                                                                  ~
 HUNTERS POINT SHIPYARD                                                                   TETRA TECH EC .. INC
 SAN FRANCISCO, CA                                  NORTH PIER WA-32              .....   1230 COLUMBIA STREET, SUITE 750
 P.O . BOX 8848 .3 6                                                               ....   SAN DIEGO, CA 92101
 SAN FRANCISCO, CA 94188                            SURVEY UNIT 10                        TEL: (619) 234-8690 FAX: (619) 234-8591




Investigation of Anomalous Soil Samples at HPNS .docx                 13                                              Investigation Conclusion
                                                                                                                      Anomalous Soil Samples
                                                                                                   at Hunters Point Naval Shipyard, Revision I
                                                                                                                                    April 2014
          Case 3:18-cv-05330-JD                                        Document 1-1          Filed 08/29/18          Page 113 of 169


Examination of Site 707
Due to performance of the Task-specific Plan for the Building 707 Triangle Area Remedial
Action Support and Final Status Surveys, the 707 Site had varying degrees of remediation
performed, so that there were different depths across the area. An exposed layer of "road base,"
looked similar in color (gray) and composition (relatively homogeneous) to the soil samples
from B517 SU-002. Photographs are provided in Attachment 11 , and sample locations are
shown on Figure 4. Samples of the road base were analyzed, and results are shown in Table 5.

                                                                              FIGURE 4
                                                                    SITE 707 TRIANGLE MAP




                                                                                                                               RECORD COPY
                    ':"II;I,IIOIU ....... .
                             :H I



                             -..
                               ~
                                              w-.'

                                                       ..
                                                     "' 1"_
                                                       H



                                                       ~
                                                                                                                              DA....'E ~en NlOCUY.AoR:.
                                                                                                                            ?n-iX'-r>AM MANAC..aaE1f'T ~E'.'.~
                                                                                                                                       ~ . t''.EGO_CJ.ltrC~tioIo

                             ,-n                       '"




                                                                                                     ..

                                                                                 TABLES
                                                              SITE 707 ROAD BASE SAMPLE RESULTS
    Sample 10                             K-40 (pCi/g)             Ra-226 (pCi/g)   C5-137 (pCi/g)        Bi-214 (pCi/g)            Pb-214 (pCi/g)
  03AB707-243                                    0.9625               -0.0327                 0             0.04739                       0.05083
  03AB707-244                                     10.66                0.2727            0.0003179           0.2967                        0.2651
  03AB707-245                                     1.387              -0.005944                0             0.05911                      0.003418
  03AB707-246                                     1.767                0.1753            -0.003111          0.04795                        0.1434
  03AB707-247                                    4.043                 0.3342             0.002867          0.09128                        0.2231
  03AB707-248                                     4.025                0.2588                 0              0.2039                        0.2427
  03AB707-249                                     1.819                0.2468              0.00544           0.1213                        0.1636



Investigation of Anomalous Soil Samples at HPNS .docx                               14                                              Inves tigation Co nclusion
                                                                                                                                   Anomalous Soil Samples
                                                                                                                at Hunte rs Point Naval Shipyard, Revis ion I
                                                                                                                                                   April 201 4
     Case 3:18-cv-05330-JD                         Document 1-1    Filed 08/29/18   Page 114 of 169


As the results of all but one sample seemed to closely match the low K-40, Ra-226, and progeny
concentrations seen in the anomalous results, this site is a potential source of the material. Note
that the only result that did not match the radionuclide signature (Sample ID 03AB707-244) was
collected at the surface, and not in the actual "gray road base" stratum.

November 7 to 8, 2012
Visual Comparison of BS17 SU-002 Archived Soil Samples and Associated Tuna Cans
On November 7 to 8, 2012, Erik Abkemeier, Greg Joyce, and Rick Weingarz compared visual
characteristics of different soil samples from the four different systematic sets collected within
B517 SU-002. Samples 8 to 43 were the original set of systematics, samples 72 to 107 were the
second set of systematics, samples 123 to158 were the third set of systematics (with anomalously
low K-40, Ra-226, and progeny concentrations), and samples 159 to 194 were the fourth set of
systematics collected and analyzed as a result of this investigation. Because there was a
comparatively small amount of remediation performed, one would not expect a significant
change in the radio nuclide concentration or physical characteristics within a small area.
Attachment 12 provides photographs and locations of the various groupings of soil samples, both
from tuna cans and excess soil sample bags.

One clear feature is that the samples from the third set of systematic samples do not appear
similar in color to any of the other systematic samples, and all of the samples within the set look
extremely similar, if not identical. This color uniformity coupled with the homogeneity of the
low K-40, Ra-226, and progeny concentrations in an area with many visually distinct soil types
within the survey unit led the investigators to conclude that the soil samples were not collected
from B517 SU-002.

November 29 to December 3,2012
Initial Investigation Report
The initial investigation report titled Investigation of Low Potassium Activity Concentrations in
Soil Samples at Hunters Point Naval Shipyard is provided to the Navy and the NRC.

October 5 to 21,2013

Update and Response to Navy Letter
On October 3,2013, Navy management held a meeting with TtEC management to discuss a
proposed update to the November 2012 initial investigation report. At the conclusion of this
meeting, the Navy issued a letter (Attachment 13) on the same date requesting additional
information.                   .

TtEe agreed to reissue the initial report to include a status of corrective actions, as well as
provide additional information on the investigation since submitting the initial report on
November 29, 2012. The revised report incorporated the additional information requested by the
Navy and updated the status of corrective actions taken by TtEC as of October 2013.

The Navy asked -that TtEC identify the origin of the "low K-40" soil that may have been
substituted in the sampling process (see question l.c, Attachment 13). The investigators initially
suspected the source of the "low K-40" soil was the Building 707 Triangle Area. Subsequent
investigation of other potential source materials and analyses revealed that drill cuttings
Investigation of Anomalous Soil Samples at HPNS.docx          15                                       Investigation Conclusion
                                                                                                       Anomalous Soil Samples
                                                                                    at Hunters Point Naval Shipyard, Revision I
                                                                                                                     April 2014
          Case 3:18-cv-05330-JD                          Document 1-1    Filed 08/29/18        Page 115 of 169


consisting of greenish/grayish soil present on the ground floor of Building 2531211 have
radioanalytical characteristics consistent with the "low K-40" soil. The radio analytical results
f0-f-iflese soil samples--are-e0-nta-i-ned-in A-:ttaehmenH4and a-re-sunnnari"Zed in Table 6.

                                                              TABLE 6
                    BUILDING 253/211 DRILL CUTTING SOIL SAMPLE RESULTS
  Sample 10          Bi-214 (pCi!g) Cs-137 (pCi/g) K-40 (pCi!g) Pb-214 (pCi/g) Ra-226 (pCi/g)                 Comments
04AB253-901                    0.04346                    0     0.1799     0.01653         0.02979 Green
04AB253-902                     0.1198                    0       3.64      0.1448           0.4302 Brownish-white
04AB253-903                  0.001009                     0     0.3812      0.1263           0.1748 Green
04AB253-904                     0.3593             0.003745      8.103       0.4839          0.9601 Brown/White mix
04AB253-905                    0.03367          -0.0001166      0.4592   -0.0007405          0.1023 Green
04AB253-906                     0.1627            -0.002036      3.323       0.2025          0.3245 Dark Brown

The significance of this discovery was that if individuals decided to substitute samples from one
source, it would be easier in the confines of a building where the actions are less likely to be
observed by others. Either the Building 707 Triangle Area or the Building 2531211 drill cuttings,
or both, may have been used as substitute soil samples, as both soil sources exhibit similar
radiological characteristics. However, the investigators were unable to conclusively determine a
source.

Copies of chain-of-custody forms, gamma static surveys, scan surveys, daily report information,
and other ancillary information associated with the survey units listed in Tables 2 and 3 are
included as Attachment 15.

Several other issues were identified through a review of survey data and chain of custody records
(see request l.d in Attachment 13):

      •     The same individual, Ray Roberson, was listed on the chain-of-custody form as having
            collected soil samples on May 31, 2012, at Survey Unit 304 at the same time he was
            listed as collecting soil samples at North Pier Survey Unit Ii. The purpose for discussing
            Ray Roberson as the signatory on chain-of-custody forms is to pinpoint any unusual
            documentation; it is not meant to imply that Mr. Roberson was the sole cause or
            contributor to the anomalous data.
      •     Gamma static surveys were conducted in North Pier Survey Units 1,8, 10, and lion
            May 31,2012, from 14:52 to 16:25. The soil samples from these areas were documented
            as having been received at the Curtis and Tompkins laboratory from 16: 12 to 16:45. If
            the soil samples had been collected appropriately, gamma static surveys would have been
            collected prior to collection of the soil samples.
      •     The collection of I-minute statics in Survey Unit 1 on May 31, 2012, for 20 samples from
            14:52 to 15: 14 (22 minutes), Survey Unit 8 from 15: 18 to 15:39 (21 minutes), Survey
            Unit 10 from 15:41 to 16:03 (22 minutes), and Survey Unit 11 from 16:04 to 16:25
            (21 minutes) is not consistent with the typical times to collect I-minute gamma static
            measurements (typically in the 28- to 32-minute range for 20 measurements). This is
            indicative that the gamma static measurements may have been collected in a smaller area
            than a typical survey unit.

Investigation of Anomalo us Soil Samples at HPNS .docx            16                                          Investigation Conclusion
                                                                                                              Anoma lous Soil Samples
                                                                                          at Hunte rs Point Naval Shipyard, Revision 1
                                                                                                                            April 2014
     Case 3:18-cv-05330-JD                             Document 1-1    Filed 08/29/18   Page 116 of 169



       •    Chain-of-custody forms for the North Pier Survey Units 1,8, 10, and 11 in
            Attachment 15 list the name of the sampler as "Ray Roberson," but the chain-of-custody
            form for Survey Unit 304 lists the name of the sampler as "R. Roberson."
       •    In the Site 707 Survey Unit 17 area, only a minor remedial action was taken. Prior to the
            remediation, 40 percent of the gamma static surveys exceeded the mean background plus
            three sigma investigation limit. On June 8, 2011, during the collection of soil samples,
            none of the gamma static survey measurements was above the mean background plus
            three sigma investigation level. This brings into question whether soil samples collected
            on June 8, 2011, were from the same area from which previous samples were collected.
All of the individuals who appeared to be involved based on these ancillary records are the same
individuals identified as either signing as the sample collector for anomalous soil samples and/or
the Health Physics Supervisor responsible for the sample collection. As such, these individuals
received disciplinary action, and the associated data had already been rejected from inclusion in
any FSS reports, as the associated resampling work was conducted in its entirety.

FINDINGS
The investigation was conducted to assess a discrepancy regarding the final systematic soil
samples from B517 SU-002, which may not have been collected at the locations specified in the
FSS report. The following are findings based on various possible scenarios that might have
contributed to or caused the discrepancy:

      •     Hypothesis: Did Instrument Error Cause the Discrepancy?
                  o     The excellent correlation between on-site laboratory gamma spectroscopy results
                        and the off-site gamma spectroscopy results for K-40, Ra-226, Bi-214, and
                        Pb-214 effectively rules out instrument error as a cause for the anomalously low
                        K-40, Ra-226, and progeny results. A comparison of onsite and offsite laboratory
                        results is contained in Attachment 3.
      •     Hypothesis: Did Laboratory Error Cause the Discrepancy?
                  o    Curtis and Tompkins laboratory technicians are essentially blind of field sampling
                       events.
                  o    Curtis and Tompkins chain of custody and sample control are robust and well
                       controlled. Information provided by Curtis and Tompkins laboratory technicians
                       corroborating chain of custody and sample control is contained in Attachment 9.
      •     Hypothesis: Were the Anomalous Samples Collected at the Prescribed Depth?
                  o    The idea that individuals sampling soil may have either consciously or
                       accidentally sampled bedrock soil with low concentrations of K-40, Ra-226, and
                       its progeny was not supported by either observations from the potholing or the
                       subsurface sampling. Information is contained in Attachments 6 and 7.
                 o     No lithological evidence suggests that there is a bedrock soil layer, light gray in
                       color and contiguous across B517 SU-002 at less than 2 feet bgs, that would
                       account for anomalous readings in all 36 final systematic sample locations.




Investigation of Anomalous Soil Samples at HPNS.docx              17                                       Investigation Conclusion
                                                                                                           Anomalous Soil Samples
                                                                                        at Hunters Point Naval Shipyard. Revision I
                                                                                                                         April 2014
          Case 3:18-cv-05330-JD                        Document 1-1   Filed 08/29/18        Page 117 of 169


      •    Hypothesis: Can Sample Results in Question Be Replicated?
                 o     Samples collected dllri~K~e inve tigation fail to yield results that match the
                       uniform results for K-40, Ra-226, and progeny produced in the anomalous set of
                       systematic results for each survey unit in question. Collection of soil samples at
                       various depths within a survey unit does not result in replicating anomalously low
                       K-40, Ra-226, and progeny results, with few exceptions. The exceptions noted
                       are at depths significantly below the surface.
     •     Hypothesis: Does Visual Inspection and Comparison Show Soil Homogeneity?
                 o     Visual inspection of the survey units in question shows a wide variety of soil
                       types, such that a consistent concentration of naturally occurring radioactive
                       materials within an individual survey unit is unlikely.
                 o     Visual inspection of the anomalous soil samples as compared to other soil
                       samples collected in the area shows a homogeneity in the anomalous soil samples
                       that is not produced in any other soil sample collected within the area.
     •     Hypothesis: Did Inappropriate Sampling Techniques Result in Discrepancies?
                 o     All individuals interviewed claimed all appropriate soil sampling techniques were
                       employed. Personnel interview information is contained in Attachment 9.
     •     Hypothesis: Did Management Commitment to Schedule Create a Motive to
           Complete Work by Unethical Means?
                 o     Field RCTs, lab technicians, and laborers from the sampling crew, when directly
                       asked during individual interviews if they felt pressure to meet a schedule, all
                       stated that they felt no pressure to complete work. The one exception was Steve
                       Rolfe's comments that the work in the 707 Area had not been completed within
                       the period of performance, and that there was an extended period of time that
                       billable work had not been completed in Parcel E.
                 o     As the RCTs are subcontracted workers typically migrating to different projects at
                       the completion of contract work, it is counterintuitive for them to complete work
                       in an unethical manner. When the work is completed, the RCTs associated with
                       the contract are released from work, and must seek employment on another
                       contract. Thus, it appears to be beneficial to the RCTs for a work period to be
                       extended as long as possible, such as through more remediation work resulting
                       from systematic soil samples with concentrations of radionuc1ides of concern
                       exceeding the radiological release criteria. Personnel interview information is
                       contained in Attachment 9.

CONCLUSIONS
With the above hypotheses ruled out, there is one feasible explanation for samples exhibiting
consistently low concentrations of K-40, Ra-226, and progeny, with visual characteristics that
are similar, if not identical, but not representative of the heterogeneous soil types within the
survey units in question. That explanation is that the persons listed as the sample collectors on
the chain-of-custody forms, either by themselves or in conjunction with others, collected soil
samples in areas outside the designated survey units. Note that Mr. Anthony Smith and Mr.


Investigation of Anomalous Soil Samples at HPNS.docx           18                                         Investigation Conclusion
                                                                                                          Anomalous Soil Samples
                                                                                       at Hunters Point Naval Shipyard, Revision I
                                                                                                                        April 2014
     Case 3:18-cv-05330-JD                         Document 1-1    Filed 08/29/18   Page 118 of 169


Joseph Cunningham were listed on the chain-of-custody forms but were not available for
interviews because they had left the HPNS project before the investigation began.

The homogeneity of the soil sample results and visual characteristics indicate that the soil
samples may have been collected from one homogeneous soil type, possibly from a small area.
The soil referred to as the "road base" in the Survey Unit 22/23 areas of the Site 707 may be a
source of the material, as its radionuclide signature is similar to that of the soil from the
"anomalous" samples, and the grayish color is similar. Sample results collected from drill
cuttings from another contractor and stored in Buildings 253/211 show similar "low K-40"
results as discussed previously. This may have also served as the source of the "low K-40" soil.
Additionally, in the case of sample collection at the North Pier, soil samples were collected from
four survey units at the North Pier and one other survey unit all in one day according to the
chain-of-custody forms. This quantity of sample collection performed in one day is unrealistic
based on interviews with members of the sampling team. The sample collection rate of one to
two survey units per day appears to be corroborated by the sample collection rate performed for
this investigation.

The motivation for collecting soil samples in areas outside the assigned survey units is unclear.
The radioanalytical and physical evidence contradicts the oral testimony provided by members
listed on the sampling section of the chain-of-custody forms. Note that multiple survey units in
the Site 707 area were remediated primarily as a result of Cs-137 concentrations exceeding the
release criterion. The five survey units within the North Pier that showed anomalous results
provided a basis for an FSS report to radiologically release the North Pier.

It is counterintuitive for RCTs and HPNS supervisors to want to complete the release of an area
rapidly, as this may shorten the length of employment. On the other hand, if the RCT and/or
supervisors believed that rapidly finishing survey units would result in future work awards from
the Navy at HPNS, or if they wanted to collect samples from an area that did not require
significant manual effort, such as the uses of picks and chipper hammers, some motivation to
sample in an area outside a survey unit may exist. It is not believed that the anomalous soil
samples were a result of sabotage, as the soil sample results all yielded radio nuclide of concern
concentrations well below any respective release criterion.

To maximize the Navy's confidence in the overall quality of data provided in the future, and to
minimize the likelihood of accidental and/or purposeful inappropriate soil sampling to the
maximum extent possible in the future, TtEC developed corrective actions to strengthen the
quality of all aspects of the soil sample collection and quality control review process. For
example, one corrective action focused on retraining the field teams in proper sample collection
procedures including proper use and documentation of chain-of-custody forms. As another
example, to send a message to all workers that any apparent deviation from sampling protocol
will not be tolerated, TtEC proactively removed the three remaining RCTs who had signed the
majority of the chains of custody for the identified unacceptable soil samples from any TtEC
projects, and severely disciplined the two health physics supervisors responsible for supervising
the RTCs. As a third example, to provide increased soil sample collection quality across the
entire process, TtEC significantly increased the number of quality control surveillances by the
Project QC Manager or another authorized independent party during the final systematic soil
sample collection process. In addition to close personal scrutiny by health physics professionals,
TtEC also uses Microsoft Excel conditional formatting in soil sample result spreadsheets to

Investigation of Anomalous Soil Samples at HPNS.docx          19                                       Investigation Conclusion
                                                                                                       Anomalous Soil Samples
                                                                                    at Hunters Point Naval Shipyard. Revision I
                                                                                                                     April 2014
        Case 3:18-cv-05330-JD            Document 1-1         Filed 08/29/18          Page 119 of 169


screen and identify soil sample results for closer review and evaluation. A detailed listing of
each of the corrective actions implemented by TtEC is included in the "Corrective Actions"
section.

Since implementing these corrective actions, TtEC has performed numerous quality control
surveillances to confirm the corrective actions were correctly implemented. These inspections
have validated that the corrective actions were implemented in accordance with TtEC's plan.
More importantly, since implementing these corrective actions, a recurrence of anomalous
sample results similar to the results identified in this investigation report has not occurred

ROOT CAUSE
A TtEC Quality Event RCA summary form is provided as Attachment 16. This form is used to
conduct the causal analysis of events that resulted in a deficient condition. Each item identified
as a cause has a corrective action that is associated with it.

PROCESSES THAT MAY HA VE CONTRIBUTED TO THE CONDITION
Using the Systematic Cause Analysis Technique (SCAT), the following potential processes that
may have contributed to mishandling of soil samples and falsified data are listed. The corrective
actions in the following section provide a means to prevent the same events from occurring in the
future.

    •   IMPROPER FOCUS ON PRODUCTION - The HPNS project management team may
        have conveyed a message to workers that completion of work by a scheduled date was of
        undue importance.

    •   INADEQUATE FIELD SUPERVISION - The HPNS project management team may
        not have shown adequate supervision over health physics supervisors. Health physics
        supervisors may not have provided adequate supervision over radiation control
        technicians and laborers.

    •   INADEQUA TE QUALITY CONTROL SURVEILLANCES - HPNS QC personnel
        may not have conducted a sufficient number or adequately detailed surveillances during
        soil sample collection.

    •   INADEQUATE REVIEW OF DATA - The Radiation Safety Officer may not have
        sufficiently reviewed radioanalytical data collected during the soil sampling process.

    •   INADEQUATE CONCERN FOR OTHERS - HPNS individual workers may not have
        questioned actions by co-workers that appeared to be nonstandard.

CORRECTIVE ACTIONS
The following is an update on corrective actions from the initial investigation report dated
November 29,2012. The corrective actions are shown in italics, followed by a listing of the
status of the corrective action, as well as a reference to evidence of completion.

       1. Take disciplinary action for individuals identified as the sample collector on the chain-of-
             custody forms for sample sets containing anomalous data reflecting uniformly low K-40,
             Ra-226, and progeny concentrations. Disciplinary action will also be taken with the
Investigation of Anomalous Soil Samples at HPNS.docx 20                                Investigation Conclusion
                                                                                                    Anomalous Soil Samples
                                                                                 at Hunters Point Naval Shipyard, Revision I
                                                                                                                  April 2014
    Case 3:18-cv-05330-JD              Document 1-1          Filed 08/29/18        Page 120 of 169



         management team, quality control team, and radiological supervision responsible for
         overseeing and inspecting the work.
         Disciplinary action has been taken in that the three RCTs still working at the site and
         whose signatures appeared as sample collector on the chain-of-custody forms for
         anomalous samples in the survey units as identified in Tables 2 and 3 of the report were
         removed from TtEC projects. Additionally, the two TtEC health physics supervisors who
         were responsible for the soil sample collection work in the survey units with the
         anomalous samples were given one month leave without pay, and letters of caution. One
         of the two Health Physics Supervisors is no longer employed by TtEC. All other project
         management personnel who were involved in the sampling process or could have
         identified the sampling malfeasances, including the project management team, quality
         control team, and radiation safety team, were issued letters of caution.
         This action item is closed.
    2. Retrain all personnel involved in sampling on proper sampling as detailed in SOP HPO-
       Tt-009, or corporate equivalent procedure, focusing on sample collection depth,
       representativeness of soil sample, and use and decontamination of equipment.
         All individuals directly involved in soil sample collection at HPNS were provided
         refresher training on December 5,2012, by the site Radiation Safety Officer
         Representative (RSOR) on proper soil sample collection per SOP HPO-Tt-009, as well as
         proper filling out of chain-of-custody forms. Training sign-in sheets are provided in
         Attachment 17. Refresher training is held annually.
         This action item is closed.
    3. Train all individuals at HPNS involved with soil sampling on importance of ethical
       beha vior, and company and personal ramifications offalsified data. Note that this
       training has already been initiated with TtEe employees and subcontractors associated
       with sample collection.
        All individuals involved in soil sample collection, as well as virtually every TtEC
        employee and subcontractor on the HPNS site, were provided training on ethical behavior
        by the HPNS RSOR on November 28,2012; January 29,2013; February 12,2013; and
        January 30, 2014. A copy of the training presentation and copies of sign in sheets are
        provided in Attachment 18.
         This action item is closed.
    4. Determine, with Navy input, whether survey units identified for possible resampling in
       Table 3 and/or other survey units need to be resampled.
        TtEC, under its own initiative, resampled all survey units listed in Table 3 with the
        exception of the Parcel C Trench Survey Units 234, 238, and 242. Any survey units
        exhibiting activity concentration exceeding the release criterion for a respective
        radionuclide of concern were remediated and resampled until all release criteria had been
        met. All suspect data, including anomalous soil sample data and gamma static survey
        results, were rejected.

             FSS reports are in the process of being drafted for survey units associated with the North
             Pier and the Former 707 Triangle Area. Each FSS report will contain a reference to data
             being rejected due to identification during the quality assurance review process.
Investigation of Anomalous Soil Samples at HPNS.docx  21                                  Investigation Conclusion
                                                                                                      Anomalous Soil Samples
                                                                                    at Hunters Point Naval Shipyard, Revision I
                                                                                                                     April 2014
         Case 3:18-cv-05330-JD                         Document 1-1   Filed 08/29/18        Page 121 of 169


          The four Parcel C trench units listed in Table 3 had already been backfilled, and draft
          SUPR reports submitted to the regulatory agencies for concurrence. TtEC submitted
      ----fee~mmendat_i~nsetmeeffling-'ffene-h -U nits- 234, -23-8-,-24-2; and--382-in- t-he-Oe_tober-zOB
          investigation report. A summary of TtEC' s final recommendations for these four trench
          units has been updated and is included as Attachment 19.
           Ancillary soil samples were collected on January 14, 2013 outside of the footprint of the
           trench backfill for Trench Unit 234. The results were compared to the original soil
           systematic sample results and were found to be similar, which indicates the original low
           K-40 results were representative of subsurface conditions.
           Trench Units 238 and 242, located outbound of the former shoreline in Parcel C, reported
           low K-40 concentrations. Statistical analysis of original and ancillary data for Trench
           Units 238 and 242 indicated the samples may be representative of the trench conditions,
           but the data were not conclusive. Fill encountered in the trench excavations was
           compared to fill materials described in the Site Conceptual Model for Parcel C
           (Attachment 1). Both trench units contained greenish gray soils as shown in excavation
           photographs, and are in proximity to other locations with documented Franciscan-derived
           fill material. Franciscan-derived fill is well documented as having very low levels of
           K-40 and other isotopes. Based on this association, the low K-40 concentrations reported
           for these trenches were found to be correlative to typical concentrations observed at
           Parcel C in the presence of Franciscan-derived fill material.
           Trench Unit 302 has been re-excavated, and soil samples re-collected and analyzed. All
           soil samples were less than the HPNS site radiological release criteria. A revised SUPR
           for Trench Unit 302 was submitted to the Navy for review in January 2014.
           This action item is closed.
     5. Continue to resample, and remediate as necessary, survey units identified in Table 2.
        Once the survey units have verified sample analytical data supporting a recommendation
        of radiological free release, final status survey reports will be prepared and submitted to
        the Navy for review and approval.
           TtEC resampled all survey units listed in Table 2. Any survey units exhibiting activity
           concentrations exceeding the release criterion for a respective radionuclide of concern
           were remediated and resampled until all release criteria were met. All suspect data,
           including anomalous soil sample data and gamma static survey results, were rejected.
           FSS reports are in the process of being drafted. Each FSS report will contain a reference
           to data being rejected due to identification during the quality assurance review process.
           This action item is closed.
     6. Implement a protocol such that an independent QC person, or health physicist, will verify
        through a quality control surveillance that a minimum of 10 percent offinal systematic
        samples for each survey unit have been collected in accordance with the appropriate
        work documents (SOPs, Task-specific Plans, etc.).
           A member of the HPNS quality control team has conducted a surveillance of a minimum
           of 10 percent of final systematic sample collection. Issues identified during the
           surveillances have been documented and are corrected. Documentation of QC
           surveillances is contained in Attachment 20.
           This action item is closed.
Investigation of Anomalous Soil Samples at HPNS.docx           22                                         Investigation Conclusion
                                                                                                          Anomalous Soil Samples
                                                                                       at Hunters Point Naval Shipyard, Revision I
                                                                                                                        April 2014
      Case 3:18-cv-05330-JD                            Document 1-1    Filed 08/29/18   Page 122 of 169



       7. Develop and implement a protocol for reviewing sample sets to identify radionuclide
          concentration trends for radionuclides quantified in gamma spectroscopy reports that are
          inconsistent with previous sampling within a survey unit and/or surrounding survey units.
          Note that this will include K-40 and other radionuclides that are not radionuclides of
          concern.
            As soil sample results are imported into the database, the results are screened by the use
            of Microsoft excel filters to highlight any results with K-40 at concentrations less than
            5 pCi/g. Note that low K-40 soil exists at HPNS as shown by soil sample results in
            Attachment 2, and in the site conceptual model as shown in Attachment 1. For any results
            that meet this criterion, the corporate Radiation Safety Officer is notified bye-mail to
            make a further evaluation. The number of low K-40 results, the location of the samples
            collected, and previous data for the survey unit (if applicable) are used to determine
            whether the data are suspect. Using this process provides another level of quality
            assurance to ensure that soil sample collection is representative of soil sample from the
            respective survey units.
            This action item is closed.

FINAL CONCLUSION
Collectively, completion of the above action items has resulted in high-quality FSS results.
These corrective actions ensured that all samples were collected and handled in full
compliance with the Sampling and Analysis Plan. TtEC has not had a recurrence of the
type of anomalous soil sample results that led to this investigation, indicating that the
corrective actions have addressed the problem.




Investigation of Anomalous Soil Samples at HPNS.docx              23                                       Investigation Conclusion
                                                                                                           Anomalous Soil Samples
                                                                                        at Hunlers Point Naval Shipyard, Revision I
                                                                                                                         April 2014
         Case 3:18-cv-05330-JD                         Document 1-1      Filed 08/29/18       Page 123 of 169




                                                 This page intentionally left blank.




Investigation of Anomalous Soil Samples at HPNS docx             24                                          Investigation Conclusion
                                                                                                             Anomalous Soil Samples
                                                                                          at Hunters Point Naval Shipyard, Revision 1
                                                                                                                           Apri12014
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 124 of 169




                  EXHIBIT E
     Case 3:18-cv-05330-JD       Document 1-1        Filed 08/29/18   Page 125 of 169




 1   Steve Castleman, SBN 97564
     Collin McCarthy, SBN 305489
 2   Jordan Davis, PTL # 41751
     Tai Yamanaka, PTL # 41173
 3   Chloe Yaw, PTL # 41764
 4   Environmental Law and Justice Clinic
     Golden Gate University School of Law
 5   536 Mission Street
     San Francisco, California 94105-2968
 6   Telephone: (415) 369-5351
     Facsimile: (415) 896-2450
 7
     David C. Anton, SBN 94852
 8   1717 Redwood Ln
     Davis, CA 95616
 9   Telephone: (530) 759-8421
10   Facsimile: (530) 759-8426

11   Attorneys for Petitioners
     GREENACTION FOR HEALTH
12   AND ENVIRONMENTAL JUSTICE
13

14                   UNITED STATES NUCLEAR REGULATORY COMMISSION
15                           Before the Executive Director for Operations
16

17

18   GREENACTION FOR HEALTH AND                  )     10 C.F.R. § 2.206 PETITION
     ENVIRONMENTAL JUSTICE,                      )
19                                               )     TO REVOKE MATERIALS
           Petitioner,                           )
20                                               )     LICENSE NO. 29-31396-01
           v.                                    )
21                                               )
     TETRA TECH EC, Inc.                         )
22                                               )
23          Licensee.                            )
                                                 )
24                                               )
                                                 )
25                                               )
                                                 )
26                                               )
                                                 )
27                                               )
28                                               )
     Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 126 of 169



 1    I.    INTRODUCTION

 2          Greenaction for Health and Environmental Justice (“Greenaction” or “Petitioner”) hereby
 3   seeks the revocation of Materials License No. 29-31396-01, granted by the Nuclear Regulatory
 4   Commission (“NRC”) to Tetra Tech EC, Inc. (“Tetra Tech”). This Petition is made pursuant to 10
 5   C.F.R. § 2.206, which provides that any person may seek to modify, suspend, or revoke an NRC
 6   license.
 7          The United States Navy contracted with Tetra Tech to assist in the cleanup of Hunters Point
 8   Naval Shipyard (“the Shipyard” or “HPNS”) in San Francisco, California, a National Priorities List
 9   Superfund site, including remediation of radiological contamination. However, Tetra Tech’s role
10   was marked by intentional fraud, greed and disregard for the health and safety of present and future
11   San Francisco residents as well as the greater Northern California community.
12          Tetra Tech employees and the radiological subcontractors it directly supervised were
13   involved in at least six types of fraud: (1) fake sampling, in which soil samples – potentially
14   thousands of them – were reported to have been taken at one location when they were actually taken
15   from another; (2) discarding samples and analytical results when they came back radiologically too
16   “hot” (i.e., above the cleanup standard); (3) altering scanning data to make them appear
17   radiologically acceptable; (4) conducting false building surveys in which certain scan results were
18   fabricated and others were falsified; (5) remediating radioactive material in soil improperly, resulting
19   in potentially radioactively-contaminated soil being shipped offsite as well as being used as backfill
20   for trenches at the Shipyard; and (6) altering Portal Monitor procedures so potentially radioactively-
21   contaminated soil was allowed to be shipped offsite for commercial purposes to places unknown.
22          Fraudulent sampling, scanning, and surveys led to fraudulent remediation; sites that required
23   additional cleanup were not remediated and remain contaminated because fake samples indicated
24   areas were “clean” when they were not.
25          Evidence shows Tetra Tech’s top onsite management, its Project Manager and Construction
26   Superintendent, participated in and directed the fraud. Their employees engaged in sustained
27   widespread misconduct, significantly compromising the cleanup. Tetra Tech’s willful fraud
28   demonstrates it is unworthy of an NRC license.


                                                       1
         Case 3:18-cv-05330-JD       Document 1-1        Filed 08/29/18       Page 127 of 169



 1            A. Two Inadequate Investigations

 2            Tetra Tech has admitted it engaged in fraud. But it has not acknowledged the breadth and
 3   scope of the fraud, specifically that it was widespread and directed by onsite management.
 4   After the Navy confronted it with evidence of fraud, Tetra Tech conducted its own “investigation”
 5   into the faked samples (though Tetra Tech calls them “anomalous,” rather than faked). The result
 6   was an April 2014 report, Investigation Conclusion Anomalous Soil Samples at Hunters Point Naval
 7   Shipyard, Revision 1 (“Anomalous Samples Report”). But the investigation was fatally flawed. It was
 8   not conducted by trained investigators and failed to question former employees who were no longer
 9   in danger of losing their jobs if they told the truth. Consequently, the result of the internal inquiry
10   was inconclusive; Tetra Tech claimed it neither determined the source of the phony samples, nor
11   who was responsible.1
12            As their sworn statements in support of this Petition attest, former employees know who was
13   responsible. The soil sampling fraud involved multiple Health Physics Specialists (“HPs”) and
14   supervisors. It began at the direction of top Tetra Tech onsite management and took place over a
15   period of years rather than weeks or months.2 Thousands of samples may be involved, not just the
16   few dozen originally identified by the Navy. Furthermore, the fraud involved a host of activities, not
17   just the soil sampling addressed in the Anomalous Samples Report. Rather, the fraud spanned
18   virtually all radiological remediation functions for which Tetra Tech was responsible.
19            The NRC also conducted an investigation (NRC Investigation Report 1-2014-018). The
20   NRC investigation, conducted from April 29, 2014 to September 17, 2015, “revealed that a
21   Radiation Control Technician (RCT) and a Radiation Task Supervisor (RTS) working for Tetra Tech
22   at HPNS deliberately falsified soil sample surveys . . . . Based on the evidence gathered during the
23   OI investigation, it appears that the RCT and RTS had deliberately falsified soil sample surveys of
24   the HPNS Parcel C.”3 (HPNS is divided into Parcels A-H.) The NRC brought action against Tetra
25
     1
       Exhibit H, Tetra Tech EC, Inc., Investigation Conclusion Anomalous Soil Samples at Hunters Point
26       Naval Shipyard, Revision 1, at ES 2-3 (Apr. 2014).
     2
       See Exhibit H, Attachment 15, Chain-of-Custody Sheets, Gamma Survey Records, and Ancillary
27       Information Associated with Survey Units Containing Anomalous Soil Sample Results as Listed
         in Tables 2 and 3(Apr. 2014) (“Exhibit H2”).
28   3
       Exhibit I, Letter from James M. Trapp, NRC Division of Nuclear Materials Safety to Andrew N.


                                                         2
     Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18       Page 128 of 169



 1   Tech (Docket No. 03038199) and a single supervisor, Justin Hubbard.4 It correctly concluded that
 2   between November 18, 2011 and June 4, 2012, Hubbard, “directed that soil samples be taken from
 3   areas that were suspected to be less contaminated and documented on related chain-of-custody forms
 4   that the soil samples had been taken from areas that had been specified.”5
 5          But the NRC also concluded, in error, that Hubbard was the sole supervisor to direct
 6   fraudulent sampling. It actually involved at least one other HP supervisor and Tetra Tech’s top onsite
 7   management, including its Project Manager and Construction Superintendent. The NRC action
 8   against Hubbard was also limited to fraudulent samples taken in HPNS’s Parcel C, when the
 9   fraudulent sampling actually took place throughout the Shipyard.6
10          The NRC’s investigation was too narrowly focused to uncover the true breadth and depth of
11   the fraud committed by Tetra Tech at the Shipyard. Multiple whistleblowers say they felt the NRC
12   investigators “blew them off” rather than take their concerns seriously. For example, witnesses
13   suggested the NRC interview witnesses whom the NRC investigators never contacted. The NRC also
14   failed to follow up on suggestions for where to take samples and what buildings at HPNS to inspect.7
15          As a result of an inadequate investigation, the NRC took inadequate action. It initially fined
16   Tetra Tech a mere $7,000. But by Confirmatory Order of October 11, 2016,8 the NRC waived even
17   that minimal sum after alternative dispute resolution, leaving only an order that Tetra Tech train its
18   personnel not to lie, cheat or steal – in other words, to do what was already required by law. The
19   NRC took action against only supervisor Justin Hubbard, when other members of management knew
20   about, participated in and directed the extensive radiological fraud.
21          Tetra Tech’s pattern and practice of fraud at the Shipyard demonstrate it cannot be trusted to
22
         Bolt, President, Tetra Tech EC, Inc. on NRC Office of Investigation Report No. 1-2014-018, at 6
23       (Feb. 11, 2016).
     4
       Exhibit J, Letter from Daniel H. Dorman, NRC Regional Administrator to Andrew N. Bolt,
24       President, Tetra Tech EC, Inc. on Tetra Tech EC, Inc. Notice of Violation and Proposed
         Imposition of Civil Penalty - $7,000 – NRC Investigation Report No. 1-2014-018 with
25       Enclosures 1-4 (July 28, 2016).
     5
       Id. Letter from Daniel H. Dorman, NRC Regional Administrator to Justin Hubbard on Notice of
26       Violation (NRC Investigation Report No. 1-2014-018) (July 28, 2016).
     6
       See Exhibit B, Decl. of Anthony Smith, ¶¶ 7-11, 15-32.
27   7
       See Exhibit A, Decl. of Bert Bowers, ¶ 79; Exhibit C, Decl. of Susan Andrews, ¶¶ 56-59; Exhibit
         D, Decl. of Archie Jackson, ¶ 21.
28   8
       Exhibit K, Confirmatory Order In the Matter of Tetra Tech EC, Inc., 81 FR 73144 (Oct. 24, 2016)


                                                       3
      Case 3:18-cv-05330-JD            Document 1-1       Filed 08/29/18      Page 129 of 169



 1   investigate or remediate the site, a site that is anticipated to be transferred to the City of San
 2   Francisco for large-scale residential and commercial development. Tetra Tech's pattern and practice
 3   of fraudulent activities over years of work for the Navy demonstrate that it cannot be trusted with the
 4   great responsibilities the NRC has vested in Tetra Tech by issuance of an NRC license.
 5              Petitioner respectfully urges the NRC to revoke Tetra Tech’s license for its long-running
 6   fraud. Tetra Tech has fundamentally compromised the cleanup of the Shipyard. The NRC should
 7   ensure that the company can never again participate in radiological cleanup at the Shipyard or any
 8   other area of the United States. Finally, the NRC should revoke Tetra Tech’s license to deter other
 9   license holders from engaging in similar fraudulent conduct.
10

11    II.       PARTIES

12              A. Greenaction for Health and Environmental Justice
13              Petitioner Greenaction is a non-profit corporation based in San Francisco, California.
14   Founded in 1997, Greenaction’s mission is to mobilize community power to change government and
15   corporate policies and practices to protect public health and promote environmental, economic and
16   social justice. To build a clean and healthy environment for all, Greenaction works with low income
17   and disadvantaged communities to hold polluters accountable. Greenaction also challenges
18   government agencies that regulate polluters to assure they protect health and promote environmental
19   justice.
20              Some of Petitioner’s members live in neighborhoods abutting the Shipyard and are concerned
21   about its cleanup – particularly fraudulent cleanup – and its effect on their communities. Petitioner’s
22   members are directly impacted by the inadequate cleanup and seek to ensure fraudulent remediation
23   is corrected, that the ongoing remediation be done properly and that both the existing neighborhoods
24   and the new ones intended for the Shipyard be protected from environmental harm. Petitioner’s
25   members have lost all trust in Tetra Tech’s integrity and ability to properly remediate the Shipyard
26   and seek to ensure Tetra Tech is no longer permitted to participate in this and other cleanups by
27

28       (Docket ID NRC-2016-0212).


                                                          4
     Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 130 of 169



 1   revoking its license to do radiological work.
 2           B. Tetra Tech, Inc. and Tetra Tech EC, Inc.

 3          Tetra Tech, Inc. is a worldwide company with corporate headquarters in Morris Plains, New
 4   Jersey. Tetra Tech’s website states that it provides engineering services to public and private clients
 5   addressing the need for water, a clean environment, infrastructure, resource management and
 6   international development. Tetra Tech EC, Inc. is a wholly owned subsidiary of Tetra Tech, Inc., and
 7   is based in Pasadena, California.
 8          Tetra Tech EC, Inc. contracted with the United States Navy to perform remediation of
 9   radioactive materials at closed military bases, including the decommissioned Hunters Point Naval
10   Shipyard in San Francisco. Tetra Tech initially hired New World Environmental Inc. (“NWE”), a
11   radiological staffing firm, as a radiological subcontractor. Subsequently, on or about April of 2009,
12   Tetra Tech invoked its first-ever use of its own NRC-issued Materials License, NO. 29-31396-01,
13   and the company became directly responsible for radiological work at the Shipyard.
14

15    III. JURISDICTION
16          The northern portion of HPNS is subject to exclusive federal jurisdiction. The United States
17   obtained ownership of the property, the State of California ceded legislative jurisdiction to the
18   United States, and the Federal Government accepted jurisdiction through letters of acceptance by the
19   Secretary of the Navy on December 22, 1942, February 4, 1943, and June 4, 1943. The Federal
20   Government has not relinquished exclusive legislative jurisdiction over the federal enclave to which
21   the Federal Government accepted jurisdiction in 1942 and 1943. Attached as Exhibit L is a map of
22   HPNS. The shaded area of the Shipyard is the area in which the Federal Government accepted
23   exclusive jurisdiction and the NRC has jurisdiction to the exclusion of the State of California.
24          California is an “agreement state” with the NRC. As such, the State of California has joint
25   jurisdiction with the NRC in oversight of conduct of NRC-licensed entities in areas where there is no
26   exclusive federal jurisdiction. As the United States did not obtain exclusive jurisdiction over the
27   southern portion of HPNS, the State of California maintains jurisdiction in that area.
28          Tetra Tech’s radiological fraud took place in both the exclusive Federal jurisdiction zone and

                                                       5
         Case 3:18-cv-05330-JD        Document 1-1       Filed 08/29/18      Page 131 of 169



 1   the area under jurisdiction of the State of California.
 2

 3       IV.   STATEMENT OF LAW

 4             A. NRC Authority
 5             The Nuclear Regulatory Commission has jurisdiction to issue licenses related to the handling
 6   of radioactive materials including jurisdiction over Materials Licenses granted to contractors
 7   involved in the remediation and handling of radioactive wastes. Tetra Tech has a Materials License
 8   issued by the NRC. The initial License was number 46-27767-01. Tetra Tech was subsequently
 9   issued License No. 29-31396-10. (License numbers have changed due to Tetra Tech changing the
10   principal location of the Radiation Safety Officer (“RSO”) named on the license. This move changed
11   the region within which it was to be regulated and prompted the NRC to issue new license numbers
12   to reflect the proper NRC Region responsible for oversight.)
13   Licenses are required for byproduct material, source material and special nuclear material. Tetra
14   Tech’s NRC licenses were issued pursuant to these regulations:
15
                     10 C.F.R. § 30.3: “[N]o person shall manufacture, produce, transfer, receive, acquire,
16                    own, possess, or use byproduct material except as authorized in a specific or general
                      license issued in accordance with the regulations in this chapter.”
17                   10 C.F.R. § 40.3: “A person subject to the regulations in this part may not receive title
18                    to, own, receive, possess, use, transfer, provide for long-term care, deliver or dispose
                      of byproduct material or residual radioactive material as defined in this part or any
19                    source material after removal from its place of deposit in nature, unless authorized in a
20                    specific or general license issued by the Commission under the regulations in this
                      part.”
21                   10 C.F.R. § 70.3: “No person subject to the regulations in this part shall receive title
                      to, own, acquire, deliver, receive, possess, use, or transfer special nuclear material
22
                      except as authorized in a license issued by the Commission pursuant to these
23                    regulations.”
24
               The NRC has promulgated regulations and procedures to provide the public with the means
25
     to request that the Commission modify, suspend or revoke a license.9 This Petition is brought
26
     pursuant to 10 C.F.R. § 2.206.
27

28   9
         10 C.F.R. § 2.206; see also NRC, Management Directive 8.11: Review Process for 10 C.F.R. §


                                                         6
      Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 132 of 169



 1    V.    STATEMENT OF FACTS

 2           A. Discovery of Part of the Fraud
 3          The initial suspicion that Tetra Tech engaged in fraudulent sampling was raised in October
 4   2012, by the Navy’s Radiological Affairs Support Office (“RASO”). While reviewing post-
 5   remediation soil sample results, a RASO official identified discrepancies between the first two sets
 6   of systematic sample results from the footprint of former Building 517 (“B517”)10 and the third set
 7   taken from that site post-remediation: “These results reported low potassium-40 (K-40) sample
 8   activity (i.e. < 5 picocuries per gram) coupled with low activity for radium 226 (Ra-226), bismuth-
 9   214 (Bi-214) and lead-214 (Pb-214) in 36 out of 36 samples.”11 This difference in lab results raised
10   the prospect that the post-remediation samples were taken from a different site than the first two sets
11   of systematic samples, that is, a different location from that claimed on chain-of-custody (“COC”)
12   documents.
13          In response to the Navy’s concerns, Tetra Tech conducted an “investigation” and compiled
14   its findings in the Anomalous Samples Report. Tetra Tech conceded that the “anomalous” samples
15   were not taken from the areas that were claimed, and speculated the samples could have been taken
16   from two areas of the Shipyard: “Either the former Building 707 Triangle Area or the Building
17   253/211 drill cuttings, or a combination of both, may have been used as substitute soil samples;
18   however, the investigators were unable to conclusively determine a source.”12
19          Not only the low K-40 results indicated fraudulent sampling. So did the sample’s uniform
20   physical characteristics: “One clear feature is that the samples from the third set of systematic
21   samples do not appear similar in color to any of the other systematic samples, and all of the samples
22   within the set look extremely similar, if not identical. This color uniformity coupled with the
23   homogeneity of the low K-40, Ra-226, and progeny concentrations . . . led the investigators to
24

25

26       2.206 Petitions.
     10
        Building 517 had previously been used as a brig (jail) and the Naval Radiological Defense
27       Laboratory Cobalt Animal Irradiation Facility. Exhibit H at 3.
     11
        Exhibit H at ES-1.
28   12
        Id. at ES-2.


                                                        7
      Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18     Page 133 of 169



 1   conclude that the soil samples were not collected from B517.”13
 2          In fact, examination of the COCs alone substantiates fraud. Proper procedure14 calls for
 3   samplers to note the correct time and location for every sample. However, COCs for anomalous
 4   samples purport they were collected in exact five-minute intervals, precisely on the five-minute
 5   mark. For example, COCs for anomalous samples which identify Jeff Rolfe as the sampler claim he
 6   took 8 samples (Nos. 03707-S0016-F079-01 through 03707-S0016-F086-01) on June 7, 2011 at
 7   13:40, 13:45, 13:50, 13:55, and every five minutes thereafter, exactly, until 14:15. The next day,
 8   COCs claim he took 20 samples (03707-S0009-F059-01 through 0307-S0009-F078-01) every 5
 9   minutes from 8:15 am until 10:20 and an additional 20 samples (03707-S0017-F064-01 through
10   03707-S0017-F083-01), every 5 minutes from 10:30 a.m. until 12:05 p.m.15
11          Similarly, COCs for 20 anomalous samples (No. 02-NPR-S0007-F030-01 through 02-NPR-
12   S0007-F049-01) purportedly taken by Justin Hubbard, an HP supervisor, claim he took them on June
13   4, 2012 at: 13:00; 13:05; 13:10 and exactly five minutes thereafter until 14:35.16
14          According to experienced HPs, however, soil samples cannot be taken with such rigid
15   regularity. The need to prevent cross-contamination of samples and sampling equipment from one
16   sample location to another precludes it; HPs need to follow exacting practices to decontaminate all
17   sampling equipment between samples, making five-minute intervals impossible.17 Indeed, in an
18   interview of Justin Hubbard conducted by Tetra Tech in connection with the Anomalous Samples
19   Report, Hubbard notes that “[o]ne sample could take 40 minutes.”18
20          Other COCs claim samples were taken precisely every three minutes without deviation. For
21   example, 18 anomalous samples purportedly taken by Joe Cunningham (Nos. 02-PCT-302-005
22   through 02-PCT-302-022) on May 22, 2012 were supposedly taken at 10:00; 10:03; 10:06; 10:09;
23

24
     13
        Id. at 15.
25   14
        See Exhibit O, U.S. Navy Base Realignment and Closure Program Management Office West,
         Base-Wide Radiological Work Plan, Revision 1, Hunters Point Shipyard, San Francisco, CA
26       (Oct. 5, 2007).
     15
        Exhibit H2 at 419.
27   16
        Id. at 64.
     17
        See Exhibit B at ¶¶ 21-23; Exhibit A at ¶ 73.
28   18
        Exhibit H, Attachment 9, Personnel Interviews, 7 (“Exhibit H1”).


                                                       8
      Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18     Page 134 of 169



 1   10:12; 10:15; 10:18, and continuing exactly every three minutes thereafter until 10:51.19
 2          To Petitioner’s knowledge, neither Tetra Tech nor the Navy has ever offered an explanation
 3   for these dubious patterns on the COCs. However, former employee Anthony Smith can explain it.
 4   As further detailed below, he says the COCs were filled out in advance – including the time of
 5   sampling and who took the sample – by someone other than the actual sampler, calling into question
 6   the entire sampling and documentation process.20
 7          COCs also reported that samplers took more samples than was physically possible and that
 8   HPs were in two places at once. When interviewed by Tetra Tech, “both Justin Hubbard and Ray
 9   Roberson stated that collection of more than two sets of systematic samples in one day would be
10   difficult.” But “Roberson was listed on chains of custody for four sets of systematic samples from
11   the North Pier, which is extremely rocky and difficult to sample, as well as an additional trench
12   segment survey unit, all on May 31, 2012.”21 Even more remarkably, Roberson (who has since died)
13   supposedly collected soil samples at Survey Unit 304 “at the same time he was listed as collecting
14   soil samples at North Pier Survey Unit 11.”22
15          False samples were also taken over a lengthy period of time. According to the COCs in
16   Attachment 15 to the Anomalous Samples Report, the earliest listed phony samples were taken on
17   March 4, 2011 (Nos. 03707-S0016-F050-01 and 03707-S0016-F057-01), while the latest were taken
18   nearly a year-and-a-half later, on August 15, 2012 (Nos. 03707-S0022-F056-01 through 03707-
19   S0022-F080-01). Former employees say the COC fraud went on even longer, beginning before 2009
20   and continuing until at least late September 2012.23
21          The Navy’s original suspicions centered on 36 phony samples. But a review of the sampling
22   results contained in Attachment 15 to the Anomalous Samples Report indicates there were many
23   more samples with K-40 below 5 picocuries per gram: “Since January 1, 2008, approximately 2,500
24

25
     19
        Exhibit H2 at 789-790.
26   20
        See Exhibit B. at ¶¶ 21-23.
     21
        Exhibit H at 11.
27   22
        Id. at 16.
     23
        Exhibit B at ¶¶ 7, 15-20; Exhibit F ¶¶ 2, 9 (Chain-of-custody fraud ongoing in 2007-2008 during
28       those 2 years of her employment at HPNS).


                                                        9
      Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18     Page 135 of 169



 1   samples meeting the definition of ‘low K-40’ samples have been collected at HPNS.”24
 2          Although Tetra Tech interviewed various people during its investigation – some of those
 3   listed on the COCs, their supervisors, other members of the sampling crews and laboratory personnel
 4   – it stated, “[t]he results of the interviews were inconclusive.”25
 5          Tetra Tech’s investigation was inconclusive because it failed to ask the right people the right
 6   questions. Tetra Tech directed the fraud and did not want its fraudulent conduct exposed. Had Tetra
 7   Tech employed trained investigators, they would have insisted on speaking to the right people,
 8   including former employees who no longer had a motive to keep quiet or be fired. A competent
 9   investigation would have discovered a pattern and practice of fraudulent activity directed by Tetra
10   Tech’s top onsite management.
11          Tetra Tech’s investigation, though gravely flawed, got some things right: some of the causes
12   of the fraud. Possible causes, the Anomalous Samples Report says, could be: improper focus on
13   production (“i.e., that completion of work by a scheduled date was of undue importance”);
14   inadequate field supervision; inadequate quality control; inadequate review of data; and inadequate
15   concern for others (i.e., “individual workers may not have questioned actions by co-workers that
16   appeared to be nonstandard”).26
17          The Anomalous Samples Report failed to recognize a major driver of the fraud, however,
18   namely that in order for Tetra Tech to get paid the final installment on a contract it needed to obtain
19   final radiological clearance. The added cost and time involved in doing a proper and complete
20   radiological remediation was more time and money than Tetra Tech was willing to expend, cutting
21   into the company’s profits.27 In short, the Anomalous Samples Report was an effort to whitewash the
22   soil-sampling fraud directed by Tetra Tech's management.
23           B. Types of Fraud

24          Former employees at HPNS describe six types of fraud: (1) fake sampling, in which soil
25   samples were reported to have been taken at one location when they were actually taken from
26
     24
        Exhibit H at 3.
27   25
        Id.
     26
        Exhibit H at 20.
28   27
        See Exhibit A at ¶¶ 11-12, 14, 51-52; Exhibit B at ¶¶ 10-11, 15-20, 24-27, 33-34.


                                                        10
      Case 3:18-cv-05330-JD            Document 1-1       Filed 08/29/18      Page 136 of 169



 1   another; (2) samples and their analytical results were discarded because they came back too “hot;"
 2   (3) scanning data were altered to make them appear acceptable; (4) building survey data were
 3   fabricated; (5) radioactive material in soil was inadequately remediated, resulting in potentially-
 4   contaminated soil being used as backfill for trenches at the Shipyard; and (6) Portal Monitor
 5   procedures were altered resulting in potentially radioactively-contaminated soil being allowed to be
 6   shipped offsite to points unknown.
 7                 1. Fake Soil Sampling: Parcels C, D, E

 8                    a. Fraudulent Sampling - Stage 1
 9             As the Anomalous Samples Report details, samples purportedly taken from the footprint of
10   former Building 517 (Parcel D) were actually taken from a different location. According to former
11   employees at the Shipyard, B517 was not the only place from which samples were faked. Phony
12   samples supposedly taken from various sites on the Shipyard, including the areas around Building
13   707 (Parcel E), the 500 Series of buildings (Parcel D), and Parcel C,28 were actually taken elsewhere.
14             Senior HP Anthony Smith says fake sampling took place in two stages. At first, HPs were
15   directed to take samples from the general location intended to be sampled, but to fudge the specific
16   location of the samples.29
17             When they were tasked with soil sampling, proper procedure was for HPs to initially scan the
18   soil seeking radioactive hot spots. The scanning data were used by engineers to identify locations of
19   high radioactivity and then to plot out their locations on a map, with the highest readings delineating
20   where soil samples should be taken.
21             HPs followed the correct procedure in the early years at Hunters Point. But that practice
22   changed in the latter part of 2008 and early 2009. At that time, Tetra Tech was having difficulty
23   obtaining free releases; post-remediation samples came back too “hot.”
24             In response, HPs were ordered by their supervisors not to take the samples from the spots
25   marked by the engineers as the highest radioactive-reading spots. Rather, the HPs were told to make
26   it appear they took the samples from the marked spots, but to actually take the samples from clean
27

28   28
          See Exhibit I at 1, 6 (findings of fraudulent soil samples from Parcel C).


                                                         11
      Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18       Page 137 of 169



 1   areas close by.30 An HP (also known as a Radiation Control Technician, or “RCT”) admitted this
 2   form of fraud to the NRC: “the RCT stated that, when sufficiently low contamination levels were not
 3   obtained, the RTS [Radiation Task Supervisor] would direct the RCT to move 5 to 10 feet in another
 4   direction and obtain a new sample from that location. Meanwhile, the new sample would be
 5   represented as having been obtained from the original, specified location.”31
 6          These close-by phony samples would be expected to have the same K-40 levels as other
 7   samples from the area, and might not involve K-40 activity below 5 picocuries. Thus, there is a
 8   strong likelihood that substantial numbers of fraudulent samples could not be identified by the Navy
 9   and regulators by focusing on the K-40 levels.
10                  b. Fraudulent Sampling – Stage 2

11          Time and again the fraudulent post-remediation soil samples resulted in laboratory results
12   with radioactive contamination above the free release levels. For example, around Building 707
13   repeated rounds of remediation failed to decontaminate all the soil; successive post-remediation
14   samples came back too “hot.” When sample results exceeded the free release levels, Tetra Tech was
15   required to do more cleanup, which cost time and money.32
16          Due to the frustration of Tetra Tech’s attempts to obtain free release and the desire to cut
17   costs to increase profits, the manner of the fraud changed. HPs were directed by their supervisors to
18   obtain false samples nowhere near the area intended to be sampled, but rather in at least three remote
19   locations known from prior sampling to contain “clean” soil. Tetra Tech management pressured its
20   supervisors to have the HPs engage in fraudulent sampling that would guarantee lab results under the
21   free release levels so it could get fully paid without incurring the full costs of the cleanup.33
22          Former employees, like Senior HP Anthony Smith, state that he and others took the second-
23   stage type of fraudulent samples from at least three locations known to be low in radiological
24   activity. The specific location was chosen depending on the type of soil they were trying to match.34
25
     29
        Exhibit B at ¶¶ 15-16; see also Exhibit I at 6.
26   30
        See Exhibit B at ¶ 15.
     31
        Exhibit I at 6.
27   32
        See Exhibit B at ¶¶ 16-19; Exhibit A at ¶¶ 11-12.
     33
        See Exhibit B at ¶¶ 16-17.
28   34
        Id. at ¶ 18.


                                                        12
      Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 138 of 169



 1          If HPs needed to match “green serpentine”35 soil, Smith and others took false samples from
 2   one of two locations. Originally, the green serpentine soil used to submit false samples was taken
 3   from a sewer trench in front of the Building 500 series of buildings. That site was supplanted by a
 4   second one, an area inside the remains of the foundation of an old movie theater in the 500 series
 5   area. According to Smith, the theater foundation was preferable to the sewer trench because it
 6   afforded greater privacy – employees could take samples there unseen when inside the foundation
 7   walls. Smith says he would wait until laborers not involved in the fraud went to lunch or left for the
 8   day and he would then fill a 5-gallon bucket with soil from the theater site which he knew to be
 9   clean.36
10          If HPs needed to match sandy soil, they would fill five-gallon buckets with soil taken from
11   an area under two palm trees in the vicinity of an old pump house (Building 521) that was also near
12   the old movie theater foundation.37
13                 c. Substituting Clean Soil for Potentially “Hot” Soil

14          Senior HP Smith states he would take the five-gallon buckets of either green serpentine or
15   sandy soil to the Conex (a shipping container that acted as a temporary field office), where HP
16   supervisor Steve Rolfe, his wife HP Tina Rolfe, and HP Rick Zahensky would transfer the soil into
17   sample containers to substitute for real samples. The original, and potentially “hot” samples, would
18   be emptied into another 5-gallon bucket and Smith would dump that soil into open trenches that had
19   been dug for sewer removal. In short, the true soil samples were switched with the soil known to be
20   radiologically clean with the intent to fraudulently “prove” to the Navy, regulators, and the public
21   that all radiological hazards had been removed.
22          Smith estimates this type of false sampling happened “pretty much every day” over at least
23   the last one-and-a-half years he worked at the Shipyard. He says fake soil samples he took from all
24   three sites – the sewer trench, the palm tree site and the theater – resulted in 800 to 1,000 false
25
     35
        Exhibit H, Attachment 1 Site Conceptual Model for Low K-40 Soil, at 1 (“As mapped by the
26       United States Geological Survey (USGS), the upland portion of HPNS consists of Franciscan
         bedrock and includes serpentine, chert, altered volcanic rocks, and interbedded sandstones and
27       shales.” The serpentine rock and soil derived from it at HPNS has a slight green tint.).
     36
        Exhibit B at ¶ 18.
28   37
        See Exhibit M (map of Hunters Point Naval Shipyard identifying buildings by number).


                                                        13
      Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 139 of 169



 1   samples.38 Other HPs on the team under Smith’s supervisor, Steve Rolfe, also regularly engaged in
 2   taking false soil samples, as did HPs under the supervision of Justin Hubbard.39
 3          Samples were switched not only from the former site of Building 517, as acknowledged by
 4   the Anomalous Samples Report. Smith avers he switched samples taken from the area around the
 5   Building 707 “Triangle Area” in Parcel E, and the area of the former 500 series of buildings in
 6   Parcel D.40 Other areas had falsely switched samples taken by HPs other than Smith, as reflected in
 7   the Anomalous Samples Report, including the North Pier and structures referred to as “shacks” 79
 8   and 80, and in Parcel C, as the NRC Investigation Report states.41
 9          Former employees declare that the fraudulent practices escalated in the years after Tetra
10   Tech’s contract with the Navy changed from a time-and-materials contract to a firm fixed-price
11   contract.42 This provided a financial incentive for fraud: the less time and resources Tetra Tech spent
12   on sampling and cleanup, the more profit they would make.43
13          It is not clear if the switched soil samples taken from the 500 series trench, the old theater
14   foundation and the two palm trees all had low K-40 activity or if one or more did not. If any of these
15   locations had K-40 activity in soil over 5 picocuries, samples taken from them could not be
16   identified as “anomalous” based on K-40 readings and the number of fraudulently switched soil
17   samples could grow dramatically.
18               2. Destruction of “Hot” Soil Samples and Their Records

19                 a. Building 351A
20          Building 351A had been used by the Navy's Radiological Defense Laboratory for decades
21   conducting extensive experiments with hazardous radionuclides.44 It was one of the last buildings in
22   Parcel G that had not been free released. Clearance of building 351A was holding up final payment
23   to Tetra Tech for all of the work the company had done in that parcel, potentially millions of dollars.
24

25   38
        See Exhibit B at ¶ 19.
     39
        Id. at ¶ 20
26   40
         Id. at ¶ 17.
     41
        Exhibit I at 6.
27   42
        Exhibit B at ¶¶ 7-11, 16, 34.
     43
        See Exhibit A at ¶¶ 6, 11-13.
28   44
        Exhibit B at ¶ 8.


                                                       14
      Case 3:18-cv-05330-JD           Document 1-1       Filed 08/29/18     Page 140 of 169



 1             Direct readings from radiological survey detection instruments indicated the presence of
 2   elevated radioactivity in a large amount of soil in a crawl space under Building 351A. Remediation
 3   attempts within the crawl space were performed in 2008 by a group of laborers who dug up the soil
 4   while HPs Anthony Smith and Josh Hooper monitored them. The laborers used pick axes, shovels
 5   and trowels to loosen the soil and a large vacuum truck that sucked the soil from under the building
 6   through an 8-inch hose. The soil was ultimately placed in bins to be disposed offsite as radioactive
 7   waste.45
 8             At the conclusion of approximately two weeks of remediation, HPs Anthony Smith and Josh
 9   Hooper took post-remediation soil samples from the crawl space in an attempt to demonstrate that
10   there was no longer any residual radiological contamination above established free-release levels.
11   However, a post-remediation sample came back too “hot,” demonstrating the radioactive cleanup
12   had not been successfully completed. Proper procedure mandated another round of soil removal.
13   This additional round of remediation would once again involve laborers and a vacuum truck,
14   followed by another round of post-remediation sampling. However, Tetra Tech’s management
15   directed that proper procedures be ignored.
16             Smith and Hooper were summoned to a meeting that included Bill Dougherty, Tetra Tech’s
17   HPNS Project Manager, and Dennis McWade, Tetra Tech’s Construction Superintendent, among
18   other senior Tetra Tech and sub-contractor managers. Speaking of the vacuum truck, Dougherty told
19   Hooper and Smith “Do you know how much that machine cost to rent for two weeks? We can’t
20   afford to do that again, get rid of that sample,” or words to that effect. McWade gave Smith the
21   containerized sample and its COC document, completely contrary to acceptable procedures, and
22   Smith and Hooper did what they were told. They got rid of the sample and the COC record.46
23             Thereafter they engaged in the first type of soil-sampling fraud described above and took a
24   false sample under Building 351A. Tetra Tech had its engineers mark the areas under the building
25   that were known to be clean so that Smith could be assured he would not obtain another soil sample
26

27
     45
          Id.
28   46
          Id. at ¶¶ 10-11.


                                                        15
      Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18       Page 141 of 169



 1   that came back too “hot.”47 Smith says he understood, based on what his supervisors told him, that
 2   Tetra Tech wanted to get free release of the building despite the remaining contamination so Tetra
 3   Tech would get paid the final installment for its work in Parcel G.
 4           Tetra Tech submitted false documents to the Navy claiming that Building 351A had been
 5   properly cleared of all radioactive material above release levels, when significantly elevated
 6   radioactivity, beyond free release levels, was known to still exist in the crawl space under the
 7   building. The radioactive contamination was not remediated over the next three-plus years that
 8   Smith continued to work at the Shipyard. To the best of his knowledge it never has been.48
 9           Smith states that the soil sample from under Building 351A was the first instance where he
10   was told to get rid of a sample. As further described below, it was not the last.
11                  b. Parcel A Background Sample

12           In July or August 2009, Tetra Tech was about to start, or had just started, a project to remove
13   sewer lines from under Fisher Avenue and Spear Streets in Parcel C. Smith was directed by Hubbard
14   to obtain a background reference sample (i.e., a sample known not to be radioactively contaminated)
15   for the Spear/Fisher sewer projects. Smith had been told that Parcel A was never used for any
16   industrial purpose, that it was deemed by the Navy to be free of contamination and, as a result, had
17   been transferred to the City of San Francisco for development in 2004. Because of its close
18   proximity to the Fisher/Spear project and assuming Parcel A was clean, Smith determined it would
19   be an appropriate place to obtain a background sample.49
20           Smith proceeded to a location just north of the intersection of Fisher Avenue and Spear
21   Street.50 On the north side of the road next to Fisher Avenue and just beyond the sidewalk, there is a
22   concrete wall which descends in height as it extends west and parallel to Fisher Avenue. Beyond the
23   wall is a hill that rises to the top of Parcel A. Just before the stop sign at the intersection of Fisher
24   and Spear (i.e., just northeast of the intersection) and approximately 20 feet from a light pole on the
25   north side of Fisher Avenue, the wall was about waist-high for Smith. Because of how the hill rose
26
     47
        Id. at ¶ 11.
27   48
        Id.
     49
        Exhibit B at ¶ 12.
28   50
        In Exhibit M the location of Anthony Smith’s Parcel A sample is marked in red.


                                                         16
      Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 142 of 169



 1   behind the wall, Smith was able to reach over the wall and use a trowel to take a sample without
 2   bending over. He dug a hole about 6 inches deep in the hillside and took a sample from the bottom
 3   of the hole. He gave the sample to Justin Hubbard, who took it to the laboratory. In a violation of
 4   proper procedure, there was no chain-of-custody document accompanying the sample. 51
 5             The next day, Hubbard approached Smith and had the sample with him. In the presence of
 6   HPs Jeff Rolfe, Ray Roberson and Carey Bell, Hubbard told Smith the sample had come back “hot.”
 7   Hubbard said it contained 2 to 3 picocuries per gram of cesium-137, which Smith knew was much
 8   higher than background levels and the cesium-137 cleanup standard of 0.113 picocuries per gram –
 9   18 to 26 times higher than the set health and safety ceiling. Hubbard gave the sample to Smith and
10   told him to “get rid of it and not say a word,” or words to that effect. Smith took the sample back to
11   the site where he had taken it and put the soil back in the hole he created earlier for taking the
12   sample. He disposed of the plastic sample container by putting it in a bin set aside for radiological
13   waste. That same day, Smith took a different sample, to be used as the background sample, from a
14   distant site on the shipyard he knew to be clean from prior sampling and analysis.52
15             To the best of Smith’s knowledge, the soil contamination he discovered in Parcel A was
16   never thereafter remediated for cesium-137 or other potential radioactive contaminants.53
17                    c. Radioactive Fencing

18             Tetra Tech established fenced-off areas within HPNS to separate locations known to contain
19   radioactive contaminants from other areas that were not contaminated. These areas were referred to
20   as Radiologically Controlled Areas or “RCAs.” Much of the fencing used to establish the
21   Radiologically Controlled Areas was rented from private companies.
22             In 2009, a large amount of fencing that had established the perimeter of an RCA was no
23   longer needed. Tetra Tech directed HPs to scan the metal fencing panels for clearance to release the
24   fencing to the rental company. Susan Andrews, a Senior HP, along with two other HPs, scanned the
25   fencing with radiation detection field instruments. During the scanning, Tetra Tech Construction
26   Superintendent McWade pressured the HPs to scan the fence quickly to obtain its release so it could
27
     51
          Exhibit B at ¶ 12.
28   52
          Id. at ¶ 13.


                                                        17
      Case 3:18-cv-05330-JD         Document 1-1       Filed 08/29/18      Page 143 of 169



 1   be returned to its owner.54
 2          Andrews’ scanning detected significant radiation on the fence, what she termed “screaming
 3   hot.” The fencing had apparently become infused with radioactive contaminants due to the length of
 4   use on the Shipyard. In an effort to be sure of her scan results, Andrews asked for HP Phil Poole’s
 5   sensor to scan the same fence panels. The scan with Poole's sensor registered the same high
 6   radioactive readings. She then asked for HP Bob Evan's sensor and scanned the same fence panels,
 7   again getting the same “screaming hot” readings, far above release levels.
 8          Proper procedure required that the fencing be put into an RCA because any radioactive
 9   material was required to be confined there. However, Construction Superintendent McWade refused
10   to allow the fencing to be put into an RCA.55
11          Andrews completed her scanning and smears (i.e., swab samples) of the fencing. Following
12   proper procedure, she took the scan meter and the smears to the lab at HPNS and turned the material
13   in. The next day, Tetra Tech alternate Radiation Safety Officer Representative (RSOR) Charles
14   Taylor told Andrews that the lab results from the smears she had submitted tested high for
15   radioactivity, beyond free-release levels. Taylor informed Andrews that the sensor readings also
16   showed elevated radioactivity above release standards. Andrews reviewed the lab results and the
17   sensor readings, confirming the high radioactivity.56
18          Taylor told Andrews that Tetra Tech would not treat the fencing as radioactively
19   contaminated despite the lab results and sensor readings. Tetra Tech RSOR Taylor ordered Andrews
20   to go to the laboratory and obtain the smears and their associated records and destroy them. Taylor
21   also ordered Andrews to delete the records of the elevated fencing readings from her sensor and
22   from the Tetra Tech computer or else she would be fired. Andrews received this order in the
23   presence of her supervisor Rhonda Richardson, who expressed concern that if these orders were not
24   followed that both Andrews and she might be terminated. At no time did Richardson object to
25   Taylor’s orders or contend that the destruction of legitimate lab results and instrument readings was
26
     53
        Id. at ¶ 14.
27   54
        Exhibit C at ¶ 30.
     55
        Id.
28   56
        Id. at ¶¶ 31-32.


                                                      18
      Case 3:18-cv-05330-JD          Document 1-1      Filed 08/29/18      Page 144 of 169



 1   improper.57
 2          Andrews did what she was told. She went to the lab, obtained the smears and records and
 3   destroyed them. Andrews had worked in the lab previously, for about 4 years, and was familiar with
 4   the computer system, called “Access.” Andrews erased the sensor readings from the computer but
 5   believed, from her experience and training, that her efforts did not erase them from the computer’s
 6   hard drive, meaning a competent investigator might still be able to locate the records. Andrews
 7   subsequently informed Richardson and Taylor that she had complied with his order to destroy the
 8   smears, the lab results and the sensor data.58
 9          Andrews says that thereafter the fence was stored outside an RCA for approximately a
10   month, after which it was gone. Senior HP Bob Evans told Andrews he had gotten the fence released
11   so it could be returned to the rental company. When she questioned how that happened, he replied, “I
12   didn’t scan where you did, dummy.”59
13                 3. Fraudulent Building Surveys

14          The contract between the Navy and Tetra Tech required the company to perform static scans
15   and smears of buildings to determine if they were contaminated with radioactivity beyond free
16   release levels. When a building was found to have elevated levels of radioactivity, Tetra Tech was
17   contracted to engage in remediation to remove the radioactive contamination and bring contaminant
18   levels below release levels. After remediation, Tetra Tech was required to again scan and take
19   smears of the building to determine if all radioactive readings were within acceptable levels. Tetra
20   Tech ordered the post-remediation building scans be done fraudulently so as to obtain free release.
21          Tetra Tech supervisors divided building areas into three classes, Class 1, 2 and 3.60 They
22   classified the floors and lowest two meters (or approximately 6 feet) of the walls to be Class 1. The
23   proper way to conduct a Class 1 survey was to slowly scan the “probable sites” of contamination,
24
     57
        Id at ¶ 33.
25   58
        Id at ¶ 34.
     59
        Id at ¶ 35.
26   60
        See Exhibit A at ¶ 75. The contract between the Navy and Tetra Tech defined Class 1, 2, and 3
         differently from the way Tetra Tech supervisors in the field used the terms. Under the contract,
27       Class 1, 2, and 3 were defined in large part based on information as to whether the area was
         known to be contaminated with radioactivity, suspected to be contaminated, or not believe to
28       have contamination above free release levels, respectively.


                                                      19
     Case 3:18-cv-05330-JD           Document 1-1       Filed 08/29/18      Page 145 of 169



 1   such as drains down which radioactive liquids might have been poured, and to scan each surface
 2   (i.e., the floor and lower walls) using a Ludlum 2350 scanner (which measures gamma radiation) in
 3   a systematic grid. In addition, smear samples were to be taken from area surfaces which the scans
 4   identified as highest in radioactivity.
 5          For Class 2, HPs were supposed to take static scan and smear samples in a systematic grid
 6   from the higher sections of the walls, above 2 meters. Class 3 areas were considered the ceiling and
 7   roof. Scans and smears were to be taken of these areas, but without requiring the strict grid patterns
 8   of a Class 1 or 2.
 9          Proper building survey procedure was not followed.
10          Anthony Smith was assigned to perform a large number of building surveys. Sometime
11   between the summer of 2010 and early 2011, he was assigned to do building surveys in Building
12   707, buildings and building footprints throughout the 500 series and Buildings 351, 351A, 411, 401,
13   414, 406, 144, 146, 130, 103, 113, and 521. Smith’s Tetra Tech HP supervisor, Steve Rolfe, told his
14   survey team, consisting of Jeff Rolfe, Rick Zahensky and Smith, not to worry about doing Class 2 or
15   3 scans and smears at all. Rather, they were instructed to “just get some numbers and get it done,” or
16   "just set your meter down on the ground and let it count," meaning they should allow the scanner to
17   operate in order to obtain data, but that the scanner should be stationary rather than doing a
18   systematic survey of the area as required. Smith and his co-workers followed instructions, did not do
19   proper Class 2 and 3 scans, and reported fraudulent data for the Class 2 and Class 3 scans for nearly
20   all buildings at Hunters Point.61
21          When Smith challenged this practice, Tetra Tech HP supervisor Steve Rolfe told him,
22   “That’s what Bill Dougherty [Tetra Tech’s Project Manager] wants.” The false scanning was also
23   done on other buildings by HP Supervisor Justin Hubbard’s team, including Buildings 103, 114, 145,
24   130, 439, 366, and 813.
25               4. Fraudulent Data Reporting

26          The contract between the Navy and Tetra Tech required the company to do scans for
27   radioactive contaminants of buildings, developed areas, and areas of open soil.
28


                                                       20
      Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18         Page 146 of 169



 1          Tetra Tech directed that scan data be altered that were too high, which would result in having
 2   to do additional expensive remediation, or too low, which would raise questions about the scan
 3   integrity and potentially require that the scanning be entirely redone.
 4          Anthony Smith personally witnessed HP Tina Rolfe changing scan results so that they would
 5   fall within acceptable limits, that is, not too high but not too low to raise suspicions. One time when
 6   Smith was downloading data from his equipment onto a computer, he came up behind Tina Rolfe
 7   and saw her working on a computer changing readouts from a Ludlum 2350. Smith estimates that
 8   the HPs downloaded thousands of scan results per day. He states that changing these scan numbers
 9   was a very simple thing to do. He also saw her changing numbers on readings from a Ludlum 2360
10   (which collects surveillance data for alpha and beta radiation). The fact that Tetra Tech was
11   “changing the numbers” was common knowledge among the HPs. Both HPs Ray Roberson and Joe
12   Cunningham told Smith they were aware that scan results were being altered.62
13          Smith observed that Tina Rolfe was directed to change the numbers by her husband, Steve
14   Rolfe, a Tetra Tech HP supervisor. Several times he heard Steve Rolfe say of one sample or another,
15   “that number’s too high, it’s way above background,” and he directed that it be altered to be lower to
16   be closer to the background levels.63 Tetra Tech HP supervisor Justin Hubbard was also aware of the
17   alterations. Smith complained about the scan results being changed, and Hubbard told him that Tetra
18   Tech was doing it everywhere else on the Shipyard.64
19          Smith reports that Senior HP Rick Zahensky told him he also changed scan result numbers
20   for an extended period, involving many months, if not years. On numerous occasions Zahensky took
21   a computer home in order to change scan results overnight. Zahensky told Smith that at times he
22   worked until the early hours of the morning to “get the numbers right.” Smith was present on several
23   occasions when Zahensky did not “get the numbers right,” and was “chewed out” by Steve Rolfe.
24   Smith also witnessed Tina Rolfe being “chewed out” by her husband Steve, when numbers remained
25

26
     61
        Exhibit B at ¶ 25.
27   62
        Id. ¶ 26.
     63
        Exhibit B at ¶ 26.
28   64
        Id. at ¶ 27.


                                                       21
      Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18     Page 147 of 169



 1   too high or too low.65
 2             Tetra Tech also violated proper protocol by holding up the delivery of the scan results to the
 3   project management office. Proper procedure was that the scan results were to be submitted to the
 4   office by the end of each day on thumb drives. However, rather than submit scan results by day’s
 5   end, the scan results were held up so that employees like Zahensky could manipulate results that
 6   were deemed too high or too low. When Zahensky was given the scan results to take home in the
 7   evening, the thumb drive was not submitted until the following day at the earliest. The office had no
 8   objection to the tardy delivery of the scan results, since their fraudulent manipulation was done at the
 9   direction and insistence of Tetra Tech’s upper-level onsite project management.66
10             Bert Bowers, the former RSOR, states that a lab technician, Neil Berrett, and a lab
11   supervisor, Phil Smith, came to him on separate occasions complaining they were being asked by
12   upper level project management to “write away” laboratory analysis results, that is, change the
13   results of sample analyses and scans. Bowers directed the employees to go back to the project
14   management, talk with them, and come back to Bowers if they were not satisfied. At that time,
15   Bowers had not been aware project management had been ordering the falsification of samples and
16   scan results.67
17                  5. Potentially Hazardous Radioactive Soil Shipped Offsite and Backfilled at HPNS

18             In the years preceding the Shipyard cleanup, Navy studies established that many of the drain
19   and sewer lines throughout the base were contaminated as a result of the Navy having previously
20   disposed of radioactive waste by simply dumping it down the drain. Investigation also found that
21   many of the drain and sewer lines had severely broken or cracked over the years, causing radioactive
22   contamination to leach into the surrounding soil. Remediating the extensive radioactive
23   contamination stemming from drain and sewer lines was thus a major component of Tetra Tech’s
24   cleanup responsibilities at HPNS, and included large-scale soil excavation and sewer and drain line
25   removal.
26             Soil removed from around the sewer lines was required to be scanned and remediated as
27
     65
          Id. at ¶ 26.
28   66
          Id.


                                                         22
      Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18       Page 148 of 169



 1   necessary. Soil that remained contaminated with radiation was to be disposed of as low-level
 2   radioactive waste. Soil that was deemed successfully remediated was either backfilled into trenches
 3   at the Shipyard or shipped offsite to be used for commercial purposes.68
 4          From the very beginning of the sewer trench remediation, however, potentially radioactive
 5   soil was allowed to be shipped offsite that Tetra Tech claimed was free of radioactive materials
 6   when it may not have been. Tetra Tech management engaged in deliberate fraudulent practices to
 7   conceal the potentially radioactive nature of soil cleared for use as backfill. To date, Tetra Tech has
 8   failed to alert the public of the potentially hazardous nature of soil that left the Shipyard or
 9   acknowledge that potentially radioactive soil was backfilled throughout the Shipyard.
10                  a. Potentially Hazardous Radioactive Soil Shipped Offsite

11          In late 2005, soon after Tetra Tech began remediating soil that had been removed from
12   trenching in connection with drain and sewer line removal and the broad remediation of areas within
13   Parcel E, Tetra Tech established a conveyor belt system at HPNS to screen soil for radioactive
14   material above release levels.69 Under this system the soil was first spread no more than 6 inches
15   deep on a conveyor belt. The soil was then to be moved at an established slow speed under
16   radiological sensors that would set off an alarm if the sensors picked up excessive radioactivity. If
17   the alarms sounded, the soil within a specified number of feet on either side of the sensors was to be
18   removed from the conveyor belt and placed in low level radioactive containers for offsite disposal.
19   The soil that did not set off the radiological sensor alarms was permitted unrestricted radiological
20   release from Hunters Point unless it was chemically contaminated.70
21          Sometime in early 2006, RSOR representative Bert Bowers contacted Ulrika Messer, a Tetra
22   Tech manager in San Diego who was responsible for the conveyor belt system and the specific
23   contracts under which the conveyor belt processing was being undertaken. Bowers informed Messer
24   that NWE had reached 80% of the budgeted costs Tetra Tech had allotted for the conveyor belt
25   processing of radioactively contaminated soil. Messer reacted very strongly, screaming at Bowers
26
     67
        Exhibit A at ¶ 53.
27   68
        See Exhibit A at ¶ 43; Exhibit B at ¶ 28.
     69
        Id. at ¶ 20.
28   70
        Id. at ¶¶ 17-18.


                                                        23
      Case 3:18-cv-05330-JD         Document 1-1         Filed 08/29/18    Page 149 of 169



 1   and saying she would have to go to Tetra Tech VP Neil Hart to “beg” for more money for the
 2   conveyor belt processing of the remaining soil.71
 3          After Bowers alerted Tetra Tech to the budgeted funds running low, Tetra Tech Construction
 4   Superintendent Joe Levell, who reported to Messer, substantially increased the conveyor belt speed.
 5   Increasing the speed made the radiation detectors much less able to detect radiological
 6   contamination. Tetra Tech’s internal memos admit that the speeds were increased to double the
 7   approved speed. However, HPs who worked on the conveyor belt system report that the speeds were
 8   actually increased by a factor of 6 to 9 times the authorized conveyor belt speed.72 Bowers estimates
 9   that the high scanning speed would make the radiation detectors nearly worthless, unable to detect
10   all but extreme radiation emissions.73
11          In that same 2006 timeframe, further efforts to cripple the effectiveness of the conveyor belt
12   system were taken. Messer communicated regularly with NWE CEO Mike Wilson. The brother of
13   Mike Wilson, Gary, was a senior HP working at the Shipyard for NWE. Sometime shortly after
14   Bowers informed Messer that the budget for operating the conveyor belt systems was nearly maxed
15   out, Gary Wilson, with the assistance of HP Jane Taylor, silenced the sensor alarms so the sensor
16   system would never alert that excessive radioactive contamination was present in the soil.74
17          After months of the improper conveyor belt speed and alarm deactivation, HPs raised
18   objections to Tetra Tech, ultimately forcing it to stop the improper conveyor belt use in July 2006.
19   When Gary Wilson was questioned about why he and Jane Taylor deactivated the sensor alarms, he
20   stated that they were silenced because they were going off so much that a large amount of the soil
21   was found to be radiologically contaminated and Tetra Tech wanted less soil deemed contaminated.
22   Wilson also said the alarms were silenced due to pressure from Tetra Tech management.75
23          In the months prior to July 2006, before the use of the conveyor belt system was stopped,
24   tens of thousands of cubic yards of soil were fraudulently “cleared” as non-radiologically
25   contaminated due to the excessive conveyor belt speed and disabling the alarm. Tens of thousands of
26
     71
        Id. at ¶ 20.
27   72
        Id. at ¶¶ 17, 21-23; see also Exhibit B at ¶ 29; Exhibit N, Decl. of Robert McLean, ¶¶ 8-11.
     73
        See Exhibit A at ¶ 22.
28   74
        See Exhibit B at ¶ 29, Exhibit A at ¶ 23.


                                                         24
      Case 3:18-cv-05330-JD          Document 1-1         Filed 08/29/18    Page 150 of 169



 1   cubic yards of soil fraudulently “cleared” were shipped off Hunters Point for use by unknowing
 2   customers before July of 2006.
 3          Tetra Tech management, including Tetra Tech Vice President Neil Hart, was aware that tens
 4   of thousands of cubic yards of potentially contaminated soil with levels of radioactivity above
 5   release levels had been improperly screened by the conveyor belt system. VP Hart and others in
 6   Tetra Tech management also knew that Tetra Tech could not represent that the soil was free of
 7   hazardous radioactivity. Despite this knowledge, Tetra Tech took no steps to inform the recipients of
 8   the soil that it was potentially hazardous. Moreover, Tetra Tech took no steps to inform appropriate
 9   regulatory agencies.76 Tetra Tech’s failure to warn the public and regulatory agencies of the risk it
10   created is a breach of the trust the NRC placed in the company by granting it a license.
11                  b. Potentially Hazardous Radioactive Soil Used As Backfill

12          After the conveyor belt system was exposed as having been misused and ineffective, Tetra
13   Tech implemented an alternative soil scanning system using Radiological Screening Yard (“RSY”)
14   pads. In the RSY pad system, soil excavated from trenches was spread out in an approximately 6-
15   inch layer across a pad roughly the size of a football field and scanned for radioactivity above
16   release levels. At first, HPs walked the pad hand scanning for radioactivity and they would remove
17   soil registering above release levels.
18          Later, as the process of having HPs walk and scan the RSY pads proved to be time
19   consuming and expensive, Tetra Tech switched to using an array of radioactive sensors pulled
20   behind a small tractor, known in the field as a “towed array.” With the towed array system, the
21   information gathered by sensors, including GPS data, was transmitted to a data center computer. A
22   data specialist would then develop a detailed map of the areas of soil on the pad marking the highest
23   radioactive readings. The map was then transmitted to an HP who would direct other HPs to the
24   high-level spots to remove the radioactive soil.77
25          The RSY pad system was central to determining if soil removed from the trenches was to be
26

27   75
        See Exhibit A at ¶ 23; Exhibit B at ¶ 30.
     76
        Id. at ¶ 24; see also Exhibit B at ¶ 32.
28   77
         Exhibit A at ¶ 37.


                                                          25
      Case 3:18-cv-05330-JD            Document 1-1       Filed 08/29/18      Page 151 of 169



 1   disposed of as radioactive waste or could be used as backfill at the Shipyard.78 In its early stages,
 2   2008 and early 2009, the towed array appears to have been used properly and experienced and
 3   qualified HPs led the process. The towed array procedure for the RSY pads also proved much more
 4   effective compared to having the HPs hand-scan the soil. Still, RSY pad processing was expensive
 5   and time consuming for Tetra Tech, and the fixed price contracts provided an incentive for work to
 6   be performed quickly and fraudulently at minimal cost.
 7                     c. Unqualified Supervisors and Untrained Workers Responsible for RSY Pad
                          Soil Processing
 8
               Beginning in 2009, Tetra Tech undertook conduct aimed at cutting the cost of the RSY pad
 9
     soil processing and in turn severely undermined the credibility of RSY remediation work. Most
10
     notably, Tetra Tech installed unqualified workers in positions of responsibility at the RSY pads,
11
     some of whom had no experience in the radiological industry.
12
               For example, Jane Taylor was hired as a Junior HP in 2006 despite suspicion her resume was
13
     fraudulent. Jane Taylor had a daughter, Samantha Taylor, who was a Junior HP at the Shipyard. Jane
14
     Taylor wanted Samantha Taylor to help her get a job at Hunters Point. According to Senior HP
15
     Arthur Jahr, Samantha Taylor asked him to lie on Jane Taylor’s behalf, asking Jahr to falsely state he
16
     had previously worked with Jane in the radiological field. Jahr refused.79 Furthermore, according to
17
     Senior HP Richard Stoney, Samantha Taylor told him that her mother had no radiological
18
     experience.
19
               In applying for a job through New World Environmental, Jane Taylor submitted a resume
20
     that claimed she had years of radiological experience working for a firm called “Taylor Made
21
     Construction.” However, RSOR Bert Bowers was familiar with firms that did radiological work, had
22
     never heard of “Taylor Made,” and came to the conclusion that the resume was fraudulent. Bowers
23
     shared this suspicion with Kari Guidry, NWE’s Human Resources Director. Subsequently Jane
24
     Taylor submitted a second resume that omitted any reference to “Taylor Made Construction” and the
25
     claim she had prior radiological experience.
26

27   78
          Id. at ¶ 43.
     79
          Exhibit E, Decl. of Arthur Jahr III, ¶ 10-11; see also Exhibit C at ¶¶ 18-25; Exhibit G, Decl. of
28         Richard Stoney, ¶¶ 5-9; Exhibit A at ¶¶ 29-36.


                                                         26
      Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 152 of 169



 1          Despite the red flags raised about her resume, Taylor was hired as a Junior HP, and within
 2   just a few months, promoted to Senior HP even though it normally took Junior HPs at least several
 3   years to gain the experience necessary to be a Senior.
 4          Other HPs who observed Taylor’s work saw that she was not competent to be an HP at all,
 5   let alone a Senior HP.
 6          Subsequently, Taylor left HPNS to pursue work elsewhere. However, she was rehired a short
 7   time later. At the insistence of Construction Superintendent Dennis McWade, with whom Taylor had
 8   a romantic relationship (and later married), Taylor was re-hired as a Senior HP.80
 9          Sometime in 2009, Taylor was put in charge of the RSY pad radiological remediation.81
10          In early 2009, Tetra Tech hired Thorpe Q. Miller to oversee the data system used for the
11   RSY pad processing, including the development of the maps used for the remediation of soil on the
12   RSY pads. Bowers states that Miller did not have the education, training, or experience required by
13   the Navy contracts to hold this position.82
14          However, Miller is the son of Laurie Lowman, who was the Lead Environmental Protection
15   Manager in the Navy's Radiological Affairs Support Office (RASO), responsible for oversight of
16   Tetra Tech and the radiological remediation at Hunters Point. Tetra Tech employed him apparently
17   as a favor to Lowman and to curry favor with her. Miller was originally a Tetra Tech employee, but
18   its management arranged to have him employed by a subcontractor, though his job was exactly the
19   same, in an attempt to avoid the conflict of interest being so obvious.83
20          With Miller and Taylor in charge of the RSY pad processing, Tetra Tech stopped having
21   qualified HPs perform soil sampling and removal on the pads. Tetra Tech instead had unskilled
22   laborers assist Taylor at the RSYs. According to accounts of former HPs, trained and skilled Senior
23   HPs were not regularly assigned to RSY pad processing from 2010 on.84
24          The use of unskilled laborers for the RSY pad processing under the supervision of Taylor put
25   the health and safety of the laborers at risk. The laborers were not sufficiently trained to understand
26
     80
        Exhibit A at ¶¶ 33-34.
27   81
        Id. at ¶ 36.
     82
        Id. at ¶ 37.
28   83
        Id. at ¶¶ 38-40.


                                                       27
      Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 153 of 169



 1   the health risks of inhaling or ingesting the radioactive contamination they were working with, and
 2   Taylor lacked the competence to ensure the laborers performed the work properly and safely. Senior
 3   HP Art Jahr observed laborers working the RSY pads with Taylor without the proper protective
 4   equipment, such as gloves and respiratory protection. Jahr also observed the laborers creating
 5   unnecessary dust and misusing the Ludlum sensors by swinging them too high and too fast over the
 6   ground, rendering the instruments ineffective. In August of 2010, Jahr brought his concerns over the
 7   laborer’s conduct and the lack of proper supervision by Taylor to a Tetra Tech supervisor, Brian
 8   White. Jahr told White that if NRC inspectors saw the conduct Taylor was supervising, the NRC
 9   would shut down the HPNS project. Jahr was terminated shortly thereafter.85
10          Other Senior HPs also observed the conduct of Taylor in her supervision of the RSYs. For
11   example, in processing the RSY pads, soil samples were to be taken from the 32 highest radioactive
12   reading spots that the towed array identified and Miller mapped. On one occasion, Senior HP Archie
13   Jackson overheard laborers tell Taylor they had collected less than the necessary 32 samples from a
14   pad. Jackson then overheard Taylor direct the laborers to “just get the soil from anywhere,” that is, it
15   did not matter if the soil samples came from the proper RSY pad.86 The direction given by Taylor
16   was in clear violation of procedures and resulted in the fraudulent submission of soil samples from
17   the wrong location. It also calls into the question the legitimacy of the RSY remediation process.
18                  d. Backfilling with Potentially Hazardous Radioactive Soil

19          Taylor and Miller were responsible for selecting the locations from which soil samples were
20   taken at RSY pads. The protocol established by the Navy required that the soil samples be taken
21   from the locations on the pad with the highest readings of radioactive activity.87
22          Some soil processed at the RSY and determined to be free from contamination was used as
23   backfill. Other soil cleared from the RSY pads as no longer containing high levels of radioactive
24   contamination was to be shipped offsite, going through the Portal Monitor for a final check.88
25           Miller and Taylor saw to it that the large majority of soil excavated from the sewer trenches
26
     84
        Id. at ¶ 36; Exhibit E at ¶¶ 13, 18; Exhibit D, Decl. of Archie Jackson, ¶¶ 10-12.
27   85
        Exhibit E at ¶ 18.
     86
        Exhibit D at ¶¶ 15-17.
28   87
        See Exhibit A at ¶ 37; Exhibit C at ¶¶ 41-42.


                                                       28
      Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 154 of 169



 1   was not treated as radioactively-contaminated soil. For example, soil removed from a parcel referred
 2   to as “UC-3 Work Area #16” had 1,023 cubic yards of soil removed. After processing which Miller
 3   and Taylor oversaw, only 10 cubic yards of soil were remediated as containing radioactive and
 4   chemical contamination, or less than .01% of the soil processed.89 Through intentional fraud or
 5   incompetence, taking samples that avoided the existing high radioactivity in the RSY pad soil
 6   permitted the tests to incorrectly meet the Navy standards and incorrectly obtain clearance for the
 7   RSY pad soil to be used as backfill at Hunters Point.90
 8          Tetra Tech knew that the RSY pad processing under the supervision of Miller and Taylor
 9   resulted in dramatically more Portal Monitor failures in 2010 and the first 9 months of 2011. Tetra
10   Tech also knew that the soil cleared to be used as backfill at HPNS never went through the Portal
11   Monitor screening process.91 Despite the fact that the soil leading to increased Portal Monitor alarms
12   had been processed by the same individuals as the soil cleared for backfill, Tetra Tech never took
13   any steps to verify that the soil that was to be used as backfill at Hunters Point did not contain the
14   same type of residual radiological contamination that led to increased Portal Monitor failures.
15               6. Change in the Portal Monitor Process

16          When the Portal Monitor process was first instituted, the Navy required loaded trucks to pass
17   through the Portal Monitor to detect whether hazardous radioactive contamination existed in the
18   truckload. If a truckload set off the Portal Monitor alarm, the truck was to go through the Portal
19   Monitor two more times. If the truck failed two out of three passes, then the load was not to go
20   offsite. Rather, HPs were to scan the truck’s load in an effort to locate the radioactive material and
21   the load was required to be taken back to the RSY pads to be reprocessed.92
22          By 2011, trucks loaded with RSY-processed soil were frequently failing the Portal Monitor
23   screening. Senior HP Susan Andrews recalls, and entered into her logs, that when working the Portal
24   Monitor in the first half of 2011, nearly all of the 37 loaded trucks she screened one day set off the
25   Portal Monitor alarm, requiring all loads to be returned to the RSY pad to be re-worked. The time
26
     88
        See Exhibit A at ¶ 43.
27   89
        Exhibit A at ¶ 44; Exhibit A, Attachments 4, 5 (“Exhibit A4” and “Exhibit A5,” respectively).
     90
        See Exhibit C at ¶¶ 44-45.
28   91
        Id. at ¶¶ 42-43; see also Exhibit C at ¶¶ 43-44.


                                                        29
      Case 3:18-cv-05330-JD          Document 1-1         Filed 08/29/18      Page 155 of 169



 1   and expense to Tetra Tech associated with the Portal Monitor failures was significant as loads
 2   needed to be reprocessed entirely.93
 3          In early September 2011, Tetra Tech responded to the increased Portal Monitor failures by
 4   making two fundamental changes affecting loads of soil from the RSY pads. First, Tetra Tech
 5   substantially decreased the sensitivity of the Portal Monitor from “sigma 3 plus mean background
 6   level” to “sigma 8 plus mean background level.”94 This means in plain language that the sensor
 7   sensitivity was decreased by nearly two-thirds. Radioactivity that should have set off the alarm no
 8   longer set it off. This change crippled the Portal Monitor’s effectiveness in catching excessive
 9   radioactivity that could cause disease, including cancer.
10          Second, Tetra Tech weakened the procedure for scanning trucks after radioactivity set off the
11   Portal Monitor alarm. Before the September 2011 changes, a truckload that set off the alarm on two
12   out of three passes had to have the load returned to the RSY pads to be re-worked. After the change
13   in procedure, Tetra Tech instituted a hand-scanning process that virtually ensured hazardous levels
14   of radioactivity would not be found, allowing the truckload to be released and leave Hunters Point.
15          Tetra Tech had learned from years of experience with the Portal Monitor that HPs usually
16   located the radioactive materials that set off the alarm when they scanned the soil in the load by
17   climbing a scaffold and scanning over the top of the trailer. Tetra Tech also knew from the prior
18   years that very few scans through the body of the trailer were able to detect the radioactive materials
19   due to shielding by the metal trailer body and the thickness of the soil in the trailer.95
20          In September 2011, Tetra Tech forbade the HPs to use the scaffolding and required that the
21   scanning be done solely through the metal shell of the trailer. This change also allowed a load that
22   failed the newly weakened Portal Monitor to leave the Shipyard without having to be sent back to
23   the RSY pads to be reworked.96 The Portal Monitor became largely irrelevant because loads that
24   failed the Portal Monitor were allowed to leave Hunters Point as non-radioactive based on a corrupt
25

26   92
        See Exhibit C at ¶ 46.
     93
        Id. at ¶¶8, 45.
27   94
        Exhibit C at ¶ 46.
     95
        See id. at ¶ 48.
28   96
        Id. at ¶¶ 49-50.


                                                        30
      Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 156 of 169



 1   scanning procedure.97
 2          As a result of the changes Tetra Tech made to the Portal Monitor, potentially hazardous
 3   radioactive materials were regularly permitted to leave Hunters Point designated as free of hazardous
 4   radioactivity. Tetra Tech was able to dramatically reduce the costs it incurred for the soil processing.
 5   The September 2011 changes increased profits at the expense of those who unknowingly received
 6   potentially hazardous radioactive soil from the Shipyard.98
 7          Tetra Tech’s practice of putting incompetent individuals in charge of the critical RSY
 8   screening process, removing competent HPs from the process, reducing the sensitivity of the Portal
 9   Monitor, and barring HPs from scanning truckloads from an overhead scaffolding increased the
10   likelihood that radioactive soil above the cleanup standard was shipped off HPNS. To date, Tetra
11   Tech has not alerted the entities that received soil from HPNS after September 2011 that the soil
12   may contain elevated radioactivity at levels potentially hazardous to health.
13           C. Tetra Tech’s Motive to Commit Fraud

14          Tetra Tech put its production schedule and profits ahead of proper radiological sampling and
15   remediation. As early as 2006, it demonstrated it was willing to cut corners, taking steps to
16   fraudulently disable its scanning system for detecting elevated levels of radioactivity in soil,
17   resulting in potentially contaminated soil being shipped offsite.
18          Starting in 2009 and continuing thereafter, the agreements between the Navy and Tetra Tech
19   changed from cost-plus contracts to firm fixed-price contracts,99 which significantly accelerated
20   Tetra Tech’s fraudulent practices. After this change, Tetra Tech faked both radiological investigation
21   and remediation; unlike previously, cutting costs led directly to increased profits.
22          Furthermore, under the fixed-price contracts, the bulk of the payments to Tetra Tech – and
23   bonuses for its management – depended on the Navy obtaining free release of materials, soil, areas
24   and buildings. Tetra Tech was to be paid in incremental stages on each contract covering specific
25   areas, but was not to be paid the largest share of the contract – 40% – until all hazardous radioactive
26
     97
        Id at ¶ 50.
27   98
        Id. at ¶ 49.
     99
        See Exhibit A at ¶ 11; Exhibit A, Attachment 1(Scope of Work Contract dated June 24, 2011)
28       (“Exhibit A1”).


                                                       31
      Case 3:18-cv-05330-JD           Document 1-1       Filed 08/29/18      Page 157 of 169



 1   materials were removed and post-remediation sampling indicated radioactivity fell below cleanup
 2   levels established under the contract. This substantial final payment motivated the fraudulent
 3   sampling and remediation necessary to obtain free release, encouraging Tetra Tech to falsely claim
 4   remediation was successfully completed when it was not.
 5             Tetra Tech found that certain areas of the Shipyard, like the Building 707 “Triangle” area,
 6   proved difficult to meet free release levels because elevated radioactivity continued to be found in
 7   post-remediation samples despite repeated efforts at remediation. Tetra Tech chose not to incur the
 8   additional costs of cleanup and have payment delayed. Rather, the management of Tetra Tech
 9   directed HPs to engage in fraud.100
10             HPs also had an incentive to go along with the fraud. They were paid both a salary and a
11   generous tax-free per diem, adding up to substantial compensation. In addition, the cleanup was
12   slated to last for years, making a job at the Shipyard unusually stable, unlike the short stints of work
13   HPs were used to during nuclear plants’ temporary shut-downs. The money and stability were
14   powerful inducements to be complicit in the management-directed fraud rather than to challenge
15   improper practices, no matter how wrong they were.101 In addition to the inducements of stable
16   employment and substantial pay, Tetra Tech also kept HPs in line with threats. Management
17   compelled HPs to engage in fraud or be fired.102
18             This combination of “carrots” and “sticks” created a toxic Tetra Tech culture of fraud.
19   But some HPs were sufficiently offended by Tetra Tech’s practices that they quit rather than be
20   complicit. Others felt badly enough about what they had been ordered to do that they “blew the
21   whistle” after they left the Shipyard. These HPs are the whistleblowers whose declarations, under
22   penalty of perjury, support this Petition.
23              D. A Culture of Fraudulent Work and Cover-up

24             Tetra Tech’s toxic culture overemphasized production at the expense of radiological safety.
25   Its onsite management viewed radiological investigation and remediation as impediments to the
26   construction schedule. Its Radiological Safety Department was not sufficiently independent of the
27
     100
           See Exhibit B at ¶¶ 7-11, 15-20, 24-31.
28   101
           Id. at ¶ 34.


                                                        32
      Case 3:18-cv-05330-JD         Document 1-1        Filed 08/29/18      Page 158 of 169



 1   Construction Department. The perceived needs of the Construction Department to speed up work
 2   and cut costs overrode proper radiological practices.103
 3          Tetra Tech’s culture was also one of favoritism, where preferred people were made senior
 4   HPs and supervisors despite not having the experience necessary for those positions.104 Lack of
 5   qualified supervisors contributed to slipshod and fraudulent work by the HPs working for them,
 6   seriously compromising sampling and remediation.
 7          The company also had a system of covering up improper practices. HP supervisors had an
 8   “early warning system,” which alerted them when the chief onsite radiological safety officer, the
 9   Radiation Safety Officer’s Representative was about to come out to the field. Thus alerted,
10   employees knew not to continue to engage in fraud, at least until the RSOR went back to his office.
11          Furthermore, managers were nearly all from outside the San Francisco Bay Area. They
12   expressed little concern that residual radioactive contamination might remain on the Shipyard
13   because of an attitude of, “We’re not going to live here.”105
14

15    VI.   DISCUSSION

16          The United States Navy hired Tetra Tech to participate in the proper radiological cleanup of
17   HPNS and the NRC entrusted Tetra Tech with a Materials license. However, as detailed above, Tetra
18   Tech’s role in the remediation is a story of intentional fraud, greed and disregard for the health and
19   safety of present and future residents of San Francisco and Northern California. Tetra Tech’s
20   fraudulent conduct, engaged in by corporate managers, superintendents, and supervisors over no less
21   than six years, demonstrates that Tetra Tech was willing to sacrifice radiological safety for profit.
22          The NRC is charged with protecting workers and the public from the harm, illness and death
23   that can come from exposure to radiological contamination. The facts prove that Tetra Tech’s fraud
24   could result in workers and the public being exposed to hazardous radioactive contamination, risking
25   their health and safety. The NRC cannot allow such a dishonest and dangerous company to continue
26
     102
         See Exhibit B at ¶¶ 7, 15-32, 34; Exhibit C at ¶¶ 13-15, 30-35, 39, 52-55; Exhibit N at ¶¶ 10-11.
27   103
         See Exhibit A at ¶¶ 11-15, 51-52; see also Exhibit C at ¶¶ 30-35; 40-51.
     104
         See Exhibit A at ¶¶ 8, 25-49; Exhibit C at ¶¶ 18-29; Exhibit D at ¶¶ 9-14.
28   105
         See Exhibit B at ¶ 34; Exhibit C at ¶ 59.


                                                       33
     Case 3:18-cv-05330-JD           Document 1-1       Filed 08/29/18      Page 159 of 169



 1   to retain an NRC license. Tetra Tech’s NRC license should be revoked.
 2          A. The Petition Establishes Tetra Tech Engaged in Widespread Fraud
               Incompatible with an NRC License.
 3
            Although Tetra Tech acknowledged, after being caught, that it engaged in soil-sampling
 4
     fraud, former employees and documents demonstrate more widespread intentional misconduct. The
 5
     fraud went well beyond the phony soil sampling addressed in the Anomalous Samples Report. Fraud
 6
     spanned virtually all remediation functions: fake soil sampling occurred across large portions of the
 7
     Shipyard; COC documents were regularly falsified; building surveys were faked; inconvenient data
 8
     were manipulated or destroyed; and soil was fraudulently remediated by individuals selected by the
 9
     company because of their incompetence and willingness to cheat and keep quiet. This resulted in
10
     potentially contaminated soil being shipped offsite or being backfilled in Shipyard trenches.
11
            Whereas the Anomalous Samples Report is limited to fake samples taken in lieu of real post-
12
     remediation samples at the shell of Building 517, witnesses and records indicate that potentially
13
     thousands of samples taken throughout Hunters Point were phony.
14
            Witnesses describe the fraudulent soil sampling changing over time. At first, the phony
15
     samples were taken in the general vicinity intended to be sampled but from locations where it was
16
     thought samples would come back “clean.” However, when even those close-by samples came back
17
     too “hot,” the fraud was adapted; phony samples were taken from one of three remote locations
18
     known to be clean, a trench in front of the 500 series, the old movie theater or the palm tree site,
19
     depending on the type of soil to be matched.
20
            HPs were instructed to conceal their improper activity. They filled buckets with clean soil
21
     from these areas during lunch or after normal work hours, when they would not be observed, and
22
     delivered the known-clean soil to a Conex where samples were switched undercover. Fraudulent soil
23
     sampling effectively guaranteed that costly soil remediation and disposal would not be required.
24
     From employee statements and the records contained in the Anomalous Samples Report, it is certain
25
     the intentional fake soil sampling took place for years.
26
            Samples that were known or suspected to be too “hot” were discarded along with their COCs.
27
     This was true not only of the samples from around Building 707 and the 500 series, but also for the
28
     background reference sample taken from Parcel A, the post-remediation samples of the soil in the

                                                       34
     Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18      Page 160 of 169



 1   crawl space under Building 351A and for radioactively-contaminated fencing.
 2           In the case of the Parcel A sample, Tetra Tech knew from lab results that Parcel A had
 3   dangerous levels of cesium-137 contamination, many times the cleanup level. Tetra Tech directed
 4   that the sample and test result be discarded so no one would learn of the contamination, putting the
 5   health and safety of the community at risk, contrary to the NRC’s fundamental mandate to protect
 6   the public from the health hazards of radiological contaminants.
 7           In the case of Building 351A, Tetra Tech’s top onsite executive, the Project Manager, was
 8   not only aware of sample destruction, but directed it. The fact that contaminated soil still remains
 9   under Building 351A would continue to be hidden but for the whistleblowers whose declarations are
10   attached to this Petition.
11           Fraudulent soil sampling was accompanied by building-survey fraud in which Class 1 scans
12   were done improperly and Class 2 and 3 scans were completely fabricated. “Just get some numbers,”
13   HPs were told by Tetra Tech’s supervisor. The fraud entailed holding a scanner in place long enough
14   to collect the required number of readings indicating an entire area was scanned when systematic
15   scanning did not take place.
16           Portal Monitor procedures were altered in two fundamental ways: barring HPs from using the
17   overhead scaffolding to scan down into a truckload; and no longer requiring every truck that tripped
18   the Portal Monitor alarm to be reworked at an RSY pad. As a result, potentially hazardous
19   radioactive soil was designated as “clean” when Tetra Tech knew hazardous radioactive
20   contamination could remain in the soil shipped offsite. Tetra Tech was thereby able to dramatically
21   reduce the costs it incurred for soil processing and increase its profits at the expense of proper
22   radiological procedure, at the expense of actual radiological cleanup, and at the expense of those
23   who may come into contact with the radiological dangers that Tetra Tech allowed to remain in place.
24           Taken together, the fraudulent conduct described by former shipyard employees
25   demonstrates that the fraud was much more widespread than the previous investigations have
26   revealed, was committed in furtherance of intentional and deliberate schemes rather than being
27   isolated misconduct by a couple rogue employees, and was done with an awareness that people
28   could be exposed to radioactive contaminants Tetra Tech knew were not going to be cleaned up.

             Because Tetra Tech has not admitted the full extent of its fraud and because contamination
                                                     35
      Case 3:18-cv-05330-JD           Document 1-1        Filed 08/29/18      Page 161 of 169



 1   above free-release levels remains un-remediated, the fraud is continuing.
 2             B. Tetra Tech Was Willing to Sacrifice Radiological Safety for Profits
 3             The facts submitted in this Petition show that no later than 2006 and continuing to at least
 4   August 2012, corporate officials, managers, and supervisors of Tetra Tech directed widespread fraud
 5   knowing their conduct could result in radium-226 and other highly toxic radioactive materials being
 6   shipped throughout Northern California and remain buried in trenches at the Shipyard. Radium 226
 7   and the other radioactive contaminants that Tetra Tech was charged with remediating have been
 8   deemed by the NRC to be highly toxic to humans; radium can cause cancer and has a half-life of
 9   nearly 1,600 years.106
10             As early at 2006, at the VP level of Tetra Tech, decisions were made to cripple the
11   effectiveness of radiological remediation of soil. Tetra Tech management knew that much of the soil
12   it fraudulently processed would be shipped to unsuspecting landfills and companies with Tetra
13   Tech’s false assurance the soil was free of radiological contamination.
14             Crippling the soil conveyor belt in 2006 was just the beginning of a growing corporate
15   conspiracy to defraud the Navy, regulators, and the public. The fraud escalated after the contract
16   changed from cost-plus to fixed-price in 2009. All the while, Tetra Tech knew its fraud increased the
17   health risks to workers and the public, now and for hundreds of years into the future.
18             Fraudulent building scans and samples led to the improper free release of buildings. The
19   possibility that excessive and dangerous radiation still exists in these buildings puts future workers
20   who demolish or rehab them at risk, as well as future occupants, a risk that could remain for
21   hundreds and hundreds of years.
22             Tetra Tech also manipulated scanning results, changing data in order to submit numbers that
23   were neither too high to prevent free release nor too low to raise suspicion. This widespread and
24   intentional alteration of scan data evidences disregard for the health of those who may be
25   unknowingly exposed to radioactivity that could potentially cause serious illness like cancer.
26   The use of unskilled laborers for the RSY pad soil processing under unqualified supervision resulted
27
     106
           Hunters Point Shipyard Final Historical Radiological Assessment, Table 4-3, available at
28         http://pbadupws.nrc.gov/docs/ML0425/ML042580203.pdf.


                                                         36
     Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 162 of 169



 1   in inadequate remediation, and unwarranted health risks to the laborers. Thousands of cubic yards of
 2   potentially contaminated soil were improperly remediated and backfilled into Hunters Point
 3   trenches, which could expose future workers and residents at Hunters Point to radioactive health
 4   hazards for centuries.
 5            Tetra Tech management directed the destruction of samples and records showing excessive
 6   radioactive contamination because it chose not to spend the time and money to do a proper cleanup.
 7   Employees engaged in the conduct knew it was wrong. Management personnel who directed the
 8   fraud knew it was wrong. Tetra Tech’s management pressured its supervisors to have HPs engage in
 9   fraud to guarantee free release of radiologically contaminated soil and buildings so Tetra Tech could
10   get fully paid and profit without incurring the full costs of the cleanup. The fraudulent conduct went
11   on for years because of corporate greed and employees' fear that to object meant termination.
12            Employees who knew the conduct was wrong and could result in the exposure of innocent
13   people to hazardous radioactive contamination contributed to the fraud and kept their mouths shut
14   due to the real threats by Tetra Tech of termination for breaking ranks with the conspiracy. Tetra
15   Tech's conduct over no less than half a dozen years at Hunters Point risked the health and lives of
16   innocent people for wrongful profits. Tetra Tech does not deserve to retain the NRC license it now
17   holds.
18               C. NRC Precedent Supports License Revocation

19            Pursuant to its enforcement authority under the Atomic Energy Act and NRC regulations, the
20   NRC may revoke any license for failure to comply with the requirements of the AEA and/or the
21   rules and regulations of the NRC, or for the discovery of conditions that would have warranted
22   license refusal at the time of application.107 As previous NRC revocation decisions demonstrate,
23   license revocation is an appropriate remedy in cases such as this where the licensee has engaged in
24   repeated, willful and deliberate misconduct, and where a licensee’s noncompliance unreasonably
25   jeopardizes the public health and safety.
26            In the Matter of Piping Specialists, Inc. and Forrest L. Roudebush, the NRC revoked Piping
27   Specialists’ byproduct materials license following an investigation into alleged violations of its
28


                                                       37
      Case 3:18-cv-05330-JD          Document 1-1         Filed 08/29/18       Page 163 of 169



 1   license conditions and NRC regulations.108 In that case, an NRC inspection of the licensee’s
 2   operations revealed that the company had both failed to maintain and falsified records of radioactive
 3   materials usage; that it used unqualified personnel in unauthorized RAD positions; and that it failed
 4   to properly post, mark or label radioactive materials or areas, among other violations.109 In revoking
 5   the license, the NRC emphasized that it “must be able to rely on its licensees . . . to comply with
 6   NRC requirements, including the requirement to provide information and maintain records that are
 7   complete and in all respects material to the NRC.”110 Moreover, the NRC added, “[v]iolations, in
 8   particular willful violations of Commission requirements, cannot and will not be tolerated.”111
 9           In upholding the NRC enforcement order revoking Piping Specialists’ license, the Atomic
10   Safety and Licensing Board members further noted that it had “failed to act as a reasonable manager
11   of licensed activities; failed to detect and correct violations caused by an employee; willfully
12   attempted to conceal violations from NRC staff; and g[ave] untruthful information to the Staff
13   during its inspection and investigations.”112 Taken together, the violations “collectively
14   demonstrated a lack of effective oversight in the Licensee’s radiation safety program” and thus
15   warranted license revocation.113
16           Similarly, In the Matter of Mattingly Testing Services, Inc., in 2009, the NRC revoked the
17   license of an industrial x-ray provider based on the lack of “reasonable assurance that Mattingly
18   w[ould] provide for the safe use and security of the radioactive materials in its possession or that the
19   public health and safety is adequately protected by continuing activities under the existing
20   license.”114 Citing the repetitive nature of the violations, as well as the threat to public safety
21   resulting from Mattingly’s deliberate and willful violations, the NRC issued an order immediately
22
     107
          42 U.S.C. § 2236; 10 C.F.R. §§ 30.61, 40.71, 70.81.
23   108
         Piping Specials, Inc. Kansas City, MO; Order Suspending License (Effective Immediately), 56
          Fed. Reg. 55,514 (Oct. 28, 1991); Forrest L. Roudebush, Kansas City, Missouri; Order
24        Prohibiting Involvement in NRC-Licensed Activities and Requiring Certain Notification to NRC,
          60 Fed. Reg. 13,739 (Mar. 14, 1995).
25   109
         60 Fed. Reg. at 13,739-13,740.
     110
         Id. at 13,740.
26   111
         56 Fed. Reg. at 55,514.
     112
         60 Fed. Reg. at 13739 (citing ASLB Final Initial Decision (Revoking License), LBP-92-156, 36
27        NRC 156 (1992)).
     113
         56 Fed. Reg. at 55,514.
28   114
         Order Revoking License In the Matter of Mattingly Testing Services, Inc., NRC OE EA-10-100,


                                                         38
      Case 3:18-cv-05330-JD           Document 1-1       Filed 08/29/18      Page 164 of 169



 1   suspending Mattingly’s license.115
 2             Applying the rationale of the prior NRC revocation decisions here, Tetra Tech’s repeated
 3   falsification of soil samples and data, repeated failure to adhere to established radioactive materials
 4   safety protocols, and disregard for the health and safety of both onsite workers and the greater public
 5   provide ample justification for license revocation in this case.
 6             Furthermore, during the NRC’s investigation, Tetra Tech actively concealed the true scope
 7   and breadth of its fraudulent activities. Rather, Tetra Tech suggested in its own report that violations
 8   were limited to “anomalous” samples committed by a few employees. As detailed herein, however,
 9   Tetra Tech’s violations far exceeded the fraudulent sampling addressed in its report and mirror many
10   of the violations that warranted revocation in Piping Specialists: staff regularly manipulated and
11   falsified records, such as scan data and COC forms; untrained and unqualified personnel were used
12   throughout Shipyard, often in significant roles; and it permitted potentially contaminated soil to
13   return to the ground as backfill or be shipped offsite. Indeed, the scale on which violations occurred
14   at Hunters Point far exceeded the scale of violations in prior NRC revocation decisions, and created
15   a far greater risk to public health and safety.
16             D.     The NRC License Must Be Revoked to Ensure Tetra Tech Is Never
                      Again Entrusted with Radiological Remediation
17
               The Superfund cleanup of radiation at Hunters Point, for which the United States government
18
     has spent hundreds of millions of dollars, is a fraud due to Tetra Tech’s corporate greed. The United
19
     States will have to spend millions of dollars to try to determine and correct the full extent to Tetra
20
     Tech’s radiological fraud. Tetra Tech cannot be allowed to continue to perform cleanup work at the
21
     Shipyard, even under the guise of correcting its frauds. The fundamental confidence that the
22
     company can be entrusted with this critical work has been irreparably shattered by its intentional
23
     fraud.
24
               No other community should be subjected to the fraudulent conduct of Tetra Tech. It has
25
     shown its willingness to put the health and lives of communities at risk for profit. No other
26

27
            at 11 (Sept. 2, 2010) (Docket No. 030-20836).
28   115
           Id. at 11-14.


                                                       39
     Case 3:18-cv-05330-JD          Document 1-1        Filed 08/29/18      Page 165 of 169



 1   community in America should experience the damage Tetra Tech has inflicted upon Hunters Point
 2   and San Francisco.
 3          E. The NRC Should Conduct a Comprehensive Investigation into
               Tetra Tech’s Fraud
 4
            Petitioners have demonstrated that widespread fraud took place. However, this Petition only
 5
     tells part of the story; Petitioner was only able to interview a small number of the employees who
 6
     worked at the Shipyard for Tetra Tech and its subcontractors. Interviews of all former employees are
 7
     necessary to document the extent of the fraud and the impact it had on the cleanup. Without their
 8
     testimony, practices that may have compromised the cleanup will remain hidden. The NRC should
 9
     conduct a comprehensive investigation into Tetra Tech, including interviewing as many former
10
     employees as can be located.
11

12
      VII. CONCLUSION and PRAYER FOR RELIEF
13

14          The fraud was directed by all levels of Tetra Tech’s management, from the VP level on down

15   to supervisors. Tetra Tech's fraud was motivated by greed. The more Tetra Tech could lower costs,

16   cut corners, and cheat the more it stood to profit. Tetra Tech put profits not only over proper

17   radiological procedures, compromising the cleanup of radioactive materials at the Shipyard, but over

18   the health of innocent people, now and for generations to come. License revocation is warranted

19   because Tetra Tech’s approach to the Hunters Point cleanup displayed a total disregard for

20   established radiological procedures, and was a dereliction of the duty entrusted to Tetra Tech by the

21   ///

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///


                                                       40
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 166 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 167 of 169




                   EXHIBIT F
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 168 of 169
Case 3:18-cv-05330-JD   Document 1-1   Filed 08/29/18   Page 169 of 169
